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                IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                          DALLAS DIVISION

MARK ANTHONY SOLIZ,                      §
    Petitioner,                          §
                                         §
v.                                       §CIVIL ACTION NO. 3:14-CV-4556-K
                                         §           ECF
LORIE DAVIS, Director,                   § *DEATH PENALTY CASE*
Texas Department of Criminal             §
Justice, Correctional Institutions       §
Division,                                §
      Respondent.                        §

           RESPONDENT’S ANSWER WITH BRIEF IN SUPPORT

      Petitioner Mark Anthony Soliz was properly convicted and sentenced to

die for the cruel and callous murder of Nancy Weatherly. He now challenges

his presumptively valid conviction and sentence in this Court pursuant to 28

U.S.C. §§ 2241 & 2254. For the reasons discussed below, Soliz fails to

demonstrate that he is entitled to federal habeas relief. Accordingly, the

Director respectfully requests that this Court deny Soliz’s petition for a writ of

habeas corpus and deny him a certificate of appealability.

                           SOLIZ’S ALLEGATIONS

      Soliz alleges the following grounds for federal habeas relief:

      1.     He was deprived of constitutionally effective counsel at trial
             because his trial counsel failed to:

             a. Present expert testimony regarding the reliability
                of Soliz’s confession during the trial court’s hearing
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                 on Soliz’s motion to suppress the confession
                 (Petition at 20-26); 1

               b. Impeach Elizabeth Estrada’s testimony with her
                  prior inconsistent statements (Petition at 31-42);

               c. Object to the admission of hearsay testimony of
                  Detective Danny Paine regarding statements made
                  by Jose Ramos (Petition at 42-49);

               d. Object to the admission during the guilt/innocence
                  phase of trial of evidence that Soliz was a member
                  of a gang (Petition at 53-59);

               e. Object to the admission during the guilt/innocence
                  phase of trial of extraneous offense evidence
                  (Petition at 59-71);

               f. Object to the State’s improper closing argument
                  during the guilt/innocence and punishment phases
                  of trial (Petition at 71-81);

               g. Object during the punishment phase of trial to the
                  admission of extraneous offense victim-impact
                  testimony (Petition at 91-95);

               h. Object on relevance grounds to the admission of a
                  letter Soliz wrote from jail to a veniremember
                  (Petition at 99-111);

               i. Present testimony regarding the effect Soliz’s
                  placement in foster care had on Soliz (Petition at
                  111-31);




1      Soliz filed a federal habeas petition followed by an amended federal habeas
petition. Docket Entry (DE) 16, 17. The Director will cite only to the amended petition
and will cite to it as “Petition.”
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     2.    The cumulative effect of trial counsels’ errors deprived him
           of his right to effective assistance of counsel (Petition at 95-
           99);

     3.    He was deprived of constitutionally effective assistance of
           counsel on direct appeal because his appellate counsel:

           a. Failed to argue that Soliz was improperly denied
              the right to cross-examine Detective Danny Paine
              regarding bias (Petition at 49-53);

           b. Failed to argue that the trial court improperly
              overruled Soliz’s objection to the admission during
              the guilt/innocence phase of trial of victim-impact
              testimony (Petition at 81-89);

     4.    His death sentence violates his right to due process and to
           be free from cruel and unusual punishment because he
           suffers from fetal alcohol spectrum disorder (Petition at 131-
           53, 192-94);

     5.    The trial court erred by:

           a. Denying his motion to declare the “10/12” rule
              unconstitutional (Petition at 153-171);

           b. Providing the jury during the punishment phase of
              trial with an instruction that restricted the type of
              evidence the jury could consider mitigating
              (Petition at 177-86);

           c. Providing the jury during the punishment phase of
              trial with a future dangerousness instruction that
              is unconstitutionally vague (Petition at 187-92);

     6.    His death sentence is unconstitutional because the death
           penalty is arbitrarily administered (Petition at 171-77); and



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         7.    His rights under the Fourth, Fifth, and Fifteenth
               Amendments were violated by the introduction of his
               videotaped interview with police (Petition at 194-200). 2

         As demonstrated below, Soliz has not established the state courts were

objectively unreasonable in their rejection of the claims he raised on direct

appeal and in his state habeas corpus application. Further, Soliz’s claim seven

(as listed above) is procedurally defaulted. The Director denies all allegations

of fact made by Soliz, except those supported by the record and those

specifically admitted herein. 3

                            STATEMENT OF THE CASE

         Soliz was convicted and sentenced to death in 2012 for the murder of

Nancy Weatherly. 47 RR 77; 57 RR 94; 4 1 CR 38; 11 CR 2086, 2130-32, 2195-

98. The Texas Court of Criminal Appeals (CCA) upheld Soliz’s conviction and



2      Soliz also argues that his state habeas counsel was ineffective for failing to
argue that Soliz’s trial counsel were ineffective for opening the door to the
admissibility of Soliz’s confession. Petition at 26-30. As explained below, such an
argument does not constitute a claim for habeas relief. Rather, such an argument
seeks to establish cause and prejudice for the procedural default of the underlying
ineffective-assistance-of-trial-counsel (IATC) claim.

3        A copy of Soliz’s state court records was previously filed with the Court. DE 24.

4      “RR” refers to the “Reporter’s Record,” the state record of transcribed trial and
punishment proceedings, preceded by the volume number and followed by the
internal page number(s). “CR” refers to the “Clerk’s Record,” the transcript of
pleadings and documents filed in the trial court, preceded by the volume number and
followed by the internal page number(s). The State’s exhibits will be cited to as “SX”
and the Defense’s exhibits will be cited to as “DX.”
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death sentence on direct appeal. Soliz v. State, 432 S.W.3d 895, 905 (Tex. Crim.

App. 2014), cert. denied, 135 S. Ct. 1154 (2015). Soliz filed a state application

for a writ of habeas corpus. Ex parte Soliz, No. 82,429-01. The trial court

entered findings of fact and conclusions of law. SHCR-01 at 729-69. 5 The CCA

denied Soliz’s state habeas application based on the trial court’s findings of fact

and conclusions of law and based on its own review. Ex parte Soliz, No. 82,429-

01 (Tex. Crim. App. 2015) (unpublished order), cert. denied, . Soliz then filed a

federal habeas petition on December 11, 2015, and an amended federal habeas

petition on February 5, 2016. DE 16, 17. The instant Answer follows.

                            STATEMENT OF FACTS

I.       The Facts of the Crime

      The CCA summarized the facts of Nancy Weatherly’s murder, as well as

Soliz’s crime spree that preceded Ms. Weatherly’s murder and the police

investigation into those crimes:

         The instant offense was one of numerous offenses that [Soliz] and
         his accomplice, Jose Ramos, committed during an eight-day crime
         spree that ended when [Soliz] and Ramos were arrested. . . . This
         offense was discovered when Ramos mentioned it in response to a
         Fort Worth police detective’s question about another offense that
         [Soliz] and Ramos had committed.

         [Soliz’s] and Ramos’s crime spree began with a June 22, 2010
         burglary in which they took several long guns and a Hi-Point 9-
5      “SHCR” refers to the Clerk’s Record of pleadings and documents filed with the
state habeas court. See generally Ex parte Soliz, No. 82,429-01.
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     millimeter semiautomatic handgun, among other items. Later
     that evening, [Soliz] showed the stolen weapons to a potential
     buyer, Ramon Morales. Morales wanted to buy all five weapons,
     but [Soliz] was not willing to part with a rifle and the handgun.
     [Soliz] told Morales that he had plans for them.

                                     ...

     On the morning of June 24, 2010, [Soliz] approached a stranger,
     Justin Morris, in the parking lot of a shopping mall, pointed a gun
     at him, and demanded his wallet. . . . [Soliz] was later videotaped
     by a convenience-store security camera as he attempted to use
     Morris’s debit card at an ATM.

     Later that morning, after witnessing an argument between Luis
     Luna and a female friend of [Soliz’s], Soliz asked his friend if she
     wanted him to “get [Luna] wet,” which was street talk for drawing
     Luna’s blood or killing him. [Soliz] fired the gun in the direction
     of Luna’s head, but the bullet passed through Luna’s ear lobe
     without seriously injuring him.

     That afternoon, [Soliz] and Ramos held Jorge Contreras at
     gunpoint in a store parking lot while they stole his green Dodge
     pickup truck. Later the same day, [Soliz] approached Sammy Abu-
     Lughod in a different store parking lot as Abu-Lughod was getting
     into his green Dodge Stratus. [Soliz] pointed a black handgun at
     Abu-Lughod and demanded his wallet, cell phone, and car.

                                     ...

     Around 2:00 a.m. on June 28, 2010, Soliz and Ramos approached
     four people who were leaving a bar and demanded their money
     and wallets.

                                     ...

     At 3:30 a.m. on June 29, 2010, Ramos and [Soliz] committed a
     “drive-by” shooting. Ramos drove the car while [Soliz] fired shots
     into a house where they thought a rival gang member might be
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     staying. At about 5:00 a.m., [Soliz] and Ramos approached
     Enrique Samaniego as he was walking to his pickup truck to leave
     for work. Either [Soliz] or Ramos shot Samaniego four or five
     times in the stomach. Samaniego sustained life-threatening
     injuries, but he survived.

     Around 5:30 a.m., [Soliz] and Ramos approached Ruben Martinez,
     a delivery truck driver who had just completed a beer delivery at
     a Texaco gas station, as Martinez was walking back to his truck.
     [Soliz] pointed the gun at Martinez and demanded his wallet.
     Martinez complied, offering his cell phone as well. Disappointed
     that Martinez’s wallet contained only ten dollars, [Soliz] shot him
     in the neck. Martinez later died from complications of this injury.

     Less than an hour after shooting Martinez, [Soliz] approached
     Kenny Dodgin as Dodgin was exiting his car in the parking lot of
     a Lowe’s store. [Soliz] pointed a gun wrapped in a blue bandanna
     at Dodgin. Upon seeing [Soliz], Dodgin locked his car and ran
     toward the store. He heard three gun shots behind him.

     Around 7:00 a.m., [Soliz] burglarized two homes in Benbrook. . . .
     Later that morning, [Soliz] and Ramos drove to Weatherly’s home
     and committed the instant offense.

                                    ...

     Eventually [officers] observed [Abu-Lughod’s] Stratus . . . closely
     following a Jeep Liberty. The two vehicles appeared to be
     traveling together. Officers identified the Stratus by its license
     plate as the vehicle they were searching for and radioed for a
     marked patrol unit to initiate a stop. With lights and siren
     activated, a marked unit began following the Stratus. Instead of
     stopping, however, the Stratus accelerated and passed the
     Liberty. After a brief pursuit, the Stratus crashed into a parked
     eighteen-wheeler.

     [Soliz] exited through the passenger side window and ran through
     parking lots and across a freeway before officers stopped and
     arrested him.
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                                      ...

     [W]hen detectives questioned Ramos about the aggravated
     robbery in which Contreras’s green pickup truck had been stolen,
     Ramos provided information that was inconsistent with the
     information detectives had already obtained about that offense.
     Specifically, Ramos indicated that the offense had ended badly
     and stated that it did not have to “end that way.” This statement
     puzzled detectives because no one had been hurt and no shots had
     been fired during the offense. Ramos also referred to a female
     victim rather than a male victim. After some initial confusion,
     detectives ascertained that Ramos was describing a previously
     unknown offense committed in Johnson County. Ramos indicated
     that a female victim had been shot during a burglary or robbery
     and her green Toyota Tundra pickup truck had been stolen.

     Ramos provided directions to the stolen Tundra. . . . Detectives
     checked the truck’s registration and obtained the name and
     address of its owner, Nancy Weatherly. They then contacted the
     Johnson County Sheriff’s Office and drove to Weatherly’s house.
     A sheriff’s deputy joined them at the house. They observed that
     the gate and garage door were open, and the back door of the
     house was partially open. The interior had been ransacked.
     Weatherly’s body was lying in the kitchen area next to a table and
     chair. She had been shot once in the back of the head.

     The investigation of this offense was ongoing when Fort Worth
     Detectives William “Danny” Paine and Thomas Boetcher began
     questioning [Soliz] at the police station. The interview was
     recorded. Boetcher advised [Soliz] of his rights and [Soliz] stated
     that he understood them. When asked if he was willing to talk
     about the offenses, [Soliz] answered, “All right.” . . . Later, as they
     received information about the Johnson County investigation,
     they questioned [Soliz] about that offense as well.

     Paine and Boetcher also obtained two typed and signed
     statements from [Soliz] that summarized his oral statement. The
     first typed statement concerned the Fort Worth offenses. In it,
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     [Soliz] admitted his involvement in the Abu-Lughod, Contreras,
     Morris, Martinez, Dodgin, and bar patron robberies, as well as the
     Luna shooting. He also acknowledged that Ramos did not
     participate in all of these offenses.

     [Soliz’s] second typed statement concerned the instant offense. In
     it, [Soliz] admitted that he and Ramos had driven to Godley,
     where [Soliz] had threatened Weatherly with a gun and had
     burglarized her house. [Soliz] denied shooting Weatherly, stating
     that after he and Ramos had loaded what they wanted into the
     Tundra, [Soliz] left the gun inside with Ramos and went outside
     to start the car. He then heard a shot and saw Ramos walking out
     of the house.

                                     ...

     After [Soliz] signed the second typed statement, detectives
     questioned him further. [Soliz] wavered about whether he or
     Ramos was the person who shot Weatherly. Eventually, [Soliz]
     stated that he would confess to the shooting just to “get this over
     with,” and admitted that he shot Weatherly. He also wrote and
     initialed a sentence at the end of his second typed statement: “It
     was me that shot that wom[a]n!!!”

     [Soliz’s] statements were not the only evidence that [Soliz]
     committed the instant offense. Estrada, who was riding in the
     Stratus with [Soliz] when it crashed, testified that [Soliz] bragged
     to her about killing an “old lady” in a house in Godley. [Soliz] told
     Estrada that he knocked on the door, and when the lady opened
     it, he pointed the gun at her. The lady backed up, and [Soliz] made
     her sit down. . . . She begged for her life and prayed. When [Soliz]
     showed the lady that he was stealing her jewelry box, she asked
     him not to take it because it had been a gift from her mother, who
     was now deceased. [Soliz] then told her to go with her mother and
     shot her in the head. He demonstrated for Estrada how he held
     out the gun and fired. He laughed about the incident and ridiculed
     the lady’s “country” accent. He said that later, while taking
     methamphetamine, he had flashbacks about killing the lady and
     “seeing her brains go everywhere.”
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                                     ...

      [A] law-enforcement officer testified that, while he was
      transporting [Soliz] and Ramos from Fort Worth to Johnson
      County for pretrial proceedings, he overheard [Soliz] telling
      Ramos that all they needed to do was “play dumb,” and authorities
      would “get” the man who pawned the guns (presumably a
      reference to Morales) on capital murder.

      Forensic evidence also connected [Soliz] to the instant offense.
      Jennifer Nollkamper, a forensic scientist with the Fort Worth
      Police Department crime laboratory, determined that the shell
      casing recovered from Weatherly’s home had been fired through
      the Hi-Point 9-millimeter semi-automatic handgun recovered
      from the Stratus. Nollkamper testified that the bullet recovered
      from Weatherly’s home was too damaged for her to state
      affirmatively that it was fired from the recovered weapon, but she
      could state affirmatively that it was fired from a Hi-Point 9-
      millimeter semi-automatic handgun. Lannie Emanuel, a tool
      mark and firearm examiner for a private forensic laboratory,
      agreed with Nollkamper’s determination that the shell casing had
      been fired through the recovered weapon. Emanuel, however, did
      not think that the bullet was too damaged for a positive
      comparison. He testified affirmatively that the bullet recovered
      from Weatherly’s home was fired from the recovered weapon.

      William Walker, a fingerprint examiner with the Tarrant County
      Medical Examiner, positively identified a latent fingerprint on an
      audiocassette case in Weatherly’s spare bedroom as [Soliz’s]
      fingerprint. A trace analyst from the Tarrant County Medical
      Examiner’s Office identified gunshot residue on [Soliz’s] clothing
      and hands.

Soliz v. State, 432 S.W.3d at 896-900.




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II.   Facts Relating to Punishment

      A.    The State’s evidence

      The CCA summarized the evidence presented by the State at the

punishment phase of trial:

      [T]he evidence in this case shows that [Soliz] had a long history of
      violent conduct that began during his childhood and continued
      after his arrest and during his trial for the instant offense. At the
      age of ten, [Soliz] acted as an armed lookout for drug dealers in
      his apartment complex. When he entered the juvenile-justice
      system, [Soliz] was committed to the inpatient psychiatric unit of
      John Peter Smith hospital because of his out-of-control behaviors,
      which included fighting and carrying guns. [Soliz] also abused
      spray paint, cocaine, and alcohol. [Soliz’s] treating psychiatrist at
      the hospital reported that [Soliz] had antisocial traits: he deflected
      blame, had difficulty accepting responsibility, and was aggressive,
      unremorseful, and unempathetic.

                                    ...

      Records of the Tarrant County Juvenile Probation Department
      reflect that, when [Soliz] was eleven years old, he self-reported his
      gang affiliation. The records of a group home where [Soliz] resided
      for approximately two years showed that he destroyed property,
      assaulted children and staff, and sexually assaulted younger boys.
      At times, [Soliz] had to be placed in restraints because he posed a
      danger to himself and others.

      When [Soliz] committed the instant offense, he had at least ten
      prior felony convictions for offenses including theft, burglary,
      evading arrest in a vehicle, unlawful restraint, and possession of
      a prohibited weapon. . . . He had been out of prison for less than a
      month when he acquired a handgun during a burglary on June 22,
      2010. From June 24[th] to June 29[th], [Soliz] used the stolen
      handgun in numerous aggravated robberies and shootings,
      including the instant offense.
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      [Soliz’s] violent conduct continued after the instant offense.
      Estrada testified that shortly before they left Gonzales’s house,
      [Soliz] stated that he needed to obtain more ammunition so that
      he could kill a girl who had seen him shoot Luna because [Soliz]
      had heard that she had talked to a detective. After Estrada and
      [Soliz] left Gonzales’s house in the Stratus and [Soliz] saw the
      police car behind them, he sped up, telling Estrada that he would
      kill one of the “laws” or die trying. He aimed his handgun at the
      pursuing police car, but Estrada hit his hand and the gun fell onto
      the floor of the Stratus just before the crash. While waiting to be
      questioned at the police station, Estrada overheard [Soliz] . . .
      reiterating that he would rather “ride or die,” meaning he would
      rather die fighting than go to jail.

      After his arrest, [Soliz] was placed in administrative segregation.
      . . . Notwithstanding the heightened security of administrative
      segregation, [Soliz’s] disciplinary offenses while in jail included
      possessing weapons and contraband and damaging property. On
      several occasions he flooded his cell, covered his windows, refused
      to let himself be handcuffed, and refused to follow orders. He once
      threatened a jail supervisor who would not let him into the
      general population, saying, “You know who I am. You know what
      I can do. I will get you.” . . . On one occasion, [Soliz] wrestled with
      an officer who was escorting him from the courthouse until other
      officers intervened and physically restrained him.

Id. at 901-02.

      B.    Soliz’s mitigation case

      The defense presented testimony of Soliz’s family members, individuals

who had treated or cared for Soliz when he was young, and experts who

described to the jury Soliz’s upbringing and fetal alcohol spectrum disorder

(FASD). Krisha Flores, Soliz’s cousin, testified that when Soliz was young, his


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mother, aunts, and uncles lived together in one house along with their children.

50 RR 138, 142. The adults frequently sniffed paint in front of the children and

did drugs inside the home. 50 RR 143, 163, 192. Soliz’s mother prostituted

herself in order to buy drugs. 50 RR 194-96. Soliz began sniffing paint at about

age ten. 50 RR 183. Leticia Herrera, another cousin of Soliz, testified that when

Soliz was seven or eight years old, he would “run[ ] the streets,” and was not

disciplined by his parents. 50 RR 245, 254-55. Soliz’s family moved to the

Butler Housing Projects when Soliz was between six and nine-years old where

a significant amount of violence and drug dealing occurred in their

neighborhood. 50 RR 164, 167, 175, 217. One of Soliz’s aunts was stabbed to

death by her boyfriend in Soliz’s presence when Soliz was young. 50 RR 194-

96.

      Dr. Prema Manjunath was a child and adolescent psychiatrist at the

John Peter Smith Hospital (JPS) in Fort Worth, Texas. 51 RR 39-40. Dr.

Manjunath testified regarding Soliz’s admission to JPS when Soliz was ten-

years old due to his “out-of-control” behaviors such as stealing cars, stealing

from parking meters, selling drugs, fighting, drug use, and carrying guns. 51

RR 44-47, 51. Soliz was “roaming out on the streets in the early hours of the

morning” and associating with children who were much older than he was,

which indicated a lack of supervision from his parents. 51 RR 83. Soliz had

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“acted out” sexually, which Dr. Manjunath believed could be indicative of Soliz

having been sexually abused. 51 RR 54. Soliz’s social history presented to Dr.

Manjunath indicated that Soliz’s mother drank heavily during her pregnancy

with Soliz. 51 RR 53. Soliz’s mother was only “superficially” involved with his

treatment at JPS. 51 RR 69.

      Dr. Manjunath performed a mental status examination of Soliz, which

indicated that Soliz had “difficulties in paying attention” and was of “low

average to borderline intelligence.” 51 RR 57-58. Soliz “externalized” blame for

his actions by blaming others and refusing to accept responsibility; he lacked

empathy for others and was aggressive to hospital staff and his peers. 51 RR

60-61. Dr. Manjunath diagnosed Soliz with conduct disorder, mixed substance

abuse, and attention deficit hyperactivity disorder (ADHD). 51 RR 63. Dr.

Manjunath also diagnosed Soliz as having antisocial traits and noted that he

had reading and language problems and suffered from a “chaotic home.” 51 RR

64. She testified that neglect of a child can interfere with the child’s “normal

growth and development.” 51 RR 114. Dr. Manjunath suspected that Soliz may

have FASD due to his poor behavior and his mother’s substance abuse during

pregnancy. 51 RR 67. At the time Soliz was discharged from JPS his behavior,

attention, and concentration “had definitely improved,” although he continued



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to “seek attention and affection of others through manipulation and impulsive

behaviors.” 51 RR 68-69, 91.

      Dr. Manjunath also testified regarding FASD. She testified that a fetus’s

exposure to alcohol may cause a number of neurological abnormalities

including impulsive behavior, social ineptness, and difficulty learning from

experience. 51 RR 118. FASD is a “broad” group of disorders that includes “full

blown” fetal alcohol syndrome (FAS) as well as other diagnoses that may be

made when the individual was exposed to alcohol in utero and presents with

the same behavioral deficits as an individual with FAS but does not possess

the physical characteristics required for a diagnosis of FAS. 6 51 RR 116-17.

      Dr. Manjunath testified that the International Classification of Diseases

(ICD) included diagnostic criteria for FAS, but did not include diagnostic

criteria for other diagnoses on the spectrum of FASD. 51 RR 96. Dr. Manjunath

also testified that FAS is not included in the Diagnostic and Statistics Manual

of Mental Disorders (DSM). 51 RR 128. As mandated under the ICD and by

the Centers for Disease Control (CDC), a diagnosis of FAS requires a

“definitive history” of prenatal exposure of the fetus to alcohol and the presence


6     In order to diagnose an individual with FAS, the individual must possess three
characteristic facial abnormalities: (1) a smooth philtrum (the vertical ridges between
the upper lip and nose); (2) a flat upper lip; and (3) a palpebral fissure (the opening
between the eyelids) that is shortened horizontally by two or more standard
deviations from the norm. 53 RR 46, 61, 142, 144-45.
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of the three facial characteristics. 51 RR 96-97, 126. Dr. Manjunath did not

note in Soliz, the presence of those facial characteristics. 51 RR 97-98, 126. Nor

did Dr. Manjunath note that Soliz had poor coordination, which is often present

in individuals with FAS. 51 RR 99. Dr. Manjunath testified that the conduct

disorder, with which Soliz was diagnosed, could be caused by biological,

genetic, or environmental factors. 51 RR 104. Similarly, brain damage could be

caused by fighting, sniffing paint, and hypoxia. 51 RR 104. Nonetheless, Dr.

Manjunath noted in Soliz the behavioral characteristics typically seen in

individuals with FAS. 51 RR 118. Dr. Manjunath acknowledged that conduct

disorder, ADHD, chaotic family environment, and substance abuse could have

been “alternative explanations” to FAS for Soliz’s behavior. 51 RR 127.

      Kevin Walling was a caseworker with the Tarrant County Mental Health

and Mental Retardation (MHMR) organization. 51 RR 130. Soliz was referred

to Tarrant County MHMR when he was ten-years old due to his living in the

“projects” where drugs and prostitution were prevalent. 51 RR 133-34. Mr.

Walling worked with Soliz from 1992 until 1994, at which time Soliz lived in

the Buckner Children’s Home. 7 51 RR 151. Mr. Walling visited Soliz’s family’s

house and saw Soliz’s mother with paint on her hands and around her mouth.


7      Soliz was removed from his mother’s custody and placed into the custody of the
State at about age twelve due to his “chaotic” home environment. DX 62. Soliz was at
that time placed into the care of the Buckner Children’s Home. DX 62; 51 RR 144.
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51 RR 146. He was told that the family’s house had only one bedroom and that

both Soliz and his mother slept in the bedroom. 51 RR 135. Soliz’s mother also

prostituted herself in that bedroom, which was witnessed by Soliz. 51 RR 135.

Mr. Walling described Soliz as a follower, but testified that Soliz knew the

difference between right and wrong. 51 RR 144, 154. During that time, Soliz

was a lookout for drug dealers. 51 RR 137. Mr. Walling testified that Soliz’s

mother was often unaware of where Soliz was and he did not believe that

Soliz’s family would look for him when he was missing. 51 RR 138.

      LeAnna Judd was a Juvenile Probation Officer for Tarrant County. 51

RR 161. She first met Soliz in 1994, when he was twelve-years old and was

detained for burglary of a building. 51 RR 164. Soliz was arrested three months

after his initial detention for burglary of a building when he attempted to

burglarize a vehicle and was arrested again a short time later for burglary of

a habitation. 51 RR 177. Ms. Judd noted that Soliz suffered from a family

situation that was “very chaotic and detrimental to his ever getting better.” 51

RR 190. Soliz’s records indicated that he was, at the time Ms. Judd supervised

him, two grades behind in school and had been suspended due to his

committing a burglary of the school. 51 RR 201. Soliz was in special education

classes. 51 RR 201. A therapist at the Buckner Children’s Home recommended

keeping Soliz in treatment because she was concerned about Soliz’s mother’s

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poor parenting skills and that Soliz’s behavior would deteriorate if he was

returned to his mother’s home. 51 RR 202.

      Ms. Judd also testified regarding Soliz’s “attention seeking behavior”

while living in the Buckner Children’s Home such as choking himself. 52 RR

17-18. Soliz “acted out” sexually when he was twelve and thirteen by having

sex with younger boys in the Buckner Children’s Home. 52 RR 21. Soliz was

moved to a higher security facility at which he had to be restrained several

times due to the staff’s concern that he would hurt others. 52 RR 25. Ms. Judd

testified on cross-examination that Soliz joined the Boy Scouts during his time

at the Buckner Children’s Home and that he developed leadership skills. 52

RR 44. She believed that Soliz knew the difference between right and wrong

but would not take responsibility for his actions. 52 RR 44-45, 52. Ms. Judd

described Soliz as an “engaging” child but also a manipulative one. 52 RR 43,

55. She stated, for example, that Soliz claimed to be suicidal and to have

hallucinations in order to get a response from personnel at the Buckner

Children’s Home. 52 RR 55-56.

      Soliz presented testimony from three experts, Drs. Richard Adler, Paul

Connor, and Natalie Brown, regarding FASD. Dr. Adler is a child and

adolescent psychiatrist. 53 RR 7, 36. He is the founding “director of a group

called the Fetal Alcohol Spectrum Disorder Experts,” of which Drs. Connor and

                                      18
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Brown are also members. 53 RR 9, 38. Dr. Adler testified that alcohol is a

teratogen, i.e., a substance that is harmful to a developing fetus. 53 RR 54. Dr.

Adler’s group, the Fetal Alcohol Spectrum Disorder Experts, developed

protocol for diagnosing FASD. 53 RR 10, 75. That protocol was published in a

psychiatric journal in 2010. 8 53 RR 9, 75. Dr. Adler testified that the protocol

involves the patient being evaluated by a neuropsychologist who determines

whether there are neuropsychological findings consistent with FASD, a

medical doctor, and a psychologist who evaluates the patient’s life history and

adaptive behaviors. 53 RR 12-13.

      Dr. Adler testified that FASD is an “umbrella term” that refers to five

diagnoses an individual might receive after having been exposed in utero to

alcohol. 53 RR 59. The first diagnosis is FAS with confirmed maternal

exposure. 53 RR 59. In order to make that diagnosis, there must be “adequate

reason” to believe that the fetus was exposed to alcohol. 53 RR 60. Moreover,

“there has to be evidence of a characteristic pattern of the facial abnormalities”

as well as growth retardation. 53 RR 61. Finally, there must be “evidence of

central nervous system, neurodevelopmental abnormalities,” such as a




8     Dr. Adler identified only one other group in the world that applies the protocol
Dr. Adler’s group developed. 53 RR 11.
                                         19
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decreased cranial size, impaired motor skills, hearing loss, or poor gait. 53 RR

62-63.

      The second diagnosis within FASD is FAS without confirmed maternal

exposure. 53 RR 64. That diagnosis may be made where an individual presents

with the behavioral and physical features characteristic of FAS but whose

prenatal exposure to alcohol cannot be confirmed. 53 RR 65.

      The third diagnosis within FASD is partial fetal alcohol syndrome

(PFAS). 53 RR 66. That diagnosis may be made when the individual had

confirmed prenatal exposure to alcohol, some components of the facial

abnormalities characteristic of FAS, and either growth retardation, central

nervous system developmental abnormalities, or brain impairment. 53 RR 66-

67.

      The fourth diagnosis within FASD is alcohol related birth defects

(ARBD). 53 RR 70. That diagnosis may be made when an individual was

exposed in utero to alcohol and suffers from physical impairment but does not

suffer from related neurological or behavioral impairment. 53 RR 70-71.

      The fifth diagnosis within FASD is alcohol related neurodevelopmental

disorder (ARND). 53 RR 71. That diagnosis may be made when an individual




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was exposed in utero to alcohol, suffers from related neurological impairments,

but does not exhibit the facial abnormalities characteristic of FAS. 9 53 RR 71.

       Impairments associated with FASD include difficulty eating and

sleeping, poor muscle coordination, low I.Q., poor attention, inappropriate

social and sexual behavior, difficulty finding employment, and difficulty in

school. 53 RR 72-73. These impairments often cause individuals with FASD to

become incarcerated or hospitalized. 53 RR 72. Individuals with FASD also

suffer from adaptive behavior deficits, auditory or visual hallucinations, and

delinquency. 53 RR 101-02. Further, individuals with FASD who commit crime

tend to repeatedly commit “the same stupid . . . , petty . . . crimes.” 53 RR 126.

The severity of their crimes does not increase over time. 53 RR 126. Individuals

with FASD also tend to be susceptible to suggestion and would likely “over-

confess” or falsely confess to a crime when under questioning by police. 53 RR

140.




9      Dr. Adler acknowledged on cross-examination that the international scientific
community has not reached a consensus “regarding evidence-based diagnostic
criteria for any prenatal alcohol related condition other than FAS,” and that “the only
diagnostic category with scientific evidence to support clinical criteria is FAS.” 53 RR
163; see 53 RR 212-15. Dr. Adler testified that the most recent version of the ICD, a
publication of the United Nations and World Health Organization, does not include
a classification for PFAS. 53 RR 159-61, 167; see 55 RR 39.
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      Dr. Adler performed a clinical interview with, and a physical

examination of, Soliz. 10 53 RR 15, 78. Dr. Adler testified that Soliz did not have

a sufficiently shortened palpebral fissure in order to be diagnosed with FAS,

nor did Soliz have a flat upper lip or a smooth philtrum. 53 RR 109-10, 145,

148. Dr. Adler reviewed Soliz’s medical records and interviewed Soliz’s mother.

53 RR 15, 79, 188. Dr. Adler diagnosed Soliz with PFAS, cognitive disorder,

polysubstance abuse, physical and sexual abuse of child, and neglect of child.

53 RR 16, 86-87.

      Dr. Connor is a clinical neuropsychologist. 53 RR 220; 54 RR 13. Dr.

Connor completed a postdoctoral fellowship during which he researched FASD.

54 RR 14. From that research, Dr. Connor found that individuals who had been

exposed in utero to alcohol had difficulties in their neuropsychological

functioning. 54 RR 16. Those difficulties include lower intelligence, lower




10     Dr. Adler testified on cross-examination that when Soliz met him for the
clinical interview Dr. Adler asked Soliz regarding his understanding of the purpose
of the interview. Soliz stated that the interview was being conducted in order to “try
to see if I can be diagnosed or something, try to get the death penalty off me.” 53 RR
149. Dr. Adler also testified on cross-examination that Soliz admitted to inhaling
paint starting at age ten, he began drinking alcohol at age fifteen, used crack from
age twenty-one to twenty-three, and auto-asphyxiated with others present as a form
of fun from age eleven to fourteen. 53 RR 181-82. Dr. Adler testified that auto-
asphyxiation as recreation is common among children. 53 RR 182. Auto-asphyxiation
can cause hypoxia, which can cause brain damage. 53 RR 183.
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academic functioning, difficulty paying attention, and impulsive behavior. 54

RR 19.

      Dr. Connor performed a series of neuropsychological tests on Soliz “to

assess a broad range of cognitive functioning.” 53 RR 223. Dr. Connor testified

that Soliz’s cognitive functioning was consistent with the CDC guidelines for

FASD. 53 RR 224; 54 RR 69. Dr. Connor also testified that Soliz’s cognitive

functioning was consistent with cognitive disorder and that Soliz suffers from

a learning disorder and “attention deficit problems.” 11 53 RR 226.

      Dr. Brown is a clinical and forensic psychologist. 54 RR 72; 55 RR 133.

As part of her work with the Fetal Alcohol Spectrum Disorder Experts group,

Dr. Brown performs a “lifelong functional assessment” of individuals who are

being assessed for FASD. 54 RR 76; 55 RR 138-39. A lifelong functional

assessment includes a comprehensive examination of the individual’s life




11      Dr. Connor testified on cross-examination that he administered an I.Q. test to
Soliz on which Soliz scored a ninety. 55 RR 46. Dr. Connor also testified on cross-
examination that Soliz earned grades in the eighth grade of ninety-five in language
arts, seventy-nine in reading improvement, eighty-five in history, seventy-nine in
math, and seventy-two in science. 55 RR 22. Dr. Connor also acknowledged that
Soliz’s records from the Buckner Children’s Home indicated that Soliz was “able to
take responsibility for his actions,” displayed a mild manner, “demonstrated better
social skills,” and consistently attended Boy Scout activities and learned leadership
skills. 55 RR 24. Dr. Connor testified that those records demonstrated that Soliz was
able to conform his behavior well in a highly-structured environment. 55 RR 25-26.
Dr. Connor admitted that “[t]here are multiple factors that could have had an impact
on Mr. Soliz’s neuropsychological functioning,” including neglect. 55 RR 100, 124.
                                         23
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history to determine whether the individual has displayed behaviors that are

consistent with or contradict FASD. 54 RR 77; 55 RR 139-40. Behaviors and

characteristics that are consistent with FASD include having mental health

disorders, having a disruptive school experience, violating the law, being

confined (e.g., in a psychiatric hospital or jail), an inability to live

independently, substance abuse, and displaying inappropriate sexual

behavior. 54 RR 78-80, 84. “Sophisticated behavior,” e.g., having a successful

work or school history, would be inconsistent with an FASD diagnosis. 55 RR

141.

       Based on her lifelong functional assessment of Soliz, Dr. Brown

concluded that Soliz’s behaviors during his life were consistent with FASD and

that he did not display any behavior that was inconsistent with FASD. 54 RR

94, 97. Dr. Brown testified that, “there is evidence across [Soliz’s] life span of

significant impairment in . . . adaptive behavior,” and evidence that Soliz lived

in an “adverse environment.” 12 55 RR 228-29.


12     Dr. Brown testified that an individual’s behavior “really has everything to do
with extrinsic factors, the environment, because . . . the case for people who are born
with FAS or partial FAS . . . , if they’re raised in a protective, nurturing, positive
environment, . . . their risk of secondary disabilities goes way down because of that
protection and all the interventions that are afforded.” 55 RR 176. Dr. Brown
acknowledged that Soliz was subjected to a chaotic home and family life, did not have
a protective environment when he was young, and was raised in a “gang
environment.” 55 RR 184-85. Dr. Brown conceded on cross-examination that she
could not eliminate the possibility that Soliz’s “environmental trauma” (i.e. substance
                                          24
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                          STANDARD OF REVIEW

      Confined pursuant to a state court judgment, Soliz is entitled to relief

“only on the ground that he is in custody in violation of the Constitution or

laws or treaties of the United States.” 28 U.S.C. § 2254(a). Thus, any claims

Soliz raises that are based solely on alleged violations of state law should be

denied as a matter of law.

      Habeas relief is also inappropriate for claims that are either

unexhausted and procedurally defaulted, or claims that were exhausted but

were dismissed pursuant to an independent and adequate state procedural

rule. Indeed, under AEDPA, a federal habeas application shall not be granted

unless:

      (A)   the applicant has exhausted the remedies available in the
            courts of the State; or

      (B)   (i)    there is an absence of available State corrective
                   process; or

            (ii)   circumstances exist that render such process
                   ineffective to protect the rights of the applicant.




abuse, fighting, auto-asphyxiation) contributed to Soliz’s behavior. 54 RR 118, 120.
She also admitted that Soliz knows the difference between right and wrong and FASD
would not prevent Soliz knowing the difference between right and wrong. 55 RR 229,
279. Dr. Brown also acknowledged that there is no scientific method by which to
determine whether a particular crime or criminal behavior was caused by FASD. 54
RR 134-35; 55 RR 278.
                                        25
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28 U.S.C. § 2254(b)(1). Moreover, a claim may be denied on the merits,

notwithstanding any failure to exhaust available state court remedies. 28

U.S.C. § 2254(b)(2). A claim is procedurally barred if the last state court to

consider the claim expressly and unambiguously based its denial on a state

procedural default. Coleman v. Thompson, 501 U.S. 722, 729 (1991).

      Regarding exhausted claims, under AEDPA, federal habeas relief based

upon claims that were adjudicated on the merits by the state courts cannot be

granted unless that adjudication:

      (1)   resulted in a decision that was contrary to, or involved an
            unreasonable application of, clearly established Federal law,
            as determined by the Supreme Court of the United States;
            or

      (2)   resulted in a decision that was based on an unreasonable
            determination of the facts in light of the evidence presented
            in the state court proceeding.

28 U.S.C. § 2254(d). The Supreme Court has explained that a state court

decision is “contrary to” clearly established federal law if the state court

“applies a rule that contradicts the governing law set forth in [the Supreme

Court’s] cases,” or confronts facts that are “materially indistinguishable” from

relevant Supreme Court precedent but reaches an opposite result. 13 (Terry)

Williams v. Taylor, 529 U.S. 362, 405-06 (2000).


13     “Clearly established Federal law” refers to the holdings, as opposed to the
dicta, of the Supreme Court’s decisions as of the time of the relevant state court
                                       26
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      A “run-of-the-mill” state court decision applying the correct Supreme

Court rule to the facts of a particular case is to be reviewed under the

“unreasonable application” clause. Id. at 406. To this end, a state court

unreasonably applies Supreme Court precedent only if it correctly identifies

the governing precedent but unreasonably applies it to the facts of the

particular case. Id. at 407-09. And as the Supreme Court stated, in order to

determine if the state court made an unreasonable application, a federal court

“must determine what arguments or theories supported or . . . could have

supported, the state court’s decision; and then it must ask whether it is possible

fairminded jurists could disagree that those arguments or theories are

inconsistent with the holding in a prior decision of this Court.” Harrington v.

Richter, 562 U.S. 86, 102 (2011) (emphasis added). Indeed, this is the “only

question that matters under § 2254(d)(1).” Id.

      Thus, “a state court’s determination that a claim lacks merit precludes

federal habeas relief so long as ‘fairminded jurists could disagree’” on the

correctness of the state court’s decision. Id. (quoting Yarborough v. Alvarado,

541 U.S. 652, 664 (2002)); see also Woodford v. Visciotti, 537 U.S. 19, 27 (2002)


decision. Lockyer v. Andrade, 538 U.S. 63, 71 (2003) (citing (Terry) Williams v. Taylor,
529 U.S. 362, 412 (2000)). “In other words, ‘clearly established federal law’ under
§ 2254(d)(1) is the governing legal principle or principles set forth by the Supreme
Court at the time the state court reaches its decision.” Id. at 71-72 (citing (Terry)
Williams, 529 U.S. at 405, 413, and Bell v. Cone, 535 U.S. 685, 698 (2002)).
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(federal habeas relief is only merited where the state court decision is both

incorrect and objectively unreasonable, “whether or not [this Court] would

reach the same conclusion”). Moreover, “evaluating whether a rule application

was unreasonable requires considering the rule’s specificity. The more general

the rule, the more leeway the courts have in reaching outcomes in case-by-case

determinations.” Alvarado, 541 U.S. at 664; see also Richter, 562 U.S. at 100-

01 (discussing the application of § 2254(d)’s “relitigation bar” to state court

decisions applying Strickland v. Washington, 466 U.S. 668 (1984)).

      It bears repeating that even a strong case for relief does not mean the

state court’s contrary conclusion was unreasonable. Richter, 562 U.S. at 102.

      If this standard is difficult to meet, that is because it was meant to
      be. As amended by AEDPA, § 2254(d) stops short of imposing a
      complete bar on federal court litigation of claims already rejected
      in state proceedings. It preserves the authority to issue the writ in
      cases where there is no possibility fairminded jurists could
      disagree that the state court’s decision conflicts with this Court’s
      precedents. It goes no farther. [28 U.S.C. §] 2254(d) reflects the
      view that habeas corpus is a “guard against extreme malfunctions
      in the state court criminal justice systems, not a substitute for
      ordinary error correction through appeal.”

Id. (emphasis added, internal citations omitted).

      Moreover, it is the state court’s “ultimate decision” that is to be tested

for unreasonableness, “not every jot of its reasoning.” Santellan v. Cockrell, 271

F.3d 190, 193 (5th Cir. 2001); see also Neal v. Puckett, 286 F.3d 230, 246 (5th


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Cir. 2002) (en banc) (holding that a federal court’s “focus on the ‘unreasonable

application’ test under [§] 2254(d) should be on the ultimate legal conclusion

the state court reached and not on whether the state court considered and

discussed every angle of the evidence”); Catalan v. Cockrell, 315 F.3d 491, 493

(5th Cir. 2002) (“[W]e review only the state court’s decision, not its reasoning

or written opinion[.]”). And a state court’s decision need not expressly cite any

federal law or even be aware of applicable Supreme Court precedent in order

to be insulated from relitigation. Mitchell v. Esparza, 540 U.S. 12, 16 (2003);

Early v. Packer, 537 U.S. 3, 8 (2002) (state court decision must be upheld so

long as the result does not contradict Supreme Court precedent). A state court’s

decision also need not specifically address the federal constitutional claim. See

Johnson v. Williams, 133 S. Ct. 1088, 1096 (2013) (“When a state court rejects

a federal claim without expressly addressing the claim, a federal court must

presume that the federal claim was adjudicated on the merits—but that

presumption can in some limited circumstances be rebutted.”).

      If the Supreme Court has not “broken sufficient legal ground to establish

[a] . . . constitutional principle, the lower federal courts cannot themselves

establish such a principle with clarity sufficient to satisfy the AEDPA bar”

under either the “contrary to” or “unreasonable application” standard. (Terry)

Williams, 529 U.S. at 381; see also Marshall v. Rodgers, 133 S. Ct. 1446, 1450-

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451 (2013) (“Although an appellate panel may, in accordance with its usual

law-of-the-circuit procedures, look to circuit precedent to ascertain whether it

has already held that the particular point in issue is clearly established by

Supreme Court precedent, . . . , it may not canvass circuit decisions to

determine whether a particular rule of law is so widely accepted among the

Federal Circuits that it would, if presented to this Court, be accepted as

correct.”) (citations omitted). Stated differently:

       As a condition for obtaining habeas corpus relief from a federal
       court, a state prisoner must show that the state court’s ruling on
       the claim being presented in federal court was so lacking in
       justification that there was an error well understood and
       comprehended in existing law beyond any possibility for
       fairminded disagreement.

Richter, 562 U.S. at 103 (emphasis added). And a federal court must be wary

of circumstances in which it must “extend a [legal] rationale” of the Supreme

Court “before it can apply it to the facts at hand” because such a process

suggests the proposed rule is not “clearly established.” Alvarado, 541 U.S. at

666.

       Regarding questions of fact, federal courts must presume correct the

factual findings of the state courts unless the petitioner “rebut[s] the

presumption of correctness by clear and convincing evidence.” 28 U.S.C.

§ 2254(e)(1). “This presumption of correctness not only applies to explicit


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findings of fact, but it also applies to those unarticulated findings which are

necessary to the state court’s conclusions of mixed law and fact.” Valdez v.

Cockrell, 274 F.3d 941, 948 n.11 (5th Cir. 2001).

      Additionally, except for the narrow exceptions contained in § 2254(e)(2),

the evidence upon which a petitioner would challenge a state court finding

must have been presented to the state court. Cullen v. Pinholster, 563 U.S. 170,

181-82 (2011) (explaining that § 2254(d)(1) “refers in the past tense, to a state

court adjudication that ‘resulted in’ a decision that was contrary to, or

‘involved’ an unreasonable application of, established law. This backward-

looking language requires an examination of the state-court decision at the

time it was made. It follows that the record under review is limited to the

record in existence at the time, i.e., the record before the state court.”). Further,

because a federal habeas court is also prohibited from granting relief unless a

decision was based on an “unreasonable determination of the facts in light of

the evidence presented in the state court proceeding,” it follows that

demonstrating the incorrectness of a state court fact finding based upon

evidence not presented to the state court would be of no avail to a habeas

petitioner. 28 U.S.C. § 2254 (d)(2) (emphasis added).

      Finally, where a habeas petitioner has failed to fully develop the factual

bases of his claims in state court, he is precluded from further factual

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development in federal court unless (1) his claims rely on a new rule of

constitutional law or a factual predicate previously undiscoverable through the

exercise of due diligence; and (2) he establishes by clear and convincing

evidence that, but for constitutional error, no reasonable fact finder would have

found him guilty. 28 U.S.C. § 2254(e)(2). A failure to meet this standard of

“diligence” will bar a federal evidentiary hearing in the absence of a convincing

claim of actual innocence that can only be established by newly discovered

evidence. (Michael) Williams v. Taylor, 529 U.S. 420, 436 (2000); Beazley v.

Johnson, 242 F.3d 248, 272-73 (5th Cir. 2001). For example, a petitioner’s

failure to present controverted, previously unresolved factual issues to the

state court is sufficient to constitute “failure” under the plain meaning of §

2254(e)(2). (Michael) Williams, 529 U.S. at 433; Beazley, 242 F.3d at 273. But

even if a petitioner can meet the foregoing standard, it is within this Court’s

discretion to deny a hearing if sufficient facts exist to make an informed

decision on the merits. See Schriro v. Landrigan, 550 U.S. 465, 474-75 (2007)

(“It follows that if the record refutes applicant’s factual allegations or otherwise

precludes habeas relief, a district court is not required to hold an evidentiary

hearing.”); see also Clark v. Johnson, 227 F.3d 273, 284-85 (5th Cir. 2000).




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                                  ARGUMENT

I.    Soliz was Not Denied Constitutionally Effective Counsel at Trial.

      Soliz first argues that he was denied constitutionally effective counsel at

trial for a number of reasons. 14 Specifically, he argues his trial counsel were

ineffective for failing to (1) present expert testimony regarding the reliability

of Soliz’s confession during the trial court’s hearing on Soliz’s motion to

suppress the confession, (2) impeach Elizabeth Estrada’s testimony with her

prior inconsistent statements, (3) object to the admission of hearsay testimony

of Detective Danny Paine regarding statements made by Jose Ramos, (4) object

to the admission during the guilt/innocence phase of trial of evidence that Soliz

was a member of a gang, (5) object to the admission during the guilt/innocence

phase of trial of extraneous offense evidence, (6) object to the State’s improper

closing argument during the guilt/innocence and punishment phases, (7) object

during the punishment phase of trial to the admission of extraneous offense

victim-impact testimony, (8) object on relevance grounds to the admission of a

letter Soliz wrote to a veniremember, and (9) present testimony regarding the

effect Soliz’s placement in foster care had on Soliz. Petition at 20-131. He also

claims that he was denied effective assistance of counsel due to the cumulative




14    Soliz’s attorneys at trial were Michael Heiskell and Greg Westfall.
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effect of the alleged instances of ineffective assistance. Petition at 95-99. Soliz’s

claims are without merit.

      A.     Standard of review

      The Sixth Amendment guarantees a defendant the right to effective

assistance of counsel at trial. Strickland, 466 U.S. at 684-86. A defendant’s

claim that he was denied constitutionally effective assistance of counsel

requires him to prove both that: (1) counsel rendered deficient performance,

and (2) counsel’s actions resulted in actual prejudice. Id. at 687-88, 690.

Importantly, failure to prove either deficient performance or prejudice will

defeat an ineffective-assistance-of-counsel claim, making it unnecessary to

examine the other prong. Id. at 687.

      In order to demonstrate deficient performance, Soliz must show that, in

light of the circumstances as they appeared at the time of the conduct,

“counsel’s representation fell below an objective standard of reasonableness,”

i.e., “prevailing professional norms.” Id. at 689-90; see also Nix v. Whiteside,

475 U.S. 157, 165 (1986). The Supreme Court has admonished that judicial

scrutiny of counsel’s performance “must be highly deferential,” with every

effort made to avoid “the distorting effect of hindsight.” 15 Strickland, 466 U.S.


15     “Representation of a capital defendant calls for a variety of skills. Some involve
technical proficiency connected with the science of law. Other demands relate to the
art of advocacy. The proper exercise of judgment with respect to the tactical and
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at 689-90; see also Richter, 131 S. Ct. at 788 (“It is ‘all too tempting’ to ‘second-

guess counsel’s assistance after conviction or adverse sentence.”); Yarborough

v. Gentry, 540 U.S. 1, 6 (2003) (“The Sixth Amendment guarantees reasonable

competence, not perfect advocacy judged with the benefit of hindsight.”)

(citations omitted). Accordingly, there is a “strong presumption” that the

alleged deficiency “falls within the wide range of reasonable professional

assistance.” Strickland, 466 U.S. at 689. If there is any “reasonable argument

that counsel satisfied Strickland’s deferential standard,” the state court’s

denial will be upheld. Richter, 131 S. Ct. at 788.

      Even if deficient performance can be established, Soliz must still

affirmatively prove prejudice that is “so serious as to deprive him of a fair trial,

a trial whose result is reliable.” Strickland, 466 U.S. at 687. This requires him

to show a reasonable probability that, but for counsel’s deficiencies, the result

of the proceeding would have been different. Id. at 694. “A reasonable

probability” is one sufficient to undermine confidence in the outcome. Id. Thus,

the mere possibility of a different outcome is insufficient to prevail on the

prejudice prong. Crane v. Johnson, 178 F.3d 309, 312 (5th Cir. 1999). As

recently explained by the Supreme Court, “the question in conducting


strategic choices that must be made in the conduct of a defense cannot be neatly
plotted in advance by appellate courts.” Stanley v. Zant, 697 F.2d 955, 970 & n.12
(11th Cir. 1983).
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Strickland’s prejudice analysis is not whether a court can be certain [that]

counsel’s performance had no effect on the outcome or whether it is possible

[that] a reasonable doubt might have been established [had] counsel acted

differently.” Richter, 131 S. Ct. at 791 (emphasis added). Rather, the

“likelihood of a different result must be substantial, not just conceivable.” Id.

at 792.

      With respect to errors at the sentencing phase of a death penalty trial,

the relevant inquiry is “whether there is a reasonable probability that, absent

the errors, the sentencer [ ] would have concluded that the balance of

aggravating and mitigating circumstances did not warrant death.” Strickland,

466 U.S. at 695; see also Riley v. Cockrell, 339 F.3d 308, 315 (5th Cir. 2003) (“If

the petitioner brings a claim of ineffective assistance with regard to the

sentencing phase, he has the difficult burden of showing a reasonable

probability that the jury would not have imposed the death sentence in the

absence of errors by counsel.”) (internal quotation marks omitted)). “In

assessing prejudice, [the reviewing court] reweigh[s] the evidence in

aggravation against the totality of available mitigating evidence.” Wiggins

v. Smith, 539 U.S. 510, 534 (2003).

      Where a petitioner claims that his trial counsel was ineffective for failing

to adequately investigate his case, the petitioner has the burden of

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demonstrating    that   counsel’s   investigation   or   trial   decisions   were

professionally unreasonable. Strickland, 466 U.S. at 689 (emphasizing “strong

presumption that counsel’s conduct falls within the wide range of reasonable

professional assistance”). Counsel “has a duty to make a reasonable

investigation of defendant’s case or to make a reasonable decision that a

particular investigation is unnecessary.” Ransom v. Johnson, 123 F.3d 716,

723 (5th Cir. 1997) (citation omitted); see also Rompilla v. Beard, 545 U.S. 374

(2005) (emphasizing counsel’s duty under Strickland to make reasonable

investigation); Wiggins, 539 U.S. at 510 (same). But “the duty to investigate

does not force defense lawyers to scour the globe on the off chance something

will turn up; reasonably diligent counsel may draw a line when they have good

reason to think further investigation would be a waste.” Rompilla, 545 U.S. at

383.

       To meet this burden, a defendant must do more than merely allege a

failure to investigate; he must affirmatively prove that the investigation

counsel actually conducted fell below minimum professional standards.

Strickland, 466 U.S. at 690 (“A convicted defendant making a claim of

ineffective assistance must identify the acts or omissions of counsel that are

alleged not to have been the result of reasonable professional judgment.”); see

also id. at 687 (explaining that as to deficient performance, “the defendant

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must show . . . that counsel made errors so serious that counsel was not

functioning as the ‘counsel’ guaranteed the defendant by the Sixth

Amendment”). He must also state with specificity what additional evidence

would have resulted from further investigation and how such evidence would

have altered the outcome of the case. Moawad v. Anderson, 143 F.3d 942, 948

(5th Cir. 1998); Anderson v. Collins, 18 F.3d 1208, 1221 (5th Cir. 1994); United

States v. Green, 882 F.2d 999, 1003 (5th Cir. 1989).

      And, more specifically, to prevail on a claim of ineffective assistance of

counsel based on counsel’s failure to interview and call a witness, the petitioner

must (1) name the witness, (2) demonstrate that the witness was available to

testify and would have done so, (3) set out the content of the witness’s proposed

testimony, and (4) show that the testimony would have been favorable to a

particular defense. Day v. Quarterman, 566 F.3d 527, 538 (5th Cir. 2009);

Lockhart v. McCotter, 782 F.2d 1275, 1282 (5th Cir. 1986). Complaints of

uncalled witnesses are not favored on federal habeas corpus. Alexander v.

McCotter, 775 F.2d 595, 602 (5th Cir. 1985). Where the only evidence of a

missing witness’s testimony is from the defendant, the court must view the

petitioners claim of ineffective assistance of counsel with great caution.

Schwander v. Blackburn, 750 F.2d 494, 500 (5th Cir. 1985).



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      Further, the decision of whether to call certain witnesses to testify is a

matter of trial strategy, entitled to a strong degree of deference. Murray v.

Maggio, 736 F.2d 279, 282 (5th Cir. 1984) (stating that a petitioner must

overcome a strong presumption that trial counsel’s decision in not calling a

particular witness was a strategic decision); see Yohey v. Collins, 985 F.2d 222,

228 (5th Cir. 1993); see also Williams v. Collins, 16 F.3d 626, 632 (5th Cir.

1994) (finding defense attorneys were not ineffective for deciding not to call

certain witnesses because of their concern that the testimony would have

opened the door to more damaging evidence under cross-examination). The

Fifth Circuit has stated that, a “court might even disagree with such a decision,

viewing the case in hindsight, and still determine that the decision was not so

seriously inept as to have been professionally unreasonable.” Williams, 16 F.3d

at 632. Finally, counsel’s failure to investigate will not rise to the level of

ineffective assistance where the evidence in question is either cumulative,

unknown, or possibly harmful to the defense. See Anderson, 18 F.3d at 1220-

21.




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      B.    Trial counsel made the reasonable strategic decision to not
            present expert testimony regarding false confessions
            during the hearing on Soliz’s motion to suppress his
            confession.

      Soliz claims that his trial counsel were ineffective for failing to present

testimony of an expert on false confessions during the trial court’s hearing on

Soliz’s motion to suppress his confession. Petition at 20-26. The claim is

without merit.

            1.     Factual background

      Prior to trial, Soliz filed a motion for a hearing on the admissibility of his

statements he had made to the police. 2 CR 264-67. The trial court held a

hearing over two days on Soliz’s motion to suppress. See generally 5 RR; 6 RR.

The State called Detective Danny Paine, Detective Tim Boetcher, and Martha

Fralia of the Fort Worth Police Department to testify. See generally 5 RR; 6

RR.

      Detective Paine testified regarding the police department’s investigation

into several robberies that had taken place between June 24 and June 29, 2010.

5 RR 26-42. Soliz became a suspect in the robberies based on the officers’

investigation. 5 RR 26. During the investigation, Detective Paine learned that

a green Dodge Stratus had been stolen from Sammy Abu-Lughod. 5 RR 35.

Victims of later robberies described a similar car being used by the assailant


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in those offenses. 5 RR 35. Officers eventually located and tried to pull over the

Stratus, which Soliz was driving, but Soliz fled from police. 5 RR 49-56. Soliz

was arrested after he wrecked during his attempt to flee. 5 RR 55. He was then

transported to the homicide department of the Fort Worth Police Department.

5 RR 57. Jose Ramos was arrested near in time to Soliz’s arrest when officers

pulled over a car in which Ramos and several passengers were traveling close

to the Stratus.

      The police officers first interviewed Ramos, who was a suspect along with

Soliz in several of the robberies the officers were investigating. 5 RR 82. The

officers also interviewed Whitney Lewis, Cathy Richardson, Elizabeth

Estrada, and Arturo Gonzalez (who had been arrested along with Ramos)

before they interviewed Soliz. 6 RR 5. Detectives Paine and Boetcher then

interviewed Soliz. 16 5 RR 59. The interview was recorded on video.

      Detective Paine testified that Soliz had not been injured by police officers

during his arrest. 5 RR 57. The detectives asked Soliz several times if he

wanted food or a drink. 5 RR 62. Soliz appeared nervous and tired, but was

able to answer questions in detail and recall events and did not appear to be

under the influence of drugs. 5 RR 63-64. Detective Boetcher advised Soliz of



16   Detective Boetcher had been assigned to investigate the Ruben Martinez
murder. 5 RR 59.
                                       41
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his rights and Soliz waived them. 5 RR 66. Detective Paine testified that Soliz

was not coerced or threatened during the interview. 5 RR 67.

      Detective Boetcher testified next. He testified that he had received

training in various interrogation techniques. 5 RR 179. During Soliz’s

interview, Detective Boetcher looked to see whether Soliz had any injuries, and

he did not see any. 6 RR 8. Detective Boetcher testified that Soliz understood

the questions he was asked and was able to give details in addition to what the

officers knew regarding the robberies and murders. 6 RR 14.

      Trial counsel extensively cross-examined the detectives regarding

training they had received on conducting interrogations. 5 RR 84-91. For

example, Detective Paine completed a course in the Reid Technique of

Interviewing and Interrogation. 17 5 RR 85. Trial counsel indicated that a book

titled “Criminal Interrogation and Confessions,” written by the authors of the




17     Trial counsel had issued a subpoena duces tecum on Detective Paine requiring
Detective Paine to provide trial counsel manuals and books the detective had read
during his training on interrogation techniques. 5 RR 83. Detective Paine provided
trial counsel a copy of books titled “Essentials of the Reid Technique: Criminal
Investigation and Confessions,” “Criminal Investigation: Law and Practice, Second
Edition,” “Criminal Investigation: The Art and the Science.” “Reid Technique of
Interviewing and Interrogation,” “The Advanced Course on the Reid Technique of
Interviewing and Interrogation,” “Interview and Interrogation Techniques,” and “The
Investigator Anthology: A Compilation of Articles and Essays about the Reid
Technique of Interviewing and Interrogation.” 5 RR 84-85. Detective Paine also
provided trial counsel certificates of completion of courses he had taken in
interrogation techniques. 5 RR 85-86.
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“Reid Technique” of interrogation, suggested that officers determine whether

the suspect has any known physical, mental, or emotional impairments or has

been taking medication. 5 RR 128. The authors of the Reid Technique indicated

that doing so is important because such impairments can cause a suspect to

engage in misleading behavior. 5 RR 128. Detective Paine testified that he and

Detective Boetcher asked Soliz only whether he used drugs, and did not ask

Soliz whether he suffered from any other impairment discussed by the Reid

Technique authors. 5 RR 131. Trial counsel also attempted to elicit testimony

that Soliz was lethargic, which could be a symptom of withdrawal from

methamphetamine. 5 RR 131-32. Detective Paine conceded the he did not ask

Soliz regarding his educational attainment, 18 how much sleep he had gotten

recently, or whether Soliz was taking any medication, had ever attempted

suicide, or had any psychiatric history. 5 RR 133-35. Trial counsel asked

Detective Paine whether he was aware that methamphetamine use can cause

an individual to be suggestible and emphasized that Soliz admitted to killing

Ms. Weatherly “just to get [the interview] over with.” 5 RR 149-52; 11 CR 2192.

Trial counsel also asked Detective Paine whether he or Detective Boetcher




18      Soliz’s first written confession indicates that he completed nine years of school.
SX 2.
                                            43
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misled Soliz regarding the evidence they had that incriminated him, which

Detective Paine denied. 5 RR 153-55.

      Trial counsel also cross-examined Detective Boetcher regarding the

officers’ efforts to ensure the veracity of Soliz’s confession. Trial counsel asked

Detective Boetcher whether he asked Soliz how often he used drugs, whether

he was suffering from withdrawal, or whether Soliz used any medications or

had any psychiatric history. 6 RR 33-36. Detective Boetcher testified that he

did not ask Soliz those questions. 6 RR 33-36. Trial counsel also asked

Detective Boetcher whether he was aware that an individual suffering from

withdrawal from methamphetamine is likely to be suggestible. 6 RR 56.

Detective Boetcher answered that whether an individual experiences such a

symptom of withdrawal “would depend on the person.” 6 RR 56.

      Trial counsel also elicited testimony that Soliz was brought to the

homicide department shortly before midnight on June 29, 2010, and was not

interviewed until 5:00 a.m. on June 30, 2010. 5 RR 117. Trial counsel also

asked Detective Paine whether he had experience in detecting if a suspect was

under the influence of drugs. 5 RR 121. Detective Paine answered that he did

not, but he had experience with people who admitted to being under the

influence of drugs. 5 RR 121. Detective Paine testified that an individual

“coming down” from methamphetamine is typically lethargic. 5 RR 126.

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      After the witnesses testified at the hearing, trial counsel argued to the

court that Soliz’s statements should be suppressed because he was handcuffed

in a hallway for five to six hours before being interviewed, had not recently

been able to sleep, and the officers did not determine Soliz’s educational

attainment or whether Soliz’s waiver of his rights could be valid in light of his

mental and physical state due to his methamphetamine use. 6 RR 115-19. Trial

counsel argued that Soliz’s waiver of his rights was invalid due to “his inability

to comprehend, understand, and voluntarily, intelligently and knowingly

waive his basic Fifth Amendment rights.” 6 RR 119-20.

      After the hearing, the trial court entered findings of fact and conclusions

of law, denying Soliz’s request to suppress the videotape of his interview, SX

1, and his written statements, SX 2, 3; 9 CR 1746-50. The trial court found that

Soliz’s waiver of his rights was voluntary and that Soliz “had the sufficient

mental capacity to understand the rights and warnings given him,” and the

mental capacity to make a knowing and intelligent waiver. 9 CR 1747, 1750.

            2.    Trial counsel elicited the same testimony that a false
                  confessions expert would have provided.

      Soliz argues that trial counsel were ineffective for failing to present

expert testimony at the suppression hearing regarding the “specific risk factors

relevant to Soliz’s confession, such as his FASD, suggestibility, and sleep


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deprivation.” Petition at 24. A false confessions expert, Soliz argues, could have

testified regarding the detectives’ “repeated minimizing of Ms. Weatherly’s

death and insistence that Soliz was lying.” Petition at 24. He does not, however,

provide this Court with an affidavit of an expert he argues could have, and

would have, testified at the suppression hearing regarding the reliability of

Soliz’s statements. As a result, Soliz’s claim necessarily fails. Day, 566 F.3d at

538.

       Soliz did, however, submit to the state habeas court an affidavit of Dr.

Gregory DeClue, a purported expert regarding false confessions. SHCR-01 at

169-83. In his affidavit, Dr. DeClue discussed various factors that can

contribute to an individual providing a false confession. SHCR-01 at 170-75.

He asserted that Soliz was diagnosed with FAS, 19 and that individuals

diagnosed with fetal alcohol spectrum disorder tend to be impulsive, naïve,

suggestible, followers, and exhibit poor judgment. SHCR-01 at 175. He also

stated that Soliz obtained a high score on a scale of suggestibility that was

administered by the defense experts. SHCR-01 at 176. Further, Soliz was sleep

deprived at the time he was interviewed. SHCR-01 at 176. Dr. DeClue also

asserted that the detectives did not use proper safeguards to ensure that Soliz’s


19    This is incorrect. Soliz was not diagnosed with fetal alcohol syndrome. The
defense experts diagnosed Soliz with partial fetal alcohol syndrome (PFAS). 53 RR
16.
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confession was accurate because they did not ask Soliz questions aimed at

having Soliz independently corroborate details of Ms. Weatherly’s murder.

SHCR-01 at 176, 179. Further, Dr. DeClue stated that police told Soliz that he

would not face any additional consequences if he admitted to shooting Ms.

Weatherly, rather than stating that he was outside of the house when Ms.

Weatherly was shot. SHCR-01 at 177. Assuming that Soliz’s claim in this Court

is also premised upon Dr. DeClue’s affidavit, the claim is without merit.

      Trial counsel, Michael Heiskell, provided the state habeas court with an

affidavit explaining the defense team’s decision to not hire a false confession

expert. SHCR-01 at 556. Mr. Heiskell stated, “[w]e did not hire an expert on

false confessions because we felt it totally unnecessary in light of the totality

of the circumstances surrounding the confession, and the corroborating

evidence that existed connected Mr. Soliz to the crimes.” SHCR-01 at 556. Trial

counsels’ filings with the trial court are also elucidating. Trial counsel filed

several motions for appointment of experts and obtained orders approving

same. 1 CR 44 (order appointing Dr. Jolie Brams), 47 (order appointing Dr.

John Roach), 83 (motion for appointment of expert for FASD), 86 (order

appointing Dr. Connor), 109 (order appointing Dr. Brown), 110 (order

appointing Dr. Adler), 112 (order appointing Dr. Singer), 142 (motion for

appointment of expert on TDCJ classification), 145, 147 (motion for

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appointment of forensic psychologist, Emily Fallis), 149; 4 CR 648 (motion for

appointment of DNA expert, Robert Benjamin); 9 CR 1628 (the defense’s

preliminary list of expert witnesses naming twenty-seven witnesses). After the

trial concluded, Mr. Heiskell submitted an affidavit to the trial court along

with invoices for payment of experts. 12 CR 2213-14. Mr. Heiskell stated in the

affidavit,

       This case [was] an unprecedented death penalty case as it involved
       litigating four (4) other shootings, two capital murders, and
       multiple other offenses in multiple jurisdictions. Furthermore, Mr.
       Soliz’s family and life history revealed an array of problems that
       mandated an extensive mitigation investigation, and an eventual
       week-long presentation during the punishment phase of trial. I had
       to engage numerous experts in the field of Fetal Alcohol Spectrum
       Disorder, as well as experts in attachment, neglect, and exposure to
       toxins.

12 CR 2213 (emphasis in original). Mr. Heiskell listed the defense’s experts

and their compensation as follows:

   -   Trinity Mitigation (Mary Burdette) $13,008.88
   -   John Ladd, Investigator $10,203.36
   -   Dr. Natalie Brown $36,217.20
   -   Dr. Emily Fallis $12,900.00
   -   Dr. Paul Connor $12,802.53
   -   Dr. Richard Adler $17,441.70
   -   Larry Fitzgerald $4,151.39

12 CR 2213.

       When Soliz raised this claim in his state habeas application, SHCR-01

at 36-48, the state court rejected the claim because it found that trial counsel

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made a reasonable strategic decision to not expend limited resources on a false

confessions expert. 20 SHCR-01 at 729. The state court found that trial counsel

presented a similar case for suppression that a false confessions expert would

have made without the assistance of a false confessions expert. SHCR-01 at

730. For example, trial counsel elicited testimony regarding the detectives’

failure to ensure that Soliz was not suffering from the effects of sleep

deprivation or drug use, which could have rendered him “more susceptible to

suggestion by law enforcement.” SHCR-01 at 730. The state court concluded

that trial counsel were not deficient and that Soliz was not prejudiced by their

performance because the suppression motion would have failed even with the

benefit of the proffered expert testimony and because trial counsel made a

reasonable strategic decision to not expend limited resources on a false

confessions expert. SHCR-01 at 749-50. Rather, trial counsel reasonably

expended effort and financial resources to develop a mitigation case centered

on Soliz’s FASD diagnosis. SHCR -01 at 750.

      Soliz has not shown that the state court’s rejection of this claim was

unreasonable. Most importantly, as the Supreme Court has held, trial counsel



20    Importantly, the trial judge (the Honorable William C. Bosworth, Jr.) who
presided over Soliz’s trial also presided over Soliz’s state habeas proceedings.
Consequently, the judge was ideally situated to make credibility determinations.
Schriro v. Landrigan, 550 U.S. 465, 476 (2007).
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are “entitled to formulate a strategy that was reasonable at the time and to

balance limited resources in accord with effective trial tactics and strategies.”

Richter, 562 U.S. at 107. As Mr. Heiskell’s affidavit to the state habeas court

makes clear, the defense team made a deliberate choice to not retain a false

confessions expert because doing so was unnecessary in light of the “totality of

the circumstances” of Soliz’s confession. SHCR-01 at 556. Further, as Mr.

Heiskell’s filings with the trial court makes clear, trial counsel conducted an

extensive investigation into the case, resulting in (at least preliminary)

consultation with twenty-seven experts and payment to experts totalling more

than $90,000. 9 CR 1628; 12 CR 2213. Soliz cannot demonstrate that trial

counsels’ strategic decision in regard to the allocation of limited resources was

unreasonable. Consequently, he fails to show that trial counsel were deficient.

      Soliz also fails to establish that he was prejudiced by trial counsels’

failure to present testimony of a false confessions expert. As the state court

found, trial counsel elicited the same type of testimony from the State’s

witnesses regarding the reliability of Soliz’s confession as a false confessions

expert would have presented. SHCR-01 at 730. As noted above, trial counsel

extensively questioned Detectives Paine and Boetcher regarding methods of

interrogation in which they had been trained and trial counsel made effective

use of several books that covered the same topics addressed by Dr. DeClue. 5

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RR 84-91. For example, trial counsel elicited testimony that the Reid

Technique instructed officers to ask questions of a suspect to ensure the

veracity of any statements the suspect might make. 5 RR 128. Trial counsel

elicited testimony from the detectives that they did not ask Soliz whether he

was sleep deprived, was taking any medication, or had any psychiatric history.

5 RR 131, 133-35. Trial counsel also elicited testimony that Soliz’s drug use

could render him suggestible. 5 RR 149-52; 6 RR 56. Further, trial counsel

attempted to show that the detectives misled Soliz regarding the incriminating

evidence they were in possession of, but Detective Paine testified that they did

not mislead Soliz about the state of the evidence. 5 RR 154-55.

      Further, Dr. DeClue asserted in his affidavit that Soliz’s confession was

unreliable because the detectives did not ask Soliz to provide details of Ms.

Weatherly’s murder in order to verify the confession and that the detectives

told Soliz he would not face any more serious consequences if he admitted to

shooting Ms. Weatherly rather than only admitting to having been present.

SHCR-01 at 176-77, 179. But Soliz’s confession was corroborated by extensive

physical evidence as well as Elizabeth Estrada’s testimony. Notably, Deputy

Chief Medical Examiner Marc Krouse, testified that Ms. Weatherly was shot

in the back of the head by a gun located from eight to ten inches away. 40 RR

216-18. That testimony was entirely consistent with Elizabeth Estrada’s

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testimony that Soliz admitted to her that he shot Ms. Weatherly in the head

as she begged for her life. 44 RR 197.

      Moreover, one of the detectives stated to Soliz during the interview that

“it doesn’t make a difference” whether Soliz or Ramos shot Ms. Weatherly. 11

CR 2183. One of the detectives also stated, “the main question that they want

to clarify is that, if you shot the woman in Godley or he did. I don’t know why

it’s important, but they think it is.” 11 CR 2191. While Dr. DeClue takes issue

with the detectives’ questioning, the detectives were correct because Soliz’s

admissions already subjected himself to charges of capital murder. Even

assuming Soliz’s first version of the murder of Ms. Weatherly was accurate,

Soliz had implicated himself as a party to the capital murder, which subjected

Soliz to a charge of capital murder even if he did not commit the shooting. Tex.

Penal Code § 7.02 (West 2016). Additionally, Soliz had already admitted to

murdering Ruben Martinez. 11 CR 2158. That murder also constituted a

capital murder, as Soliz admitted to stealing Mr. Martinez’s wallet. 11 CR

2159; Tex. Penal Code § 19.03(a)(2).

      But even if Soliz’s confession was suppressed, there was extensive

evidence implicating Soliz. 21 Physical evidence placed Soliz inside Nancy



21     Importantly, Soliz was charged with Nancy Weatherly’s murder both as a
principal and a party. 11 CR 2061-64.
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Weatherly’s home. 43 RR 120 (police officer’s testimony that he collected a

fingerprint from cassette tape case found in Ms. Weatherly’s home); 44 RR 126

(medical examiner’s testimony that the fingerprint on the cassette tape case

was Soliz’s). The gun that was used to kill Ms. Weatherly was found inside the

stolen car in which Soliz fled from police prior to his arrest. 42 RR 121; 45 RR

150. Gunshot residue was found on Soliz’s hands and clothing as well as inside

the stolen car Soliz was driving when he fled from police and on the blue

bandana recovered from inside that car. 45 RR 73-88. Elizabeth Estrada

testified that Soliz admitted to her that he killed Nancy Weatherly and

explained in detail how he did so. 44 RR 190, 195-97. Consequently, Soliz not

only fails to show that his confession was false, he also fails to show that

testimony from a false confessions expert during the suppression hearing

would have resulted in a different outcome at trial. Therefore, he fails to show

he was prejudiced by trial counsels’ alleged deficiency.

      Lastly, Soliz makes a cursory assertion that “trial counsel failed to

specifically challenge the handwritten annotation that Soliz added to his

second statement in which he claimed to have shot Weatherly. This annotation

was particularly suspect because it contradicted the typed statement and was

only added after repeated, insisted prodding by the interrogators.” Petition at

24-25. Assuming Soliz intends to raise this argument as a claim, it is without

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merit. He does not provide a basis on which trial counsel should have, or could

have, successfully suppressed the handwritten confession. Consequently,

Soliz’s claim is conclusory and without merit.

      Soliz has not rebutted the presumption that trial counsels’ strategy was

reasonable or the presumption afforded to the state court’s findings. The state

court’s rejection of Soliz’s claim was plainly reasonable under Richter. The

state court rejected Soliz’s claim that his trial counsel were ineffective for

failing to present testimony of a false confessions expert and, for the reasons

discussed above, Soliz has failed to show that the state court’s rejection of the

claim was unreasonable. Therefore, the claim should be denied. Richter, 562

U.S. at 99-102.

      C.    Trial counsel effectively cross-examined Elizabeth Estrada.

      Soliz next claims that trial counsel were ineffective for failing to impeach

Elizabeth Estrada with her prior inconsistent statements. Petition at 31-42.

Specifically, he claims that Estrada’s trial testimony conflicted in various ways

with her statement she provided to the police on October 28, 2010, the night

Soliz and Estrada were arrested and that trial counsel should have impeached

her testimony with the October 28, 2010 statement. Petition at 38-39. The

claim is without merit.



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            1. Factual background

      Elizabeth Estrada was a passenger in the stolen Stratus, which Soliz was

driving when he attempted to flee from the police. 44 RR 176. Estrada testified

that she was in the Varrio North Side gang, which was based in the north-side

of Fort Worth. 44 RR 170. Soliz was in the Texas Syndicate gang but also

associated with other gangs in the north-side of Fort Worth. 44 RR 173-74.

Estrada testified that she was sexually involved with Soliz. 44 R 185. She was

interviewed by the police after her arrest, but she did not tell the police

everything she knew regarding Soliz’s recent criminal activity because she was

concerned for her safety and her two sons’ safety. 44 RR 179-80, 208-09.

Estrada testified that Soliz told her that he was committing crimes in the week

prior to their arrest. 44 RR 183. She noticed blood on the passenger door of a

truck Soliz had recently driven. 44 RR 184.

      Prior to Soliz’s and Estrada’s arrest, Soliz told her he had shot a person

at a Texaco gas station during a robbery because the victim only had ten

dollars. 44 RR 190. Soliz told Estrada that he drove to the Texaco and that

Ramos was in the passenger seat. 44 RR 190. Soliz said that he shot the victim

(Ruben Martinez) in the neck. 44 RR 192. Soliz also told Estrada that he

recently committed a drive-by shooting. 44 RR 193. Soliz also told Estrada that

he had shot an “old lady.” 44 RR 190. Regarding Soliz’s murder of Ms.

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Weatherly, Soliz told Estrada that he knocked on Ms. Weatherly’s door while

holding a gun. 44 RR 195. He said that he and Ramos took a jewelry box from

Ms. Weatherly’s home and that he killed Ms. Weatherly’s horse. 44 RR 195.

Soliz said that Ms. Weatherly was crying and begging for her life, but he told

her to shut up. 44 RR 197. Ms. Weatherly begged Soliz to not take the jewelry

because her mother had given it to her and her mother was dead. 44 RR 197.

Soliz told her to go with her mother and shot Ms. Weatherly in the head. 44

RR 197.

      Estrada also testified that during Soliz’s attempt to flee from the police

in the Stratus, Soliz held a gun and said he was going to shoot an officer or

himself. 44 R 206. Estrada knocked the gun out of Soliz’s hand. 44 RR 206.

While at the police station, Soliz said he wanted to “ride or die” and called

Estrada a “dumb ass bitch.” 44 RR 208.

      Estrada was released from police custody after giving a statement on the

night of her arrest on June 30, 2010. 44 RR 209. She was later subpoenaed to

testify in front of a grand jury, but she failed to appear and was subsequently

arrested. 44 RR 209. Estrada testified that she was under the influence of

drugs when she made her court appearance for failing to appear. 44 RR 210.

She also had two pending unrelated misdemeanor charges at that time. 44 RR

210. An assistant district attorney (the same assistant district attorney who

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prosecuted Soliz’s capital murder case) later interviewed Estrada. 44 RR 212.

The assistant district attorney recommended to the trial court that Estrada be

released to probation with requirements to obtain treatment for bipolar

disorder and to maintain contact with the district attorney’s office. 44 RR 212.

Instead, Estrada “disappeared.” 44 RR 213. She was later charged with theft

of a firearm, but she testified that she did not have a plea agreement regarding

that charge. 44 RR 214.

      On cross-examination, Estrada testified that she joined a gang at a

young age and starting using drugs at that time. 44 RR 218-20. She denied

that she testified against Soliz as part of an agreement with the district

attorney’s office regarding the charge of theft of a firearm. 44 RR 225, 255. She

testified that she had known Ramos longer than she had known Soliz, and that

Ramos had written her a letter saying he loved her. 44 RR 229, 233. She

admitted to lying to the police when she provided a written statement on the

night she was arrested. 44 RR 229-30. She admitted that her written June 30,

2010 statement amounted to perjury, but that she had not been charged with

that offense. 44 RR 230-31.

            2.    Trial counsel effectively cross-examined Estrada.

      Soliz argues that trial counsel were ineffective in their cross-

examination of Estrada for failing to elicit conflicts between her October 28,

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2010, interview with the assistant district attorney and her testimony. Petition

at 37-39. He argues trial counsel should have cross-examined Estrada on the

following alleged inconsistences:

   • Soliz telling her about the Ruben Martinez incident in a phone call
     changed to an in-person telling at Rosie Medina’s home. (Compare
     Ex. 8 at 2 [Elizabeth Estrada Interview Transcript], with (44 RR
     at 194).)

   • Soliz telling her that Ramos was sitting in the driver’s seat of the
     car as a lookout for the Ruben Martinez incident changed to Ramos
     getting out of the car with Soliz during the incident. (Compare Ex.
     8 at 2-3 [Elizabeth Estrada Interview Transcript], with (44 RR at
     192, 267).)

   • Soliz and Ramos going to the Texaco to get cigarettes changed to
     them going to Texaco because they were “gonna get Ruben.”
     (Compare Ex. 8 at 2 [Elizabeth Estrada Interview Transcript],
     with (44 RR at 191).)

   • Soliz telling her that he shot Ruben Martinez in the head changed
     to him telling her that he shot Martinez in the neck. (Compare Ex.
     8 at 3 [Elizabeth Estrada Interview Transcript], with (44 RR at
     192, 268).)

   • Soliz telling her about the Ruben Martinez and Nancy Weatherly
     incidents in two separate conversations changed to Soliz telling
     her in one conversation. (Compare Ex. 8 at 3 [Elizabeth Estrada
     Interview Transcript], with (44 RR at 194).)

   • Soliz telling Ramos to get a horse at Weatherly’s house changed to
     Soliz saying that they had killed a horse. (Compare Ex. 8 at 4
     [Elizabeth Estrada Interview Transcript], with (44 RR at 196).)

   • Soliz “bust[ing] in the door” at Nancy Weatherly’s home changed
     to him knocking at the door. (Compare Ex. 8 at 4 [Elizabeth
     Estrada Interview Transcript], with (44 RR at 195).)
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   • Estrada knowing someone named “Tat Man” as a person who lived
     on the west side of Fort Worth in an apartment who did tattoos—
     and who was supposed to tattoo Soliz the day of the arrest—
     changed to her not knowing “Tat Man” at all. (Compare Ex. 8 at
     25-26 [Elizabeth Estrada Interview Transcript], with (44 RR at
     199).)

   • Soliz not saying who the shooter at the Pearl Street incident was
     and her specifically saying Soliz only said “they shot” changed to
     Soliz stating that he was the shooter at the Pearl Street Incident.
     (Compare Ex. 8 at 28-29 [Elizabeth Estrada Interview Transcript],
     with (44 RR at 193-94).)

Petition at 38-39. Soliz’s claim is without merit.

      In support of his claim, Soliz cites to two non-binding opinions where the

courts found trial counsel to be ineffective for entirely foregoing cross-

examination of prosecution witnesses. Petition at 39-40. But Soliz also

concedes that “trial counsel attempted to discredit Estrada’s testimony

through other means.” Petition at 37. Consequently, the authorities Soliz cites

are inapposite.

      Nonetheless, the manner in which trial counsel engages in cross-

examination is a matter of trial strategy that is given a strong degree of

deference. Richter, 562 U.S. at 109 (“There is a strong presumption that

counsel’s attention to certain issues to the exclusion reflects trial tactics rather

than sheer neglect.”) (quotation marks and citation omitted); Garland v.

Maggio, 717 F.2d 199, 206 (5th Cir. 1983) (rejecting claim that trial counsel

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were ineffective for failing to impeach witness with allegation of perjury

because trial counsel’s decision was a matter of trial strategy and the decision

was not “so ill chosen that it permeated the entire trial with obvious

unfairness”); United States v. Hughes, 635 F.2d 449, 452 (5th Cir. 1981) (“A

defense counsel’s strategy, which would include his asking or refraining from

asking certain questions of witnesses, does not reach constitutional

proportions.”); Thomas v. Thaler, 520 F. App’x 276, 281 (5th Cir. 2013) (“[T]he

district court in this case failed to indulge the possibility that counsel’s silence

during . . . cross-examination . . . might have been based on calculated trial

strategy.”). Soliz fails to show that trial counsels’ cross-examination of Estrada

was a matter of reasonable trial strategy.

      As Soliz concedes, trial counsel attempted to discredit Estrada through

cross-examination. Petition at 37. Trial counsel elicited testimony that Estrada

began using drugs and inhaling paint when she was twelve-years old. 44 RR

221. Trial counsel impeached Estrada with her prior convictions. 44 RR 223.

Further, trial counsel questioned Estrada regarding her relationship with

Ramos in order to demonstrate that she was closer to Ramos than with Soliz

and was motivated to testify in favor of Ramos. 44 RR 225-29. Indeed, trial

counsel elicited testimony from Estrada that she and Ramos would do anything



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for each other. 22 44 RR 233, 246-47. Moreover, Estrada testified that she did

not have a good memory due to her past drug use. 44 RR 248, 279. Trial counsel

also asked Estrada whether her testimony was based on what she had been

told by Ramos regarding Ms. Weatherly’s murder. 44 RR 278. Estrada denied

that her testimony was based on what Ramos had told her. 44 RR 278.

      Trial counsel’s cross-examination of Estrada was also consistent with

their strategy of focusing on presenting a strong case in mitigation based on

Soliz’s chaotic upbringing, which led to Soliz joining a gang and using drugs at

a young age. For example, trial counsel elicited testimony from Estrada

regarding growing up in a gang environment, which often leads to drug use at

a young age, and the effects of methamphetamine use. 44 RR 243. She testified

that young people in gangs often do not have adult supervision. 44 RR 219.

Trial counsel also questioned Estrada regarding her comment during the

October 28, 2010 interview that Soliz was mentally “sick.” 44 RR 237-38.

      In light of the above, Soliz has failed to show that trial counsel’s cross-

examination of Estrada was the product of sheer neglect. Rather, as the record

shows, trial counsel engaged in an effective cross-examination of Estrada in an

attempt to discredit her based on (1) her pending criminal charges, (2) her prior



22    Estrada testified that she and Ramos would “cut for” each other, meaning they
would do anything for each other. 44 RR 173.
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convictions, (3) her poor memory caused by drug use, and (4) her close

relationship with Ramos.

      Additionally, Estrada’s October 28, 2010 interview was highly

incriminating of Soliz and included several details of Soliz’s offenses. It would

have been entirely reasonable for trial counsel to forego impeaching Estrada’s

testimony with minor inconsistencies with the October 28, 2010 statement, in

order to avoid encouraging the prosecutor to, in turn, bolster Estrada’s

testimony with the numerous incriminating comments in Estrada’s interview.

Pinholster, 563 U.S. at 196 (stating that a court must “affirmatively entertain

the range of possible” reasons trial counsel “may have had for proceeding as

they did”). Soliz fails to show that such a strategy would have been

unreasonable.

      Moreover, Soliz fails to show that the proffered cross-examination would

have changed the outcome of his trial. Petition at 38-39. Most importantly, the

purported inconsistencies between Estrada’s October 28, 2010 interview and

her testimony were either not inconsistent or were minimal and peripheral.

For example, Soliz asserts that Estrada’s interview and testimony were

inconsistent in that Estrada changed her account of what Soliz told her

happened prior to Soliz’s murder of Ruben Martinez. Petition at 38. But in

Estrada’s October 28, 2010 interview, she stated that Soliz told her that he,

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Ramos, and Rosie drove to the gas station. SHCR-01 at 258. Soliz told Ramos

to drive the car into an alley. SHCR-01 at 258. Soliz then left the car and “Joe

and Rosie were looking out.” SHCR-01 at 258-59. Estrada testified at trial that

Soliz told her that he and Ramos both left the car. 44 RR 192. Estrada was not

asked, and did not state during her October 28, 2010 interview, whether Soliz

told her that Ramos eventually did leave the car during the robbery and

murder of Ruben Martinez. SHCR-01 at 258-59. Moreover, Soliz’s stated in his

first written statement that Ramos exited the car. SX 2.

      Soliz also asserts that Estrada’s interview and testimony were

inconsistent in that she stated during her interview that Soliz told her that he

and Ramos went to the Texaco gas station to get cigarettes, but testified at

trial that Soliz told her that he and Ramos went to the Texaco gas station to

“get Ruben,” who Soliz called the “Budweiser man.” Petition at 38. Estrada

stated during her interview that Soliz told her that he and Ramos went to the

gas station to get cigarettes, but Soliz noticed the delivery truck parked there

and Soliz decided to rob the delivery driver. SHCR-01 at 258. The exculpating

value of Estrada’s statement during her interview that Soliz and Ramos were

initially intending to buy cigarettes is simply non-existent. Indeed, Estrada

stated later in her interview that Soliz told her that he and Ramos only

planned to rob Ms. Martinez after they saw the Budweiser man.” SHCR-01 at

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284. Moreover, Soliz stated in his first written statement that he and Ramos

went to the gas station to get cigarettes but then developed the plan to rob the

delivery truck driver. SX 2. Regardless of whether Soliz and Ramos initially

intended to only buy cigarettes, the fact is that Soliz and Ramos stopped at the

gas station with the intent to rob Ruben Martinez.

      Similarly, Soliz asserts that Estrada’s interview and testimony were

inconsistent in that she stated during her interview that Soliz told her that he

shot Ruben Martinez in the head, but testified that Soliz told her he shot Ruben

Martinez in the neck. Petition at 38. Again, the impeaching, exculpating, or

mitigating value of such an inconsistency is exceedingly minimal. Indeed, the

jury was aware that Soliz had been similarly inconsistent because he told the

police during his interview that he shot Ruben Martinez “in the neck” or the

“[h]ead area.” 11 CR 2173.

      Soliz also asserts that Estrada’s interview and testimony were

inconsistent in that she stated during her interview that Soliz did not tell her

who the shooter was in the Pearl Street shooting, but testified at trial that

Soliz told her he was the shooter. Petition at 38-39. But Estrada stated in her

interview that “everybody” knew Mark was involved in that shooting

“[b]ecause he bragged about everything he did.” SHCR-01 at 29-30. And she



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testified that Soliz, Ramos, and Ponza were involved in the shooting. 44 RR

194.

       Further, some of Estrada’s testimony was less harmful to Soliz than her

October 28, 2010 interview. For instance, she stated during the interview that

Ramos did not want to participate in the burglary of Ms. Weatherly’s home but

Soliz made Ramos participate. SHCR-01 at 260. Estrada also stated during her

interview that Soliz “busted in” Ms. Weatherly’s door, but testified at trial that

Soliz knocked on the door. SHCR-01 at 260; 44 RR 195. Estrada also talked at

length during her interview regarding her fear that Soliz would kill her and

Ramos because Soliz feared they would “snitch.” SHCR-01 at 263-67, 288.

       More importantly, none of the alleged inconsistencies casts any doubt as

to the veracity of Estrada’s testimony regarding Soliz’s involvement in either

murder or any of the numerous other offenses. Estrada provided details in her

interview with the assistant district attorney that she could have only learned

from Soliz. 23 The minor inconsistencies would not have caused the jury to doubt

that Soliz was involved in the offenses or doubt that Soliz was the shooter in



23     For example, Estrada stated during her interview that Soliz told her that he
and Ramos stole a jewelry box from Ms. Weatherly and that Ms. Weatherly was shot
in the head. SHCR-01 at 260. Further, Estrada stated during her interview that Soliz
told her that he shot Mr. Martinez because he only had ten dollars in his wallet.
SHCR-01 at 259. Estrada also knew that Ms. Weatherly’s stolen property had been
pawned. SHCR-01 at 279.
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the murders of Mr. Martinez or Ms. Weatherly. That is especially true where

the physical evidence and Soliz’s statements to the police corroborated

Estrada’s testimony regarding Soliz’s criminal activity, including his shooting

of Mr. Martinez and Ms. Weatherly. As a result, trial counsel could not have

been deficient for not impeaching Estrada’s testimony with her statements

during her October 28, 2010 interview where the impeaching value of those

statements was minimal and where doing so likely would have caused the

prosecutor to further bolster Estrada’s testimony with her prior consistent

statements from that interview. For the same reasons, Soliz cannot show that

he was prejudiced by trial counsels’ failure to elicit minimal inconsistencies

between Estrada’s testimony and earlier interview.

      The state habeas court rejected this claim. SHCR-01 at 731, 750-51. For

the reasons discussed above, Soliz has failed to show that the state court’s

rejection of the claim was unreasonable. Therefore, the claim should be denied.

Richter, 562 U.S. at 99-102.

      D.    Trial counsel were not ineffective for failing to object to
            Detective Paine’s testimony on the ground that the
            testimony violated Soliz’s right to confrontation.

      Soliz next claims that trial counsel were ineffective for failing to object

on confrontation grounds to Detective Paine’s testimony regarding statements

Ramos made to him that led to the police’s discovery of Ms. Weatherly’s stolen

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truck and, later, her body. Petition at 42-49. Specifically, Soliz claims that

Detective Paine provided inadmissible hearsay testimony when he testified

that Ramos responded to questions regarding the Jorge Contreras truck

robbery by referring to a female victim and by saying that the robbery “didn’t

have to end that way.” Petition at 43-46. The claim is without merit.

            1.    Factual background

      Detective Paine testified regarding the investigation into Soliz’s offenses

and how the police came to learn of Ms. Weatherly’s murder. 40 RR 165-97; 41

RR 7-33. As a part of Detective Paine’s investigation, he interviewed Ramos

and Soliz following their arrests. 41 RR 25-29. Ramos was interviewed first. 5

RR 82. Detective Paine testified that, prior to interviewing Ramos and Soliz,

the police were unaware of Ms. Weatherly’s murder. 41 RR 26.

      Detective Paine testified that he reviewed offense reports of recent

robberies with Ramos in order to determine whether Ramos was involved in

the offenses. 41 RR 26. Detective Paine asked Ramos if he was involved in the

Jorge Contreras truck robbery, and Ramos answered that he was and that the

robbery “didn’t have to end that way.” 41 RR 27. Detective Paine reviewed that

offense report and noted that no one had been injured during that robbery. 41

RR 27-28. Ramos’s answers confused Detective Paine due to the discrepancy

between the Jorge Contreras offense report and Ramos’s answers. 41 RR 28.

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Detective Paine asked Ramos to explain what happened, and Ramos referred

to a female. 41 RR 29. Detective Paine again noted a discrepancy, because no

female victim was involved in the Jorge Contreras truck robbery. 41 RR 29. He

then asked Ramos where the stolen truck was located, and officers were later

able to locate the truck based on Ramos’s answer. 41 RR 29. After locating the

truck, officers then determined that the truck belonged to Ms. Weatherly. 41

RR 32. Officers were then sent to Ms. Weatherly’s home, where her body was

found. 41 RR 32-36.

            2.    The Confrontation Clause

      The Sixth Amendment guarantees a criminal defendant the right “to be

confronted with the witnesses against him.” U.S. Const. amend. VI. “The

Confrontation Clause generally bars witnesses from reporting the out-of-court

testimonial statements of nontestifying declarants.” Taylor v. Cain, 545 F.3d

327, 335 (5th Cir. 2008) (citing Crawford v. Washington, 541 U.S. 36, 54-56

(2004)). Statements taken during police officers in the court of interrogations

are testimonial. Davis v. Washington, 547 U.S. 813, 822 (2006). Further,

statements made in the course of a police interrogation are testimonial where

the “primary purpose of the interrogation is to establish or prove past events

potentially relevant to later criminal prosecution.” Id. But the Confrontation

Clause does not bar witnesses from reporting nontestimonial statements of

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nontestifying declarants. United States v. Holmes, 406 F.3d 337, 348 (5th Cir.

2005).

      Moreover, the Supreme Court has held that the Confrontation Clause

does not bar testimonial statements that are used for purposes other than to

establish the truth of the matter asserted. Michigan v. Bryant, 562 U.S. 344,

367 (2011); Crawford, 541 U.S. at 59 n.9 (“The [Confrontation] Clause . . . does

not bar the use of testimonial statements for purposes other than establishing

the truth of the matter asserted.”); Tennessee v. Street, 471 U.S. 409, 414

(1985); see United States v. Acosta, 475 F.3d 677, 683 (5th Cir. 2007). Thus, no

confrontation violation occurs where, for example, a police officer testifies as to

a hearsay statement, not for the purpose of establishing the truth of the matter

asserted, but for the purpose of showing what actions the police officer took

after hearing the statement. Street, 471 U.S. at 414; United States v. Evans,

950 F.2d 187, 190-91 (5th Cir. 1991); United States v. Martin, 897 F.2d 1368,

1371 (6th Cir. 1990) (“The context of [Special Agent] Bell’s testimony supports

the determination that the assertion of the other person was offered for the

limited purpose of explaining how and why the investigation began.”); United

States v. Durham, 176 F.3d 478 (5th Cir. 1999) (unpublished) (holding that

admission of statements of confidential informant did not violate the

Confrontation Clause because the statements were “offered to show only why

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law enforcement officials took certain actions”). Indeed, the Fifth Circuit has

“consistently held” that out of court statements providing background

information to explain the actions of investigators are not hearsay as they are

not offered for the truth of the matter asserted. 24 United States v. Smith, 822

F.3d 755, 761 (5th Cir. 2016); see United States v. Carrillo, 20 F.3d 617, 620

(5th Cir. 1994).

      Further, while “[p]olice officers cannot, through their trial testimony,

refer to the substance of statements given to them by nontestifying witnesses

in the course of their investigation, when those statements inculpate the

defendant,” the Confrontation Clause is only implicated where the statement

is offered for the truth of the matter asserted. Taylor, 545 F.3d at 335.

Additionally, the Supreme Court has held that no Confrontation Clause

violation occurs through the introduction of a non-testifying co-defendant’s

confession where the confession does not, on its face, implicate the defendant

and where the co-defendant’s confession incriminates the defendant only when

linked with other evidence introduced at trial. Richardson v. Marsh, 481 U.S.

200, 208 (1987); Smith, 822 F.3d at 761.



24     Texas law has also long recognized that statements are not hearsay if they are
not admitted to explain how a defendant became a suspect or how the investigation
focused on the defendant. Dinkins v. State, 894 S.W.2d 330, 347 (Tex. Crim. App.
1995).
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            3.    Detective Paine’s testimony was not objectionable
                  because it did not violate the Confrontation Clause.

      Trial counsel were not ineffective because Detective Paine’s testimony

was not objectionable. First, Detective Paine’s testimony did not violate the

Confrontation Clause because Ramos’s statements to Detective Paine were not

offered for the truth of the matter asserted. Ramos’s complained-of statements

as relayed by Detective Paine were his reference to a female and his statement

that the Jorge Contreras truck robbery “didn’t have to end that way.” Petition

at 43-45. It goes without saying that Ramos’s mere reference to a female could

not have been offered for the truth of the matter asserted. Further, Ramos’s

statement “it didn’t have to end that way” could not have been offered for its

truth because Ramos’s statement was incorrect. Critically, Detective Paine had

asked Ramos about the Jorge Contreras truck robbery, which did not involve

a shooting or murder. Ramos’s response that “it didn’t have to end that way,”

then, necessarily could not have been offered to prove the truth of the matter

asserted because Ramos was mistaken as to the offense Detective Paine had

referred. See United States v. Holmes, 406 F.3d 337, 349 (5th Cir. 2005)

(holding that no confrontation violation occurred where out-of-court

testimonial statement was offered to establish its falsity rather than its




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truthfulness). Consequently, Detective Paine’s testimony was not objectionable

because it did not violate the Confrontation Clause.

      Further, the purpose of the introduction of Ramos’s statements was to

show how the police came to learn for the first time of the capital murder, not

to prove the truth of the matters asserted. Again, no confrontation violation

occurs where a statement is offered the purpose of showing what actions the

police officer took after hearing the statement. Street, 471 U.S. at 414; Smith,

822 F.3d at 761; Carrillo, 20 F.3d 617, 620; Evans, 950 F.2d at 190-91; Martin,

897 F.2d at 1371; Durham, 176 F.3d at 478. Consequently, Detective Paine’s

testimony was not objectionable because it did not implicate the Confrontation

Clause.

      Additionally, Ramos’s statements as relayed by Detective Paine did not

inculpate Soliz. The statements did not on their face identify Soliz as the

shooter in Ms. Weatherly’s murder, let alone identify Soliz as being involved

at all in that offense. Ramos’s statements, taken alone, did not implicate Soliz

in any way. The only implication of Soliz through the statements required

linkage to other evidence introduced at the trial. As a result, no Confrontation

Clause error occurred. Marsh, 481 U.S. at 208; Smith, 822 F.3d at 761.

Further, Ramos’s statement “it didn’t have to end that way” could be taken to

mean that he had committed a robbery by himself that had gone wrong.

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Consequently, Detective Paine’s testimony was not objectionable because it did

not implicate the Confrontation Clause.

      For these reasons, trial counsel were not deficient for failing to make a

futile objection to Detective Paine’s testimony. Therefore, Soliz’s claim fails.

      Lastly, Soliz fails to show that he was prejudiced by trial counsels’ failure

to object to Detective Paine’s testimony on confrontation grounds. As noted

above, Ramos’s statements as relayed by Detective Paine did not implicate

Soliz in Ms. Weatherly’s murder. Ramos’s statements could only implicate

Soliz in conjunction with other evidence showing Soliz’s guilt. And as discussed

above, the evidence of Soliz’s guilt was overwhelming. Consequently, he cannot

show that he was prejudiced by trial counsels’ failure to object to Detective

Paine’s testimony.

      The state habeas court rejected this claim, finding that an objection to

Detective Paine’s testimony on confrontation grounds would have been futile.

SHCR-01 at 732, 742-43. For the reasons discussed above, Soliz fails to show

that the state court’s rejection of this claim was unreasonable. Therefore,

Soliz’s claim should be denied. Richter, 562 U.S. at 99-102.




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      E.    Trial counsel were not ineffective for failing to object
            during the guilt/innocence phase of trial to testimony that
            Soliz belonged to a gang.

      Soliz claims that trial counsel were ineffective for failing to object during

Detective Jesus Alaniz’s testimony that Soliz was a member of a gang. Petition

at 53-59. For the reasons discussed below, the claim should be denied.

            1.    Factual background

      Detective Alaniz testified that at the time of Ms. Weatherly’s murder, he

worked in the Fort Worth Police Department’s Gang Enforcement Unit and

was assigned to the north-side of Fort Worth. 39 RR 40-41. In the time shortly

before Soliz’s arrest, Detective Alaniz became involved in the investigation into

several robberies that had occurred in north Fort Worth. 39 RR 52. He was

informed that the individual committing the robberies may have had “gang

ties” and may be known by the nickname Kilo. 39 RR 53. Detective Alaniz

searched the Gang Intelligence files and found two matches for the nickname

Kilo: Soliz and Ramos. 39 RR 54-55. He learned that Soliz was affiliated with

the gangs Varrio North Side and Texas Syndicate. 39 RR 63. Detective Alaniz

later assisted in the search for Soliz and the Dodge Stratus he stole from

Sammy Abu-Lughod. 39 RR 59-60. Detective Alaniz learned that the car had

been seen but soon lost near the location of a house belonging to a known gang

member, Arturo Gonzalez. 39 RR 61-63. Detective Alaniz waited near that

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house and soon saw the Stratus and another car driving from the location. 39

RR 65-66. He and other officers effectuated a traffic stop soon thereafter during

which Ramos was arrested. 39 RR 68-71.

            2. Trial counsel were not ineffective for failing to object to
               Detective Alaniz’s testimony.

      Soliz’s claim that trial counsel were ineffective for failing to object to

Detective Alaniz’s testimony that Soliz belonged to a gang fails for several

reasons. First, Soliz’s claim fails because the state court’s conclusion that trial

counsel were not deficient was based on its binding interpretation of state law.

Specifically, the state court held that the testimony that Soliz belonged to a

gang was admissible under Texas Rules of Evidence 401 and 404. SHCR-01 at

754-55. The state court’s determination of state law in this regard is dispositive

of Soliz’s claim of ineffective assistance. Charles v. Thaler, 629 F.3d 494, 500-

01 (5th Cir. 2011) (rejecting claim that trial counsel were ineffective for failing

to object to testimony because state court held that the testimony was

admissible under state law and “a federal habeas court may not conclude

otherwise”). Consequently, Soliz’s IATC claim necessarily fails.

      Second, to the extent Soliz’s claim in this Court is premised on the

argument that trial counsel were ineffective for failing to object to the evidence

of Soliz’s gang membership on the basis that it was inadmissible under federal


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law, such an argument is unexhausted because it was not raised in Soliz’s state

habeas application. 25 SHCR-01 at 65-70; Baldwin v. Reeese, 541 U.S. 27, 29-32

(2004) (rejecting the argument that a petitioner “fairly presents” to the state

court a federal claim despite failing to give any indication in his appellate brief

of the federal nature of the claim through reference to any source of law). Soliz

only argued in his state habeas application that the evidence of his gang

membership was inadmissible, and therefore objectionable, under state law.

SHCR-01 at 67-69. Consequently, this claim is unexhausted to the extent it is

based on the argument that trial counsel were ineffective for failing to object

to Detective Alaniz’s testimony as being inadmissible under federal law.

      Nonetheless, Soliz’s claim is without merit. Soliz complains that trial

counsel were ineffective for failing to object to Detective Alaniz’s testimony

that Soliz was a member of a gang on the basis that the testimony was

inadmissible because it was irrelevant and only offered to prove Soliz’s bad

character. Petition at 56-58 (citing Tex. R. Evid. 402, 404). On the contrary,

the testimony was admissible and trial counsel exercised reasonable trial

strategy in deciding not to object to it.




25    For example, Soliz did not (and does not in this Court) argue that evidence of
his gang membership violated his First Amendment rights.
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       “Under Texas law, to prove the relevance of a defendant’s membership

in an organization or group, the State must show (1) proof of the group’s violent

and illegal activities and (2) the defendant’s membership in the organization.”

Tamez v. Director, 550 F. Supp.2d 639, 655 (E.D. Tex. 2008) (citing Mason v.

State, 905 S.W.2d 570, 577 (Tex. Crim. App. 1995)). Detective Alaniz testified

that the Gang Enforcement Unit routinely patrolled the north side of Forth

Worth at night from 6:00 p.m. to 4:00 a.m. because “that was the time when

most of [the] violent crimes or most of [the] gang-related crimes were more

likely to occur.” 39 RR 48. The gang activity in the north side of Fort Worth

involved gang-on-gang robberies, drive-by shootings, and retaliations. 39 RR

49. Thus, Detecive Alaniz’s testimony showed the gangs’ violent and illegal

activities. Tamez, 550 F.Supp.2d at 655. Further, Detective Alaniz testified

that Soliz belonged to the Varrio North Side and Texas Syndicate gangs. 39 RR

63. Therefore, Detective Alaniz’s testimony established Soliz’s gang

membership. Consequently, Detective Alaniz’s testimony was admissible.

Tamez, 550 F.Supp. 2d at 655. Additionally, Detective Alaniz’s testimony was

offered to show how Soliz was identified and became a suspect in Ms.

Weatherly’s murder. Therefore, Detective Alaniz’s testimony was not

objectionable. SHCR-01 at 754. Trial counsel cannot have been ineffective for

failing to make a futile objection.

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      Moreover, it is clear that trial counsel chose to not object to Detective

Alaniz’s testimony as a part of their strategy to present as compelling a case

in mitigation as possible. SHCR-01 at 556-57. As Mr. Heiskell averred in his

affidavit to the state habeas court, trial counsel were aware that the evidence

against Soliz was overwhelming. 26 SHCR-01 at 556. Knowing that, trial

counsel pursued a strategy of demonstrating to the jury that Soliz suffered

from FASD and a chaotic upbringing and detailing to the jury the effects on

Soliz. SHCR-01 at 556; 12 CR 2213. Trial counsel sought to explain that Soliz

was exceptionally vulnerable to the influences of gang life at a young age due

to his family members’ drug use and neglect. This strategy ran through both

phases of trial. 38 RR 38-43 (trial counsels’ opening statement at

guilt/innocence regarding Soliz’s PFAS, his chaotic upbringing, and his drug

use and asserting that those factors caused Soliz to engage in criminal

activity), 231-36 (trial counsel’s cross-examination of Sammy Abu-Lughod

emphasizing that Soliz’s robbery of Abu-Lughod took place in daylight with


26      Although trial counsel’s affidavit does not explicitly reference their decision to
not object to the admission of evidence that Soliz was a member of a gang, the record
reflects their strategy to use that evidence to bolster their mitigation case. See
Richter, 562 U.S. at 109 (“Although courts may not indulge post hoc rationalization
for counsel’s decisionmaking that contradicts the available evidence of counsel’s
actions, neither may they insist counsel confirm every aspect of the strategic basis for
his or her actions. There is a strong presumption that counsel’s attention to certain
issues to the exclusion of others reflects trial tactics rather than sheer neglect.”)
(citation and quotation marks omitted).
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witnesses nearby and that Soliz made a “crazy” comment as he drove away in

Abu-Lughod’s car); 39 RR 11-13 (trial counsel’s cross-examination of Officer

Jerry Cedillo asking whether the abuse of drugs can lead an individual to

become delusional or commit crimes); 39 RR 85-95, 110-13, 119-20 (trial

counsel’s cross-examination of Detective Alaniz regarding the risk factors that

lead a young person to join a gang); 41 RR 89-90 (Detective Paine’s testimony

on cross-examination that Ramos invoked his right to counsel and refused to

sign a statement and that Ramos said that Soliz was “not all there mentally”),

100 (Detective Paine’s testimony that criminals take advantage of others to act

on their behalf); 42 RR 32-38 (Detective Paine’s testimony on cross-

examination that Ramos gave the gun used in the shootings to Soliz and that

Ramos was an active participant in the offenses); 45 RR 215 (trial counsel

stating during cross-examination of Detective John Lewallen that Soliz’s

breaking glass with his hand while breaking into a house was “not the

brightest thing to do”); 47 RR 56-62 (trial counsel’s closing argument that

Ramos was more intelligent than Soliz and that the police talked Soliz into

confessing).

      A review of trial counsels’ cross-examination of Detective Alaniz also

bears out this strategy. For example, trial counsel elicited testimony that gangs

prey on young people and typically exploit youths who do not have a father and

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individuals with mental health problems. 39 RR 89-90, 119-29. Further, a

young person with siblings in gangs or are neglected by their parents are at

risk of joining a gang because they seek confirmation from others and gang

membership provides them confirmation. 39 RR 90. Young people who are

bullied are also at risk for joining a gang because a gang might provide them

protection. 39 RR 110-13. Trial counsel also elicited testimony from Detective

Alaniz that the Forth Worth Police Department has a program aimed at

intervening in at-risk youths to prevent them from joining a gang. 39 RR 92.

      Trial counsel used the fact that Soliz belonged to a gang to bolster its

case in mitigation by arguing that Soliz’s upbringing and PFAS led him to join

a gang and that he was essentially helpless from the influence of gang culture.

Such a strategy was entirely consistent with trial counsels’ effort to focus on a

compelling and overwhelming showing of mitigation during the punishment

phase of trial by showing the effects of Soliz’s upbringing and FASD. In light

of the overwhelming evidence of Soliz’s guilt, Soliz fails to rebut the

presumption that trial counsels’ strategy was reasonable.

      Further, Soliz fails to show he was prejudiced by trial counsels’ failure

to object to the testimony that Soliz was a member of a gang. As discussed

above, the evidence of Soliz’s guilt was overwhelming. Consequently, this claim

should be denied. Henderson v. Cockrell, 333 F.3d 592, 602-03 (5th Cir. 2003)

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(rejecting claim that trial counsel were ineffective for failing to object to gang-

membership testimony because petitioner failed to establish prejudice in light

of overwhelming evidence of guilt).

      The state habeas court rejected this claim, concluding that trial counsel

were not deficient and that Soliz was not prejudiced by the alleged deficiency.

For the reasons discussed above, Soliz fails to show that the state court’s denial

of this claim was unreasonable. Consequently, the claim should be denied.

Richter, 562 U.S. at 99-102.

      F.    Trial counsel were not ineffective for failing to object to the
            admission during the guilt/innocence phase of trial of
            extraneous offense evidence.

      Soliz next claims that trial counsel were ineffective for failing to object

to the introduction during the guilt/innocence phase of trial of extraneous

offense evidence. Petition at 59-71. The claim is without merit.

            1.     Factual background

      Prior to trial, the State indicated it intended to introduce evidence

regarding three extraneous offenses Soliz had committed during his crime

spree leading to his murder of Ms. Weatherly: (1) the Circelli’s home burglary

during which Soliz stole the gun he used to kill Ms. Weatherly, (2) the Sammy

Abu-Lughod armed robbery during which he stole the car the police later

sought and identified as the car Soliz had been driving during several offenses,

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and (3) Soliz’s evading arrest in the stolen car. 38 RR 12-13. Trial counsel

stated they had no objection to the introduction of those offenses. 38 RR 13.

Trial counsel also stated they were not making a motion in limine regarding

Soliz’s other extraneous offenses. 38 RR 14. During opening argument, trial

counsel told the jury that Soliz “went on a crime spree.” 38 RR 42.

      The evidence introduced during the guilt/innocence phase of trial

regarding Soliz’s extraneous offenses was introduced as follows: the State

presented the testimony of Chelsea and Vincent Circelli, who testified that

several guns were stolen from their house during a burglary. 38 RR 55, 95-96.

Several witnesses testified regarding Soliz’s robbery of Sammy Abu-Lughod

and the police investigation into that offense. 38 RR 182-87, 192-95, 210-36,

243-50. Officer Jerry Cedillo testified that he was dispatched to investigate the

Ruben Martinez and Enrique Samaniego shootings and was later dispatched

to search for Sammy Abu-Lughod’s stolen Stratus. 38 RR 254-75. Later, Officer

Cedillo assisted in the search for Ms. Weatherly’s stolen truck and was

dispatched to Ms. Weatherly’s home where he found her body. 38 RR 269-75.

On cross-examination, trial counsel asked Officer Cedillo questions regarding

the Justin Morris, Luis Luna, Enrique Samaniego, and Kenny Dodgin

shootings, the Ruben Martinez murder, the Sammy Abu-Lughod and Jorge

Contreras robberies, a drive-by shooting, and a robbery that occurred outside

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of a bar. 39 RR 15-24. Officer Robert Presney testified regarding his assistance

in the investigations of the Jorge Contreras robbery, a drive-by shooting, and

the Kenny Dodgin shooting. 39 RR 248-61; 40 RR 9-40.

      Detective Danny Paine then testified as to his involvement in the

investigation of several robberies and shootings that were connected to Soliz.

40 RR 165-71, 81-97. Detective Paine testified that the investigation

eventually showed that eleven offenses had been “linked together.” 40 RR 197;

41 RR 7-8. The State introduced a timeline of events that listed offenses that

Soliz committed. SX 184. Trial counsel did not object. 41 RR 46.

      Jennifer Nollkamper, a forensic scientist, testified that the gun

recovered from the stolen Stratus Soliz was driving prior to his arrest was the

same gun used in the Kenny Dodgin and Enrique Samaniego shootings and

the drive-by shooting. 42 RR 121. Lannie Emanuel, a firearm examiner

testified that the same gun was used in both the Enrique Samaniego shooting

and the murder of Ms. Weatherly. 45 RR 138, 150. Elizabeth Estrada testified

that Soliz admitted to her that he killed Ruben Martinez. 44 RR 190. Officer

David Wallace and Detective John Lewallen testified that they investigated a

burglary of an unoccupied home and that Soliz’s blood was recovered from that

crime scene. 45 RR 168, 206.



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       During closing argument, trial counsel admitted that Soliz was present

during the offenses and was not innocent. 47 RR 60. Rather, trial counsel

argued to the jury that it should find Soliz guilty of only murder and not capital

murder because the State relied heavily on the testimony of Ramon Morales

and Elizabeth Estrada, both of whom were unreliable witnesses. 47 RR 60-61.

Further, trial counsel argued that the jury should find Soliz guilty of only

murder because the evidence showed that Ramos was the more “cunning” and

conniving” of the two. 47 RR 62.

       During the state habeas proceedings, Mr. Heiskell provided an affidavit

explaining trial counsels’ decision to not object to the admission of Soliz’s

extraneous offenses. SHCR-01 at 556-57. As noted above, trial counsel

recognized that the evidence of Soliz’s guilt was overwhelming. SHCR-01 at

556. As a result, trial counsel focused on presenting a compelling case in

mitigation. SHCR-01 556. Further, trial counsel “did not object to the

extraneous offenses coming in during the guilt/not guilty phase as [they]

wanted to set the stage for [their] mitigating evidence and, therefore, not dilute

[their] mitigation presentation during the punishment phase.” SHCR-01 at

557.




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            2.       Trial counsel were not ineffective for failing to object
                     to the extraneous-offense evidence.

      Soliz’s claim that trial counsel were ineffective for failing to object to the

indtroduction of extraneous offense evidence fails for several reasons. First,

Soliz’s claim fails because the state court’s conclusion that trial counsel were

not deficient was based on its binding interpretation of state law. Specifically,

the state court held that the testimony that Soliz belonged to a gang was

admissible under Texas Rule of Evidence 404. SHCR-01 at 755-56. The state

court’s determination of state law in this regard is dispositive of Soliz’s claim

of ineffective assistance. Charles, 629 F.3d at 500-01 (rejecting claim that trial

counsel were ineffective for failing to object to testimony because state court

held that the testimony was admissible under state law and “a federal habeas

court may not conclude otherwise”). Consequently, Soliz’s IATC claim

necessarily fails.

      Further, Soliz has failed to show that the state court unreasonably

rejected this claim. As noted above, trial counsel made a deliberate decision

not to object to the admission during the guilt/innocence phase of trial of the

extraneous-offense evidence. SHCR-01 at 756-57. As the Supreme Court has

stated, “[a]ttorneys representing capital defendants face daunting challenges

in developing trial strategies, not the least because the defendant’s guilt is


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often clear.” Florida v. Nixon, 543 U.S. 175, 191 (2004). In such cases, “the

gravity of the potential sentence . . . and the proceeding’s two-phase structure

vitally affect counsel’s strategic calculus” such that “avoiding execution [may

be] the best and only realistic result possible.” 27 Id. at 190-91 (citation omitted).

Further, a “conscious and informed decision on trial tactics and strategy cannot

be the basis for constitutionally ineffective assistance of counsel unless it is so

ill chosen that it permeates the entire trial with obvious unfairness.”

Woodward v. Epps, 580 F.3d 318, 329 (5th Cir. 2009) (citation omitted);

Ransom v. Johnson, 126 F.3d 716, 721 (5th Cir. 1997).

      In light of this, counsel is not ineffective for permitting the admission of

evidence of the defendant’s extraneous offenses in order to “defuse the impact

of that evidence when it would have otherwise been admitted during the

punishment phase of trial.” Brown v. Dretke, 2004 WL 2793266, at *35 (W.D.

Tex. 2004) (unpublished). Counsel may even be effective while conceding the

defendant’s guilt during the guilt/innocence phase of trial. See Woodward, 580

F.3d at 328; Stenson v. Lambert, 504 F.3d 873, 891 (9th Cir. 2007) (“When the

evidence against a defendant in a capital case is overwhelming and counsel


27     The Supreme Court in Nixon noted that “defense counsel must strive at the
guilt phase to avoid a counterproductive course.” 543 U.S. at 192. An example of such
a “counterproductive course” would be logically inconsistent presentations arguing
during the guilt/innocence phase that the defendant “didn’t do it” but then arguing in
mitigation that the defendant was “sorry he did it.” Id. 191-92.
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concedes guilt in an effort to avoid the death penalty, ‘counsel cannot be

deemed ineffective for attempting to impress the jury with his candor.’”)

(citation omitted).

      As discussed above, trial counsels’ overarching strategy was to

demonstrate to the jury that Soliz suffered from FASD and a chaotic

upbringing and to detail to the jury the effects on Soliz. SHCR-01 at 556; 12

CR 2213. Trial counsel sought to show the jury that his FASD and his

upbringing led directly to his criminal behavior and sought to utilize the extent

of his criminal behavior as a means of demonstrating how horrendous his

upbringing was. Moreover, trial counsel sought to prevent the State from

“diluting” its mitigation presentation by front-loading the extraneous-offense

evidence during the guilt/innocence phase of trial. SHCR-01 at 557. Indeed,

trial counsels’ strategy proved effective in that the State presented only six

witnesses during the punishment phase to testify regarding Soliz’s extraneous

offenses that were committed prior to Ms. Weatherly’s murder. 48 RR 156-59

(Officer Presney’s testimony regarding Soliz’s shooting of Luis Luna); 49 RR 5-

12 (Kenny Dodgin’s testimony regarding Soliz’s attempted robbery of him in a

parking lot), 19-28, 67 (Officer Kenneth Robinson’s testimony regarding Ruben

Martinez and Enrique Samaniego’s conditions following their shootings), 73-

88 (Arnold Dominquez’s testimony regarding Soliz’s shooting of Ruben

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Martinez); 50 RR 9-26 (testimony of trauma director at JPS hospital regarding

Ruben Martinez’s injuries and death); 56 RR 30-37 (Lisa Martinez’s testimony

regarding her husband, Ruben’s, murder), 42-49. Approximately twenty

witnesses testified during the guilt/innocence phase regarding Soliz’s

extraneous offenses. The State’s punishment-phase witnesses also provided

comparatively limited testimony regarding the extraneous offenses when

compared to the testimony at the guilt/innocence phase of trial.

      Trial counsels’ strategy was a plainly reasonable attempt to desensitize

the jury to Soliz’s extraneous offenses of which they would undoubtedly be

informed in the punishment phase. The jury’s learning of those extraneous

offenses in the guilt/innocence phase, as discussed above, provided trial

counsel with a less “diluted” mitigation presentation that gave Soliz a greater

chance of receiving a more favorable verdict during the punishment phase.

That the jury’s verdict was not more favorable does not demonstrate that trial

counsel were deficient. Strickland, 466 U.S. at 689 (stating that “[a] fair

assessment of attorney performance requires that every effort be made to

eliminate the distorting effects of hindsight”). Even if trial counsels’ strategy

would likely not result in a more favorable guilt/innocence verdict, the strategy

was a plainly reasonable one in attempting to secure a life sentence. Trial



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counsels’ strategy was plainly reasonable. See Brown, 2004 WL 2793266, at

*35. Soliz’s claim should, therefore, be denied.

      Further, Soliz fails to show that he was prejudiced by trial counsels’

decision to not object to the admission of the extraneous offense evidence. As

discussed above, the evidence of Soliz’s guilt was overwhelming. Even without

the extraneous-offense evidence, the jury knew Soliz had confessed to killing

Ms. Weatherly and had admitted the same to Elizabeth Estrada. Soliz’s

fingerprint was found inside Ms. Weatherly’s home. Additionally, the gun that

was used to kill Ms. Weatherly was found in the stolen car that Soliz was

driving prior to his arrest and gunshot residue was found on Soliz’s body and

clothing. Consequently, Soliz’s claim fails.

      The state habeas court rejected this claim, concluding that trial counsel

were not deficient and that Soliz was not prejudiced by the alleged deficiency.

SHCR-01 at 755-56. For the reasons discussed above, Soliz fails to show that

the state court’s denial of this claim was unreasonable. Consequently, the

claim should be denied. Richter, 562 U.S. at 99-102.

      G.    Trial counsel were not ineffective for failing to object to the
            State’s closing arguments during the guilt/innocence and
            punishment phases of trial.

      Soliz next argues that trial counsel were ineffective for failing to object

to the State’s closing arguments during the guilt/innocence and punishment

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phases of trial on the grounds that the arguments called for the jury to meet

the community’s expectation by finding Soliz guilty of capital murder and by

sentencing Soliz to death and that the arguments inflamed the jury’s passion

and prejudice. Petition at 71-81. The claim is without merit.

             1.    Factual background

       Soliz identifies several statements by the prosecutor during closing

argument at the guilt/innocence and punishment phases of trial that he claims

were    objectionable.   For   instance,   during   closing   argument    at   the

guilt/innocence phase of trial, the State argued

       [t]his is a problem for Tarrant County. This is a problem for
       Johnson County; a problem for everyone to have something horrific
       like this happen in both counties. It’s a problem.

       But I’ll tell you something else. As soon as you’re put on that Jury,
       it becomes your problem as well. It does. Because something has
       got to be done. Something has got to be done about this. Sit back,
       wonder what’s going to happen; let somebody else take care of this.
       It’s before us right now. And that’s where we are.

       And so what I’m going to ask you to do is do what the law and the
       evidence demand. And that is to solve this problem once and for
       all. No more. No more robbing people, no more killing people, no
       more stealing from people, no more burglarizing from people. No
       more. It stops today.

       The only one that hasn’t had a problem this whole time is Mark
       Soliz. It’s about time this became his problem, not just all of ours.
       And if you follow the evidence that you’ve seen and everything
       before you, the only answer in this case, based on the evidence,
       right here, very top line. And you will get this. We, the Jury, find

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      the Defendant, Mark Anthony Soliz, guilty of the offense of capital
      murder, as alleged in the Indictment.

                                       ...

      It’s become a problem; this thing is a horrible nightmare for the
      family and a problem for the entire county and Tarrant County
      both. And in just a few minutes, I’m going to sit down. Because
      you’re on this Jury, it’s your problem too. And the question is going
      to be, what are you going to do about this problem.

      Evidence in this case, the most powerful you will ever see, all
      points to him, him, being guilty of exactly what he did, shooting
      Nancy Weatherly in the back of the head to shut her up, to take
      her stuff. And it wasn’t because she put up a fight. Nothing under
      her fingernails. She didn’t fight anybody. She didn’t try to keep her
      stuff. She put her head down hoping that they would leave, and
      praying and begged they would not kill her or her animals. And
      what she got instead was “that” laughing at her and shooting her
      in the back of the head in the most cowardly act you will ever see
      in your life. That’s what she got.

47 RR 69-70, 74. Further, the prosecutor stated that Ms. Weatherly was

experiencing “[t]he perfect time in her life, and ‘that’ killed her for her TV.

That’s what happened in this case. That’s what happened.” 47 RR 72.

      The State also argued during the guilt/innocence phase,

      Arturo Gonzales had nothing to do with this. Yes, his DNA was on
      a straw in Nancy’s cup. Yes, that’s probably his DNA on a beer
      bottle in the back of the bed of her truck. Yes, his fingerprint is on
      a CD in her car. What does that mean? He was in her car. And
      what did [Elizabeth Estrada] tell you? Stolen cars, and I imagine
      sadly like girls, get passed around like party favors. And it’s tragic
      that people’s things, stolen though they may be, are currency when
      you want drugs.


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47 RR 33.

      During the punishment phase of trial, the prosecutor stated, “[t]his

courtroom is full of police officers and citizens and friends and family members

who loved Nancy Weatherly, who loved Ruben Martinez, and they await your

justice and they await your verdict.” 57 RR 30. Later, the prosecutor stated,

      [y]ou know, there’s a big new road coming out of Fort Worth coming
      down to Cleburne. Everybody talks about it, talked about it for
      years. The world is watching this case. Question you’ve got to
      decide, why did—why did he kill Nancy? Why did he kill Ruben?
      Blood thirsty. Do you think the message might go back to the north
      side of Fort Worth, to the Tango Blast, and to the North Side
      Varrios, and the Texas Syndicate, do you think the message might
      go back coming out of this courtroom that we’re not going to
      tolerate this conduct? We are not going to tolerate it. The world is
      watching.

57 RR 90.

             2.     Trial counsel were not ineffective because the State’s
                    closing arguments were not objectionable.

      With regard to the State’s closing argument during the guilt/innocence

phase of trial, Soliz complains that the closing argument called for the jury to

meet the community’s expectations, de-humanized Soliz by referring to him as

“that,” and insinuated that Soliz was a “womanizer.” 28 Petition at 75-76. The

closing argument was not objectionable.


28     It should be noted that, to the extent Soliz’s claim is premised on the argument
that the State’s closing argument was impermissible under state law, such a claim
necessarily fails because the state court held that the argument was permissible.
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      First, Soliz argues that the prosecutor called on the jury to “lend its ear

to the community” by considering the community’s expectation of a guilty

verdict. Petition at 75 (citing Cortez v. State, 683 S.W.3d 419, 421 (Tex. Crim.

App. 1984)). But contrary to Soliz’s assertion, the prosecutor did not argue that

the community “wanted” or “expected” the jury to find Soliz guilty. Petition at

75. Rather, the prosecutor argued more than once during the complained-of

remarks that the jury should find Soliz guilty because the law and evidence

compelled that finding. 47 RR 70 (“I’m going to ask you to do is do what the

law and the evidence demand. . . . [A]nd if you follow the evidence that you’ve

seen and everything before you, the only answer in this case, based on the

evidence, right here, very top line. And you will get this. We, the Jury, find the

Defendant, Mark Anthony Soliz, guilty of the offense of capital murders, as

alleged in the Indictment.”). Consequently, Soliz’s claim is refuted by the

record.

      Further, the Fifth Circuit has held that “the prosecution may appeal to

the jury to act as the conscience of the community.” Jackson v. Johnson, 194

F.3d 641, 655 (5th Cir. 1999); see United States v. Ebron, 683 F.3d 105, 146


SHCR-01 at 756 (citing Alejandro v. State, 493 S.W.2d 230, 231 (Tex. Crim. App.
1973)). The state court’s decision in that regard cannot be overturned by a federal
court and is dispositive of Soliz’s IATC claim to the extent it is premised on the
assertion that the State’s closing argument was improper under state law. Charles,
629 F.3d at 500-01.
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(5th Cir. 2012); United States v. Ruiz, 987 F.2d 243, 248-49 (5th Cir. 1993)

(holding that closing argument was permissible where prosecutor stated “[y]ou

are the ones who stand between the citizens of this country and an injustice,”

because “[i]t is well-settled that, unless the prosecutor intended to inflame, an

appeal to the jury to act as the conscience of the community is not

impermissible.”) (internal quotation marks omitted); United States v. Brown,

887 F.2d 537, 542 (5th Cir. 1989). Here, the prosecutor’s argument was plainly

an appeal to the jury to act as the conscience of the community and to find Soliz

guilty of capital murder based on the law and evidence. Consequently, the

prosecutor’s statements were proper and not objectionable. Ruiz, 987 F.3d at

248-49 (holding that prosecutor’s closing argument was not intended to inflame

the jury where the complained-of argument was immediately preceded by the

prosecutor telling the jury to base its verdict on the law and evidence); Bell v.

Lynaugh, 828 F.2d 1085, 1095 (5th Cir. 1987) (“Read in context, . . . [t]he

prosecutor never urged the jury to ignore the evidence presented, nor did he

intimate that the jurors were responsible for carrying out the dictates of the

general public. Rather, . . . the prosecutor’s comments were directed at

imploring the jury to return a verdict based on logical consideration of evidence

and not on emotion.”).



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      Nor was the prosecutor’s reference to Soliz as “that” objectionable. 47 RR

72, 74. The Fifth Circuit has held that “[c]olorful pejoratives are not improper.

Ebron, 683 F.3d at 147 (holding that prosecutor’s reference to the defendant as

“the grim reaper” was not improper); United States v. Fields, 483 F.3d 313, 360

(5th Cir. 2007) (holding that prosecutor’s reference to the defendant as a “con”

was not improper); United States v. Malatesta, 582 F.2d 748, 759 (5th Cir.

1978) (holding that prosecutor’s reference to the defendant as a “hoodlum” was

not improper). Further, the prosecutor’s characterization of Soliz was a

reasonable deduction from the evidence, as his callous murder of Ms.

Weatherly was particularly heinous and cruel. 47 RR 70 (“She put her head

down hoping that they would leave, and praying and begged they would not

kill her or her animals. And what she got instead was “that” laughing at her

and shooting her in the back of the head in the most cowardly act you will ever

see in your life.”); see Malatesta, 582 F.2d at 759 (“Unflattering

characterizations of a defendant do not require a new trial when such

descriptions are supported by the evidence.”). The evidence showed that Soliz

murdered Ms. Weatherly after she asked him not to take her jewelry because

it had belonged to her deceased mother. In response to Ms. Weatherly’s plea,

Soliz told Ms. Weatherly to join her mother and shot her in the head.



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      Similarly, the prosecutor’s statement that, “[s]tolen cars, and I imagine

sadly like girls, get passed around like party favors” was not improper because

it was a reasonable deduction from the evidence. 47 RR 33. Prior to that

statement, the prosecutor argued that Soliz, and not Arturo Gonzalez, was the

shooter of Ms. Weatherly. 47 RR 33. The prosecutor argued that the presence

of Gonzalez’s DNA in Ms. Weatherly’s stolen truck only showed that Gonzalez

had been inside the truck, not that Gonzalez had committed the murder. 47

RR 33. Indeed, as Elizabeth Estrada testified, gang members often sell or pawn

stolen goods for drugs or money and when a car is stolen the car gets “passed

around.” 44 RR 198-200. She also testified that stolen property will often be

given to a “fence” who will then sell the stolen property. 44 RR 199-200.

Further, Estrada testified that she had a sexual relationship with Soliz, 44 RR

185, but also testified that Ramos had written her letters telling her he loved

her, which brought up “good memories” of Ramos, and that she would do

anything for Ramos. 44 RR 173, 233, 278-79.

      The prosecutor’s comment was intended to refute the suggestion that

Arturo Gonzalez was responsible for Ms. Weatherly’s murder. The comment

was not intended to disparage Soliz as a “womanizer” and did not imply that

Soliz should be found guilty of capital murder based on anything but the



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evidence. Consequently, the prosecutor’s statement was an accurate

summation of the evidence and was not objectionable.

       With regard to the State’s closing argument during the punishment

phase of trial, Soliz complains that the closing argument called for the jury to

meet the community’s and victim’s families’ expectations by sentencing him to

death. Petition at 80. As with the prosecutor’s closing argument at the

guilt/innocence phase of trial, the prosecutor’s argument during the

punishment phase only called on the jury to “act as the conscience of the

community.” Ebron, 683 F.3d at 145-46. The prosecutor did not argue to the

jury that the victims’ families, the community, or the police expected a certain

verdict. 29   Consequently,    the   prosecutor’s    closing   argument      was    not

objectionable.

       Further, the decision to not object to the complained-of statements could

very well have been based on a reasoned trial strategy to not draw the jury’s




29      Soliz cites to the CCA’s opinion in Cortez for support of his claim. Petition at
75. While the CCA in this case held that the prosecutor’s closing argument was
proper, and this Court is unable to hold that the state court improperly interpreted
its own law, it should be noted that Cortez is plainly distinguishable. In Cortez, the
CCA held that the prosecutor improperly stated, “the only punishment that you can
assess that would be any satisfaction at all to the people of [Nueces] county would be
life.” 683 S.W.2d at 421. Unlike Cortez, the prosecutor did not argue to the jury that
the community or anyone else expected Soliz to be sentenced to death or would be
unsatisfied with Soliz receiving a life sentence.
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attention to the prosecutor’s statements. 30 Charles, 629 F.3d at 501-02 (holding

that trial counsel’s decision not to object to adverse witness testimony was

reasonable when objecting would draw undue attention to harmful testimony);

Drew v. Collins, 965 F.2d 411, 423 (5th Cir. 1992) (“A decision not to object to

a closing argument is a matter of trial strategy.”); Vasquez v. Thaler, 505 F.

App’x 319, 330 (5th Cir. 2013) (unpublished) (holding that counsel’s decision

not to object to prosecutor’s mischaracterization of witness testimony during

closing argument was not unreasonable when objecting would draw undue

attention to that testimony); Hernandez v. Thaler, 398 F. App’x 81, 87 (5th Cir.

2010) (unpublished) (same). Soliz has not rebutted the presumption that trial

counsels’ decision not to object to the complained-of testimony was based upon

a reasoned trial strategy.

      For the reasons discussed above, the prosecutor’s closing argument was

proper and not objectionable. Trial counsel could not have been deficient for

failing to make a futile objection. Koch v. Puckett, 907 F.2d 524, 527 (5th Cir.

1990). Therefore, Soliz’s claim is without merit.




30    Although trial counsel’s affidavit does not explicitly reference their decision
not to object to the prosecutor’s closing argument, this Court must presume that
counsels’ decision was reasonable and not the product of “sheer neglect.” Richter, 562
U.S. at 109.
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            3.    Soliz fails to show prejudice from trial counsels’
                  failure to object to any of the complained-of closing
                  agument.

      Even assuming the complained-of closing arguments were objectionable,

Soliz has failed to show that he was prejudiced. First, Soliz’s jury was

instructed that “it is only from the witness stand that the jury is permitted to

receive evidence regarding the case, or any witness therein.” 11 CR 2084.

Consequently, Soliz cannot show that he was prejudiced by the lack of an

objection to the prosecutor’s closing argument because jurors are presumed to

follow their instructions. See Ebron, 683 F.3d at 142 (rejecting claim of

prosecutorial misconduct where, inter alia, the trial court instructed the jury

that arguments made by the lawyers are not evidence).

      Moreover, the evidence in support of the jury’s verdicts was

overwhelming. As discussed above, the evidence of Soliz’s guilt included his

confession to the police, Elizabeth Estrada’s testimony relaying Soliz’s

admission to killing Ms. Weatherly, and physical evidence showing Soliz was

in Ms. Weatherly’s home and later in possession of the gun that was used to

shoot Ms. Weatherly. Further, the evidence supporting the jury’s punishment

verdict was equally overwhelming. The State presented a considerable case

demonstrating Soliz’s long history of engaging in violent criminal conduct.

Soliz, 432 S.W.3d at 901-02 (discussing the State’s evidence showing Soliz’s

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future dangerousness). In the week preceding Soliz’s murder of Ms. Weatherly,

Soliz murdered Ruben Martinez, shot Luis Luna, fired shots at Kenny Dodgin

during an attempted robbery, committed along with Ramos a drive-by shooting

and the shooting of Enrique Samaniego, robbed numerous others at gunpoint,

and committed several burglaries. During Soliz’s attempt to evade arrest, he

told Elizabeth Estrada that he would kill a police officer or “die trying,” before

Estrada knocked the gun out of Soliz’s hand. The State also presented evidence

of Soliz’s offenses while confined in administrative segregation in jail pending

trial. Id. at 902. Soliz simply cannot show that the jury would have sentenced

him to life if only trial counsel had objected to the prosecutor’s closing

argument at punishment. See Leal v. Dretke, 5:99-CV-1301, 2004 WL 2603736,

at *26-27 (W.D. Tex. 2004) (unpublished) (holding that closing argument

urging the jury to “consider the victim’s family’s need for vengeance” did not

prejudice the petitioner in light of the overwhelming evidence of his violent

propensity). Consequently, his IATC claim fails.

      Importantly, the complained-of statements during closing argument by

the prosecutor were not pervasive and were isolated instances during a lengthy

closing   argument    that   focused   almost   exclusively   on   the   evidence

demonstrating Soliz’s guilt. As noted above, the complained-of prosecutor’s

statement during closing argument at the guilt/innocence phase of trial was

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immediately preceded and succeeded by pleas to the jury to base its verdict on

the law and evidence. 47 RR 69-70. Further, the prosecutor’s references to Soliz

as “that” were isolated. Similarly, the prosecutor’s reference to stolen property

and women being “passed around” by gang members was a reasonable

deduction from Elizabeth Estrada’s testimony and was an isolated comment.

Lastly, the complained-of argument during the punishment phase of trial was

not pervasive.

      The state habeas court rejected this claim, concluding that trial counsel

were not deficient and that Soliz was not prejudiced by the alleged deficiency.

SHCR-01 at 757. For the reasons discussed above, Soliz fails to show that the

state court’s denial of this claim was unreasonable. Consequently, the claim

should be denied. Richter, 562 U.S. at 99-102.

      H.     Trial counsel were not ineffective for failing to object
             during the punishment phase of trial to the admission of
             extraneous offense victim-impact testimony.

      Soliz argues that trial counsel were ineffective for failing to object during

the punishment phase of trial to the admission of extraneous offense victim-

impact testimony of Arnold Dominguez, Ruben Martinez’s co-worker, and Lisa

Martinez, Ruben’s wife. 31 Petition at 89-95. Soliz’s claim is without merit.


31      It should be noted that Soliz does not claim that trial counsel were ineffective
for failing to object to the testimony of either Arnold Dominguez or Lisa Martinez on
the ground that their testimony constituted inadmissible victim character testimony.
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             1.    Factual background

      During the punishment phase of trial, the State presented the testimony

of Arnold Dominguez. 49 RR 72-88. Mr. Dominguez had known Ruben since

they were both young and they both grew up in the Diamond Hill area of north

Fort Worth. 49 RR 73. Ruben and Mr. Dominguez worked together as delivery

truck drivers and often made deliveries together. 49 RR 74. Mr. Dominguez

testified that Ruben spoke to his wife on the telephone often and that family

was very important to Ruben. 49 RR 76. On the morning of Ruben’s murder at

the Texaco gas station, Mr. Dominguez was also making a delivery to the gas

station. 49 RR 81. He spoke briefly with Ruben during the delivery, and as Mr.

Dominguez walked away from Ruben, he heard a gunshot. 49 RR 81. Mr.

Dominguez testified regarding the aftermath of the shooting, including his

efforts to help Ruben. 49 RR 82-83. He testified that, as a result of Ruben’s

gunshot wound to the neck, Ruben was unable to speak or move and could only

communicate through blinking. 49 RR 83-84. The prosecutor published the

surveillance video from the gas station, which showed Soliz walking out from



Petition at 89-95; see Haley v. State, 173 S.W.3d 510, 517 (Tex. Crim. App. 2010)
(explaining that “[v]ictim-impact evidence is evidence concerning the effect the
victim’s death will have on others, particularly the victim’s family members; whereas
victim-character evidence is defined as evidence concerning the good qualities of the
victim.”). Soliz alleges only that their testimony constituted inadmissible victim
impact testimony.
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behind a dumpster where he had been hiding near where Mr. Dominguez was

walking. 49 RR 86-92. Lastly, Mr. Dominguez testified that Ruben was healthy

before he was shot by Soliz. 49 RR 92-93.

      The State presented during its rebuttal presentation the testimony of

Ruben’s wife, Lisa. 56 RR 30-37. Mrs. Martinez testified that she met Ruben

when she was sixteen-years old. 32 56 RR 30-31. They had a son together and

she was eight-months pregnant at the time Ruben was murdered. 56 RR 31-

32. She later gave birth to their second son. 56 RR 31-32. She testified

regarding the last time she had seen Ruben on the night before he was

murdered. 56 RR 32-33. She learned of Ruben’s murder the next morning and

later saw him in the hospital in the intensive care unit. 56 RR 34-35. Ruben

looked “scared” when she saw him in the hospital. 56 RR 35. He was only able

to communicate with her by blinking and raising his eyebrows. 56 RR 35. Mrs.

Martinez testified that she was “numb” and felt like a “zombie” during the time

Ruben was hospitalized prior to his death. 56 RR 35. Ruben initially refused to

accept that he would die but later came to accept it. 56 RR 35-36. Mrs. Martinez

testified that she and Ruben grew up in the Diamond Hill area of north Fort

Worth, Ruben did not have much while he grew up, Ruben worked full-time,


32     Trial counsel objected at this point to Mrs. Martinez’s testimony on the ground
that it was improper rebuttal testimony. 56 RR 31. The objection was overruled but
trial counsel was permitted a running objection. 56 RR 31.
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and Ruben’s family was the most important thing to him. 56 RR 37. Lastly, she

testified that she missed Ruben every day. 56 RR 38.

            2.     Trial counsel were not ineffective for failing to object
                   to the testimony of Arnold Dominguez or Lisa
                   Martinez on the ground that the testimony
                   constituted    extraneous    offense     victim-impact
                   testimony.

      Soliz’s IATC claim fails for several reasons. First, Soliz’s claim fails

because the state court’s conclusion that trial counsel were not deficient was

based on its binding interpretation of state law. Specifically, the state court

held that Mr. Dominguez’s and Mrs. Martinez’s testimony was admissible.

SHCR-01 at 759-60. The state court’s determination of state law in this regard

is dispositive of Soliz’s claim of ineffective assistance. Charles, 629 F.3d at 500-

01; Thompson v. Thaler, 432 F. App’x 376, 378-79 (5th Cir. 2011) (unpublished)

(holding that state habeas court’s conclusion that purported extraneous offense

victim-impact testimony was admissible was binding on the federal court, and

that the state court’s conclusion was dispositive of the petitioner’s claim that

trial counsel were ineffective for failing to object to the testimony).

Consequently, Soliz’s IATC claim necessarily fails.

      Second, to the extent Soliz’s claim in this Court is premised on the

argument that trial counsel were ineffective for failing to object to the

purported extraneous offense victim impact testimony on the basis that it was

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inadmissible under federal law, such an argument is unexhausted because it

was not raised in Soliz’s state habeas application. Petition at 93 (“Therefore,

under the Federal Constitution, victim impact evidence from Martinez’s wife

and coworker were not admissible at the punishment phase of Soliz’s trial.”);

SHCR-01 at 99 (“Therefore, under Texas law, victim impact evidence from

Martinez’s wife and coworker were not admissible at the punishment phase of

Soliz’s trial.”); see Baldwin, 541 U.S. at 29-32. Soliz only argued in his state

habeas application that the testimony was inadmissible, and therefore

objectionable, under state law. SHCR-01 at 99. Consequently, this claim is

unexhausted to the extent it is based on the argument that trial counsel were

ineffective for failing to object to Mrs. Martinez’s and Mr. Dominguez’s

testimony as being inadmissible under federal law.

      Nonetheless, trial counsel were not ineffective for failing to object to the

complained-of testimony. In Payne v. Tennessee, the Supreme Court held that

the Eighth Amendment does not bar testimony about the victim of a murder

or testimony about the impact of the murder on the victim’s family. 501 U.S.

808, 822 (1991). The Court held that the State has a legitimate interest in

countering the individualization of the defendant by reminding the jury that

the victim was also an individual whose death represents a unique loss to

society and to the victim’s family. Id. at 826-28. As a result, the Court left it to

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the States to determine whether such testimony is relevant under their

individual punishment schemes. Id.

      Texas has applied Payne so as to hold that “introduction of ‘victim

impact’ evidence with respect to a victim not named in the indictment on which

[the defendant] is being tried” is inadmissible. Cantu v. State, 939 S.W.2d 627,

637 (Tex. Crim. App. 1997). However, testimony of a victim of an extraneous

offense regarding the effect of that offense on the victim himself or herself is

admissible. Mays v. State, 318 S.W.3d 368, 393 (Tex. Crim. App. 2010); Roberts

v. State, 220 S.W.3d 521, 531 (Tex. Crim. App. 2007). As noted above, “victim-

impact” testimony is testimony “concerning the effect the victim’s death will

have on others, particularly the victim’s family members.” Haley, 173 S.W.3d

at 517.

      Mr.   Dominguez    did   not   present   victim-impact   testimony.   Mr.

Dominguez’s testimony consisted almost entirely of his account of the

circumstances surrounding Ruben’s murder. 49 RR 81-93. His testimony

recounted the moments leading up to the murder, including Soliz’s hiding

behind a dumpster unbeknownst to Mr. Dominguez. 49 RR 81-93. Further, Mr.

Dominguez’s testimony demonstrated that he grew up in the same poor area

of Forth Worth as Soliz but was nonetheless able to live a productive life. 49

RR 73. Moreover, Mr. Dominguez’s testimony that Ruben was “healthy” before

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he was murdered simply answered any doubt the jury might have had that

Ruben might have succumbed to his wounds because he was not, in fact,

healthy. Indeed, Ruben was hospitalized for thirteen days prior to his death.

50 RR 9. Finally, Mr. Dominguez provided testimony regarding Ruben’s

dedication to work and his family. None of Mr. Dominguez’s testimony relayed

any information to the jury regarding the impact Ruben’s murder had on Mr.

Dominguez or anyone else. Consequently, the testimony did not constitute

extraneous offense victim-impact testimony and was not objectionable on that

basis.

         Similarly, Mrs. Martinez’s testimony recounted the events following

Soliz’s shooting of Ruben and the injuries Ruben sustained. Her testimony also

demonstrated that she and Ruben had grown up in the same poor area of north

Fort Worth as Soliz but had been able to become productive members of society.

Such testimony rebutted the defense’s evidence that sought to excuse Soliz’s

criminal behavior based on his being raised in a poor neighborhood. Almost

none of Mrs. Martinez’s testimony could be considered extraneous offense

victim-impact testimony. Only her testimony that she was “numb” while

Ruben was hospitalized and that she missed him every day could conceivably

be considered extraneous offense victim impact testimony. But the Fifth

Circuit has held that such testimony does not constitute victim-impact

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testimony. Mosley v. Quarterman, 306 F. App’x 40, 46-47 (5th Cir. 2008)

(unpublished) (affirming district court’s conclusion that victim’s wife’s

testimony that she felt “numb” after learning of her husband’s death was not

victim-impact testimony). For these reasons, Soliz fails to show that trial

counsel were ineffective for failing to object to the witnesses’ testimony.

      Importantly, Soliz identifies no clearly established law from the

Supreme Court that indicates that testimony like that of Mr. Dominguez and

Mrs. Martinez was objectionable. Indeed, the only holding of the Supreme

Court that Soliz identifies is Payne. But, as noted above, the Court in Payne

held that there is no per se bar to victim impact testimony. 501 U.S. at 827.

Consequently, his claim impermissibly calls for the creation of a new rule of

constitutional law holding that such testimony is inadmissible. The claim is,

therefore, barred by principles of non-retroactivity. Teague v. Lane, 489 U.S.

288, 311 (1989).

      Nonetheless, Soliz fails to show that he was prejudiced by trial counsels’

failure to object to the complained-of testimony. Again, none of Mr.

Dominguez’s testimony was objectionable. And the only testimony of Mrs.

Martinez that could conceivably have constituted extraneous offense victim-

impact testimony was her testimony that she was “numb” while Ruben was

hospitalized and that she missed Ruben every day. But Soliz fails to show that

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the limited testimony could have had an effect on the jury’s verdict. See Mosley,

306 F. App’x at 46-47 (assuming that victim’s wife’s testimony that she was

“numb” after learning of her husband’s murder constituted victim-impact

testimony and concluding that the petitioner had not shown that he was

prejudiced by trial counsel’s failure to object to the testimony); Guevara v.

Thaler, Civ. Act. No. 4:08-CV-1604, 2011 WL 4455261, at *23 (S.D. Tex. 2011)

(unpublished) (rejecting claim that counsel were ineffective for failing to object

to extraneous offense victim-impact testimony because petitioner failed to

show prejudice in light of the evidence of his violent criminal history, his

having committed an “escalating crime spree” in the months before the

murder, and evidence that he was “cruel”).

      The state habeas court rejected this claim, concluding that trial counsel

were not deficient and that Soliz was not prejudiced by the alleged deficiency.

SHCR-01 at 759-60. For the reasons discussed above, Soliz fails to show that

the state court’s denial of this claim was unreasonable. Consequently, the

claim should be denied. Richter, 562 U.S. at 99-102.




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      I.     Trial counsel were not ineffective for failing to object to the
             admission of a letter Soliz wrote from jail to a
             veniremember.

      Soliz argues that trial counsel were ineffective for failing to object to the

admission during the punishment phase of trial of a letter Soliz wrote from jail

to a veniremember. Petition at 99-111. The claim is without merit.

             1.     Factual background

      During the State’s rebuttal presentation at the punishment phase of

trial, the State called Jimmy Johnson of the Johnson County Sheriff’s Office to

testify. 56 RR 6-28. Officer Johnson worked at the Johnson County Jail. 56 RR

6. Officer Johnson’s office inspected all of Soliz’s mail and provided a copy to

the District Attorney’s Office. 56 RR 8. The State offered into evidence two

letters written by Soliz that had been intercepted by jail staff. 56 RR 7; SX 509,

510. 33 One letter was written to Priscilla Guerrero and one was written to L.

Vela. 56 RR 9. Trial counsel asked to discuss the admissibility of the two letters

outside the presence of the jury. 56 RR 10. Trial counsel objected to the

admission of Soliz’s letter to L. Vela because she was a veniremember who was

dismissed during voir dire. 56 RR 10. Trial counsel argued that Officer

Johnson’s testimony regarding that letter would force trial counsel to withdraw


33   The copy of State’s Exhibit 510 appears to be illegible in the Reporter’s Record.
However, Soliz attached a legible copy of the letter and the redacted letter to his state
habeas application. SHCR-01 at 299-306.
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and to testify as to how Soliz could have obtained the address of a

veniremember. 56 RR 10-16. Trial counsel stated that they were not objecting

generally to the admission of Soliz’s letters. 56 RR 15. The prosecutor argued

that the letter rebutted Soliz’s mitigating evidence that he functions at the

level of a two-year old and was evidence that Soliz is a future danger. 56 RR

13.

      Following a break in the proceedings, the prosecutor stated that she had

reached an agreement with trial counsel whereby the letter to L. Vela would

be redacted so that the letter would not identify L. Vela as a veniremember. 56

RR 17; SX 510. The State then offered into evidence Soliz’s letters to Priscilla

Guerrero and L. Vela. 56 RR 18-20. On cross-examination, trial counsel offered

into evidence the jail visitation log for Soliz and asked Officer Johnson whether

he was aware that Soliz’s mother had not visited him in jail because she was

on parole. 56 RR 28-29.

            2.    Trial counsel were not ineffective for failing to object
                  to the admission of Soliz’s letter to L. Vela as being
                  irrelevant.

      Soliz’s IATC claim fails for several reasons. First, Soliz’s claim fails

because the state court’s conclusion that trial counsel were not deficient was

based on its binding interpretation of state law. Specifically, the state court

held that the letter written by Soliz to L. Vela was admissible. SHCR-01 at

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760-61 (“Had defense counsel made suchan objection, the evidence would still

have survived a Rule 403 analysis. . . . As such, because the complained-of

evidence was admissible under Rule 403, an objection on this basis would have

been a futile act.”). The state court’s determination of state law in this regard

is dispositive of Soliz’s claim of ineffective assistance. Charles, 629 F.3d at 500-

01. Soliz’s IATC claim is premised only on the argument that the complained-

of evidence was inadmissible under state law. Petition at 105 (“Trial counsel

would have succeeded in objecting pursuant to Texas Rules of Evidence 403. .

. . Trial counsel’s failure to advise the court of the prejudicial, inflammatory

nature of this letter and object under Texas Rules of Evidence 403 constituted

deficient   performance     as   it   fell   below   an   objective   standard    of

reasonableness.”). Consequently, Soliz’s IATC claim necessarily fails.

      Importantly, Soliz identifies no clearly established law from the

Supreme Court that indicates that the complained-of evidence was

objectionable. Consequently, his claim impermissibly calls for the creation of a

new rule of constitutional law holding that such testimony is inadmissible. The

claim is, therefore, barred by principles of non-retroactivity and his claim

necessarily fails to meet the standard of AEDPA by showing the state court

unreasonably applied controlling precedent from the Supreme Court. Teague,

489 U.S. at 311.

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      Nonetheless, Soliz fails to show the complained-of evidence was

irrelevant. First, as the prosecutor argued, the evidence was relevant as

rebuttal evidence where Soliz’s expert, Dr. Connor, testified that Soliz

functioned on the level of a two-and-a-half-year old in his ability for “receptive

communication” and as a six-year old in his ability for “expressive

communication.” 55 RR 5-6. Soliz’s ability to effectively communicate, attempt

to flatter a woman, and even mail a letter rebutted the experts’ testimony

regarding the extent of Soliz’s purported adaptive deficits and rendered the

testimony (including Dr. Connor’s testimony that Soliz did not malinger) less

credible.

      Lastly, Soliz fails to show that he was prejudiced by trial counsels’ failure

to object to the admission of his letter to L. Vela. Soliz supports this IATC claim

by reference to an affidavit of one of his jurors. Petition at 111. Soliz did not

provide this affidavit to this Court. He did, however, submit the affidavit to the

state habeas court. SHCR-01 at 185-86. The juror’s affidavit is, however,

inadmissible in these proceedings. Fed. R. Evid. 606(b); Adams, 421 Fed. Appx.

at 328 n.2 (5th Cir. Mar. 31, 2011) (unpublished); Parr v. Quarterman, 472

F.3d 245, 258 (5th Cir. 2006); United States v. Straach, 987 F.2d 232, 241-42

(5th Cir. 1993). Nonetheless, even if the juror’s affidavit was admissible, Soliz

fails to show prejudice.

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      To demonstrate prejudice, Soliz argues that the jury were aware the

complained-of letter was written to a veniremember because they requested to

view the letter during its deliberations. Petition at 110. But the jury’s simply

viewing the letter during deliberations does not make it any more likely that

they would have concluded the letter was written to a veniremember.

Moreover, the jury requested to view all of Soliz’s correspondence that was

admitted into evidence. 57 RR 92-93; SX 505, 508, 509, 510. It is, therefore,

altogether likely that the jury considered Soliz’s letter to L. Vela in conjunction

with his other correspondence as evidence of Soliz’s adaptive behvaiors. And

while juror J.U. states in the affidavit provided to the state habeas court that

the jury was aware the letter was written to a veniremember, the jury’s letter

to the trial court asking to view Soliz’s correspondence stated, “[w]e would like

to see the last three letters from Mark Soli[z] to his girlfriend and the

missionary.” 11 CR 2133. There is simply no (admissible) proof that the jury

was aware that L. Vela was a veniremember or that they considered the letter

for any improper purpose.

      Further, the State’s evidence supporting the jury’s finding of future

dangerousness was overwhelming. There is no probability that the jury

answered the future dangerousness special issue affirmatively only because of

the admission of Soliz’s letter to L. Vela. Nor is there any probability that the

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jury answered the mitigation special issue negatively only because of the

admission of Soliz’s letter to L. Vela.

      The state habeas court rejected this claim, concluding that trial counsel

were not deficient and that Soliz was not prejudiced by the alleged deficiency.

SHCR-01 at 760-61. For the reasons discussed above, Soliz fails to show that

the state court’s denial of this claim was unreasonable. Consequently, the

claim should be denied. Richter, 562 U.S. at 99-102.

      J.    Trial counsel adequately            presented      the   jury    with
            mitigating evidence.

      Lastly, Soliz argues that his trial counsel were ineffective for failing to

present expert testimony regarding the effects of foster care on Soliz and to

explain the significance of Soliz’s Child Protective Services (CPS) records.

Petition at 111-31. Specifically, he argues such an expert could have testified

that Soliz’s experience in foster care caused him to suffer from post-traumatic

stress disorder and could have testified as to the effects on Soliz of his frequent

relocations, the abuse and neglect he suffered while in foster care, and his

“aging out” of the foster care system. Petition at 115-20. Alternatively, Soliz

argues that trial counsel should have presented the testimony of Laura Flores,

Soliz’s CPS caseworker from 1997 to 1999. Petition at 112, 130. The claim is

without merit.


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            1. Mitigating evidence presented at trial

      The defense put forth an extensive mitigation presentation, including

the testimony of two of Soliz’s family members, a doctor and a caseworker who

provided care to Soliz when he was young, expert testimony regarding Soliz’s

FASD, and thousands of pages of records demonstrating his chaotic

upbringing. The mitigating evidence detailed Soliz’s chaotic upbringing, the

severe neglect he experienced at home, and the effects of his FASD.

      Krisha Flores, Soliz’s cousin, testified that when Soliz was young, his

mother, aunts, and uncles lived together in one house along with their children.

50 RR 138, 142. The adults frequently sniffed paint in front of the children and

used drugs inside their home. 50 RR 143, 163, 192. Soliz began sniffing paint

at about age ten. 50 RR 183. Krisha Flores also testified that Soliz’s family

moved to the Butler Housing Projects when Soliz was between six and nine-

years old and that a significant amount of violence and drug dealing occurred

in that neighborhood. 50 RR 164, 167, 175, 217. One of Soliz’s aunts was

stabbed to death by her boyfriend in Soliz’s presence. 50 RR 194-96. Further,

Soliz’s mother prostituted herself in order to buy drugs. 50 RR 194-96. Leticia

Herrera, another cousin of Soliz, testified that when Soliz was seven or eight

years old, he would “run[ ] the streets,” and was not disciplined by his parents.

50 RR 245, 254-55.

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      Dr. Prema Manjunath was a child and adolescent psychiatrist at the JPS

Hospital in Fort Worth, Texas. 51 RR 39-40. Dr. Manjunath testified regarding

Soliz’s admission to JPS when Soliz was ten years old due to his “out-of-control”

behaviors such as stealing cars, stealing from parking meters, selling drugs,

fighting, drug use, and carrying guns. 51 RR 44-47, 51. Soliz’s social history

presented to Dr. Manjunath indicated that Soliz’s mother drank heavily during

her pregnancy with Soliz. 51 RR 53. Soliz was “roaming out on the streets in

the early hours of the morning” and associating with children who were much

older than he was, which indicated a lack of supervision from his parents. 51

RR 83. Soliz had “acted out” sexually, which Dr. Manjunath believed could be

indicative of Soliz having been sexually abused. 51 RR 54. Soliz’s mother was

only “superficially” involved with Soliz’s treatment at JPS. 51 RR 69.

      Dr. Manjunath performed a mental status examination of Soliz, which

indicated that Soliz had “difficulties in paying attention” and was of “low

average to borderline intelligence.” 51 RR 57-58. Soliz “externalized” blame for

his actions by blaming others and refusing to accept responsibility, he lacked

empathy for others, and he was aggressive to hospital staff and his peers. 51

RR 60-61. Dr. Manjunath diagnosed Soliz with conduct disorder, mixed

substance abuse, and ADHD. 51 RR 63. Dr. Manjunath also diagnosed Soliz as

having antisocial traits, noted that he had reading and language problems, and

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noted that he suffered from a “chaotic home.” 51 RR 64. She testified that

neglect of a child can interfere with the child’s “normal growth and

development.” 51 RR 114. At the time Soliz was discharged from JPS his

behavior, attention, and concentration “had definitely improved,” although he

continued to “seek attention and affection of others through manipulation and

impulsive behaviors.” 51 RR 68-69, 91.

      Dr. Manjunath testified that conduct disorder, with which Soliz was

diagnosed, could be caused by biological, genetic, or environmental factors. 51

RR 104. Similarly, brain damage could be caused by fighting, sniffing paint,

and hypoxia. 51 RR 104. Nonetheless, Dr. Manjunath noted in Soliz the

behavioral characteristics typically seen in individuals with FAS. 51 RR 118.

      Kevin Walling was a caseworker with the Tarrant County Mental Health

and Mental Retardation (MHMR) organization. 51 RR 130. Soliz was referred

to Tarrant County MHMR when he was ten years old. 51 RR 133-34. Mr.

Walling worked with Soliz from 1992 until 1994, at which time Soliz lived in

the Buckner Children’s Home. 34 51 RR 151. Mr. Walling visited Soliz’s house

and saw Soliz’s mother with paint on her hands and around her mouth. 51 RR




34     Soliz was removed from his mother’s custody and placed into the custody of the
State at about age twelve due to his “chaotic” home environment. DX 62. Soliz was at
that time placed into the care of the Buckner Children’s Home. DX 62.
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146. Mr. Walling described Soliz as a follower, but testified that Soliz knew the

difference between right and wrong. 51 RR 144, 154.

      LeAnna Judd was a Juvenile Probation Officer for Tarrant County. 51

RR 161. She first met Soliz in 1994, when he was twelve years old and was

detained for burglary of a building. 51 RR 164. Soliz was arrested three months

after his initial detention for burglary of a building when he attempted to

burglarize a vehicle, and was arrested again a short time later for burglary of

a habitation. 51 RR 177. Ms. Judd noted that Soliz suffered from a family

situation that was “very chaotic and detrimental to his ever getting better.” 51

RR 190. Soliz’s records indicated that he was, at the time Ms. Judd supervised

him, two grades behind in school and had been suspended due to his

committing a burglary of the school. 51 RR 201. Soliz was in special education

classes. 51 RR 201. A therapist at the Buckner Children’s Home recommended

keeping Soliz in treatment because she was concerned about Soliz’s mother’s

poor parenting skills and that Soliz’s behavior would deteriorate if he was

returned to his mother’s home. 51 RR 202.

      Ms. Judd also testified regarding Soliz’s “attention seeking behavior”

while living in the Buckner Children’s Home such as choking himself. 52 RR

17-18. Soliz “acted out” sexually when he was twelve and thirteen by having

sex with younger boys in the Buckner Children’s Home. 52 RR 21. Soliz was

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moved to a higher security facility at which he had to be restrained several

times due to the staff’s concern that he would hurt others. 52 RR 25. Ms. Judd

testified on cross-examination that Soliz joined the Boy Scouts during his time

at the Buckner Children’s Home and that he developed leadership skills. 52

RR 44.

      Soliz presented testimony from three experts, Drs. Adler, Connor, and

Brown, regarding FASD. Dr. Adler is a child and adolescent psychiatrist. 53

RR 7, 36. He is the founding “director of a group called the Fetal Alcohol

Spectrum Disorder Experts,” of which Drs. Connor and Brown are also

members. 53 RR 9, 38. Dr. Adler testified that alcohol is a teratogen, i.e., a

substance that is harmful to a developing fetus. 53 RR 54. Impairments

associated with FASD include difficulty eating and sleeping, poor muscle

coordination, low I.Q., poor attention, inappropriate social and sexual

behavior, difficulty finding employment, and difficulty in school. 53 RR 72-73.

These impairments often cause individuals with FASD to become incarcerated

or hospitalized. 53 RR 72. Individuals with FASD also suffer from adaptive

behavior deficits, auditory or visual hallucinations, and delinquency. 53 RR

101-02. Individuals with FASD also tend to be susceptible to suggestion and

would likely “over-confess” or falsely confess when under questioning by police.

53 RR 140.

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      Dr. Adler performed a clinical interview with, and a physical

examination of, Soliz. 53 RR 15, 78. Dr. Adler testified that Soliz did not have

a sufficiently shortened palpebral fissure in order to be diagnosed with FAS,

nor did Soliz have a flat upper lip or a smooth philtrum. 53 RR 109-10, 145,

148. Dr. Adler reviewed Soliz’s medical records and interviewed Soliz’s mother.

53 RR 15, 79, 188. Dr. Adler diagnosed Soliz with PFAS, cognitive disorder,

polysubstance abuse, physical and sexual abuse of child, and neglect of child.

53 RR 16, 86-87.

      Dr. Connor is a clinical neuropsychologist. 53 RR 220; 54 RR 13. Dr.

Connor completed a postdoctoral fellowship during which he researched FASD.

54 RR 14. From that research, Dr. Connor found that individuals who had been

exposed in utero to alcohol had difficulties in their neuropsychological

functioning. 54 RR 16. Those difficulties included lower intelligence, lower

academic functioning, difficulty paying attention, and impulsive behavior. 54

RR 19. Dr. Connor performed a series of neuropsychological tests on Soliz “to

assess a broad range of cognitive functioning.” 53 RR 223. Dr. Connor testified

that Soliz’s cognitive functioning was consistent with the CDC guidelines for

FASD. 53 RR 224; 54 RR 69. Dr. Connor also testified that Soliz’s cognitive

functioning was consistent with cognitive disorder and that Soliz suffers from

a learning disorder and “attention deficit problems.” 53 RR 226.

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      Dr. Brown is a clinical and forensic psychologist. 54 RR 72; 55 RR 133.

As part of her work with the Fetal Alcohol Spectrum Disorder Experts group,

Dr. Brown performs a “lifelong functional assessment” of individuals who are

being assessed for FASD. 54 RR 76; 55 RR 138-39. A lifelong functional

assessment includes a comprehensive examination of the individual’s life

history to determine whether the individual has displayed behaviors that are

consistent with or contradict FASD. 54 RR 77; 55 RR 139-40. Behaviors and

characteristics that are consistent with FASD include having mental health

disorders, having a disruptive school experience, violating the law, being

confined (e.g., in a psychiatric hospital or jail), an inability to live

independently, substance abuse, and displaying inappropriate sexual

behavior. 54 RR 78-80, 84.

      Based on her lifelong functional assessment of Soliz, Dr. Brown

concluded that Soliz’s behaviors during his life were consistent with FASD and

that he did not display any behavior that was inconsistent with FASD. 54 RR

94, 97. Dr. Brown testified that, “there is evidence across [Soliz’s] life span of

significant impairment in . . . adaptive behavior,” and evidence that Soliz lived

in an “adverse environment.” 55 RR 228-29.




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            2. Trial counsel adequately presented mitigating evidence.

      As Soliz conceded during his state habeas proceedings,

      [t]rial counsels[’] representation of Soliz was in many ways
      commendable, particularly regarding several aspects of their
      punishment phase presentation. . . . They presented a significant
      amount of evidence detailing that Soliz was afflicted with Partial
      Fetal Alcohol Syndrom (“PFAS”) and the deleterious effects it had
      on Soliz. . . . [T]rial counsel presented a significant amount of
      testimony regarding Soliz’s difficult, chaotic upbringing, in which
      he was surrounded by adults—including his own mother—that
      were more concerned with drinking and substance abuse than
      providing a supportive, nurturing environment.

SHCR-01 at 22. Nonetheless, he argues that trial counsel were failing to

present expert testimony regarding the effects on Soliz of his placement in

foster care or, alternatively, testimony of his CPS caseworker from 1997 to

1999. His claim is without merit.

      First, Soliz’s claim that trial counsel were ineffective for failing to

present testimony of an expert regarding the effects on Soliz of the foster care

system fails because he does not, and did not during his state habeas

proceedings, provide an affidavit of an expert who would have been willing and

able to testify in such a manner. And while Soliz asserts in his petition that an

expert could have informed the jury that the foster care system often leads

“foster youth[s] to suffer from” PTSD, he does not provide any evidence that he

suffers from PTSD or that any expert was willing or able to testify at his trial


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that he suffers from PTSD. Consequently, his claim that his trial counsel were

ineffective for failing to present expert testimony fails entirely. Day, 566 F.3d

at 538-39.

      Soliz’s claim that trial counsel were ineffective for failing to present

expert testimony on the foster care system is also meritless because he has

failed to rebut the presumption that trial counsel made the reasonable

strategic decision to not hire such an expert. As discussed in more detail above,

trial counsel obtained more than $90,000 in expert funds from the trial court

and consulted or retained approximately twenty-seven experts. 9 CR 1628; 12

CR 2213. Soliz does not attempt to rebut the presumption that trial counsels’

informed, strategic decisions as to how to allocate their limited resources were

reasonable. Richter, 562 U.S. at 107 (trial counsel are “entitled to formulate a

strategy that was reasonable at the time and to balance limited resources in

accord with effective trial tactics and strategies”).

      Mr. Heiskell also provided an affidavit to the state habeas court

explaining the defense team’s decision to not present expert testimony

regarding the effects on Soliz of the foster care system. SHCR-01 at 556-57.

Mr. Heiskell stated,

      [w]e did not seek retention of any expert on the evils/ills of foster
      care, and its negative effects on Mr. Soliz, because we wanted to
      keep the eyes of the jury on our main mitigation evidence—Fetal

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      Alcohol Spectrum Disorder (“FASD”). FASD, and its resulting
      negative effects, was diagnosed in Mr. Soliz after his birth and its
      intense negative characteristics were revealed in Mr. Soliz at a
      very young age. It was also exacerbated by his mother’s highly
      dysfunctional lifestyle and habits. These two paramount factors
      demonstrated Mr. Soliz’s lack of moral blameworthiness that
      should have resulted in a life sentence.

SCHR-01 at 557. Soliz does not attempt to rebut the presumption that the

strategy articulated by trial counsel was reasonable.

      Moreover, as the Fifth Circuit has explained, a federal court “must be

particularly wary of arguments that essentially come down to a matter of

degrees. Did counsel investigate enough? Did counsel presente enough

mitigating evidence? Those questions are even less susceptible to judicial

second-guessing.” Dowthitt v. Johnson, 230 F.3d 733, 743 (5th Cir. 2000). In

light of the extensive mitigation presentation detailed above, and in light of his

concession that trial counsels’ performance at the punishment phase of trial

was “commendable,” Soliz’s IATC claim that his trial counsel should have

presented more mitigating evidence rings hollow. SHCR-01 at 22. This is

especially true where, as trial counsel indicated, the additional mitigating

evidence Soliz complains was not presented would have “diluted” the

mitigating evidence focusing on Soliz’s family and his chaotic upbringing.

Importantly, Soliz’s claim does not allege that trial counsel failed to adequately



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investigate, 35 but rather his claim focuses on trial counsels’ decision about

which evidence to present to the jury. That being the case, Soliz’s claim fails

because it calls for the exercise of hindsight the Supreme Court has explicitly

discouraged. Strickland, 466 U.S. at 690-91 (“[S]trategic choices made after

thorough investigation of law and facts relevant to plausible options are

virtually unchallengeable.”).

      Second, Soliz argues that trial counsel should have, alternatively,

presented the testimony of Laura Flores, Soliz’s CPS caseworker from 1997 to

1999, “to explain the contents of the CPS records to the jury.” 36 Petition at 112.

Ms. Flores stated in her affidavit to the state habeas court that she was

available to testify at Soliz’s trial and that, had she been called, she “would

have testified to the authenticity of the contents of the records [she] kept and

had personal knowledge of while working as [Soliz’s] caseworker.” SHCR-01 at

438. She did not state in her affidavit, however, that she could have or would

have testified regarding the effects on Soliz of foster care experience. SHCR-01

at 438. Soliz argues only that Ms. Flores could have testified “to the contents


35     Any claim predicated on an allegation that trial counsel failed to adequately
investigate would be entirely undermined by the extensive mitigation presentation
put forth at trial, as well as by the fact that Soliz’s IATC claim is founded on the very
same thousands of pages of CPS records that trial counsel admitted into evidence.

36   Soliz did not provide this Court with an affidavit from Laura Flores. He did,
however, submit her affidavit to the state habeas court. SHCR-01 at 438.
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and accuracy of” the CPS records. Petition at 130. Neither Soliz nor Ms. Flores

identify, however, the purportedly mitigating evidence in the CPS records that

was unpresented at trial that she would have testified to. Consequently, Soliz’s

claim fails. Day, 566 F.3d at 538 (“[T]o prevail on an ineffective assistance

claim based on counsel’s failure to call a witness, the petitioner must name the

witness, demonstrate that the witness was available to testify and would have

done so, set out the content of the witness’s purported testimony, and show that

the testimony would have been favorable to a particular defense.”) (emphasis

added).

      For the reasons discussed above, Soliz fails to show that trial counsel

were deficient for failing to present the expert testimony of Ms. Flores

regarding Soliz’s foster care experience. Trial counsel employed a reasonable

trial strategy that was informed by an extensive (and well-funded)

investigation. Soliz has entirely failed to rebut the presumption that trial

counsels’ strategy was reasonable. Therefore, Soliz’s IATC claim fails.

      Further, Soliz fails to show prejudice. As detailed above, trial counsel

presented an extensive mitigation case. He now argues that his trial counsel

should have also presented testimony regarding the foster care system and its

effects on Soliz. He makes several assertions regarding the foster care system

generally. Petition at 122-23 (discussing 1995 and 2000 reports regarding

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deficiencies in the Texas foster care system), 124 (discussing study showing

foster children are more likely to suffer abuse than children in the general

public). But while he makes broad generalizations about the foster care system,

he identifies scant examples from the thousands of pages of records that reflect

that Soliz suffered from the foster care experience.

      For example, Soliz cites one example of alleged abuse, wherein a staff

member at a foster care home and Soliz engaged in a confrontation. SHCR-01

at 356. The staff member pushed Soliz on the throat and the staff member was

later disciplined. SHCR-01 at 356-64. The record shows, however, that Soliz

said that he tried to kill a staff member during the incident. SHCR-01 at 356.

      As another example, he asserts that “he was physically restrained on

several occasions for seemingly harmless offenses, such as ‘eating an apple in

his room’ and ‘hanging his arm over the bed.’” Petition at 121. But the record

Soliz cites also states that he was physically restrained during those instances

because “[b]oth incidents e[s]calated into having Mark restrained.” SHCR-01

at 342-43.

      Also, while Soliz argues that an expert could have testified that youths

in foster care often lose school credit due to frequent relocations, the jury was

aware that Soliz was far behind in grade level. 51 RR 201. The jury was also

aware that Soliz received no assistance from his family in his education.

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Further, while Soliz argues that an expert could have testified that Soliz’s

frequent relocations and changes of schools caused him to be unable to develop

friendships and attachments, such testimony blaming the foster care system

for Soliz’s lack of attachment would have been inconsistent with trial counsels’

strategy to assign blame for Soliz’s joining a gang at a young age due to his

being at-risk because of his FASD and his neglectful family.

      Soliz has failed to show that he was prejudiced by trial counsels’ failure

to present expert testimony or the testimony of Ms. Flores to explain the foster

care system or its effects on Soliz. Soliz’s jury was well aware of his chaotic

upbringing and his total lack of familial support. Further, as discussed in more

detail above, the aggravating evidence in this case was substantial. That being

the case, Soliz’s IATC claim fails. See Sonnier v. Quarterman, 476 F.3d 349,

356-57 (5th Cir. 2007) (“To find prejudice, there must be a reasonable

probability that, absent the error, the sentencer would have concluded that the

balance of aggravating and mitigating circumstances did not warrant death.”).

As the state court found, trial counsel did not present testimony seeking to

blame the foster care system for Soliz’s criminal behavior because such

testimony would have been inconsistent with trial counsels’ strategy to focus

the blame on Soliz’s mother and other family for neglecting Soliz and on his

mother for drinking heavily and using inhalants while pregnant. SHCR-01 at

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761-63. For the reasons discussed above, Soliz fails to rebut the state court’s

findings or show that the state court’s denial of this claim was unreasonable.

Consequently, the claim should be denied. Richter, 562 U.S. at 99-102.

       K.    Soliz’s claim of cumulative ineffective assistance of counsel
             cannot afford him habeas relief.

       Soliz argues that he was denied effective assistance of counsel due to the

cumulative effect of the above alleged instances of ineffective assistance of

counsel. Petition at 95-99. But, as discussed above, all of Soliz’s claims of

ineffective assistance of counsel are without merit. Consequently, Soliz’s

attempt to cumulate any “error” is fruitless. United States v. Hall, 455 F.3d

508, 521 (5th Cir. 2006).

       The state habeas court rejected this claim. SHCR-01 at 758. For the

reasons discussed above, the state court’s rejection of Soliz’s claim was

reasonable. Consequently, the claim should be denied. Richter, 562 U.S. at 99-

102.

II.    Soliz was not Denied Effective Assistance of Appellate Counsel

       Soliz claims he was denied effective assistance of appellate counsel.

Specifically, he argues that his appellate counsel was ineffective for failing to

argue (1) that Soliz was improperly denied the right to cross-examine Detective

Danny Paine regarding bias and (2) that the trial court improperly overruled


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Soliz’s objection to the admission of victim-impact testimony during the

guilt/innocence phase of trial. Petition at 49-53, 81-89. The claims are without

merit.

      A.    Standard of review

      The Fifth Circuit has held that appellate counsel’s failure to raise certain

issues on appeal does not deprive an appellant of effective assistance of counsel

where the petitioner did not show the existence of any trial errors with even

arguable merit. Hooks v. Roberts, 480 F.2d 1196, 1198 (5th Cir. 1973). The

Fifth Circuit has also stated that, “[i]t is not only reasonable but effective for

counsel on appeal to winnow out weaker arguments and focus on a few key

issues. Mayo v. Lynaugh, 882 F.2d 134, 139 (5th Cir. 1989).

      Further, in Jones v. Barnes, 463 U.S. 745, 749 (1983), the Supreme Court

noted the federal district court’s holding on this issue, as follows: “[i]t is not

required that an attorney argue every conceivable issue on appeal, especially

when some may be without merit. Indeed, it is his professional duty to choose

among potential issues, according to his judgment as to their merit and his

tactical approach.” The Supreme Court went on to hold that “[n]either Anders 37

nor any other decision of this Court suggests, however, that the indigent

defendant has a constitutional right to compel appointed counsel to press


37    Anders v. California, 386 U.S. 738 (1967).
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nonfrivolous points requested by the client, if counsel, as a matter of

professional judgment, decides not to present those points.” Barnes. 463 U.S.

at 751.

      B.    Soliz was properly denied the ability to cross-examine
            Detective Paine regarding bias.

      Soliz argues that his appellate counsel was ineffective for failing to raise

on direct appeal the argument that Soliz was improperly denied the right

under Texas Rule of Evidence 806 to cross-examine Detective Paine regarding

Ramos’s potential bias in providing the police his June 30, 2010 statement. 38

Petition at 49-53. Soliz argues that he was entitled to cross-examine Detective

Paine on this issue of Ramos’s bias because Ramos entered into a plea

agreement with the State almost two years after making the statement.

Petition at 49. The claim is without merit.




38    Texas Rule of Evidence 806 provides in relevant part,

      When a hearsay statement . . . has been admitted in evidence, the
      credibility of the declarant may be attacked, and if attacked may be
      supported by any evidence, which would be admissible for those
      purposes if declarant had testified as a witness. Evidence of a statement
      or conduct by the declarant at any time, offered to impeach the witness,
      is not subject to any requirement that the declarant may have been
      afforded an opportunity to deny or explain.
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            1.    Factual background

      Detective Paine testified regarding statements Ramos made to police

when Ramos was interrogated. 41 RR 26-29. Detective Paine testified that

Ramos made statements indicating there had been a murder the police were

not yet aware of. 41 RR 26-28. During cross-examination, trial counsel moved

under Texas Rule of Evidence 806 for permission to cross-examine Detective

Paine regarding Ramos’s plea agreement. 42 RR 5. Trial counsel stated that

Ramos had agreed to a life sentence in exchange for his testimony. 42 RR 6.

The trial court noted that no plea agreement had been approved by the court

and the prosecutor stated that no plea offer had been made at the time of

Ramos’s statements to the police. 42 RR 7, 9. The trial court then denied trial

counsels’ request to cross-examine Detective Paine on the issue of Ramos’s

bias. 42 RR 11.

            2.    Appellate counsel was not ineffective for failing to
                  argue on direct appeal that the trial court improperly
                  denied Soliz’s request to cross-examine Detective
                  Paine on the issue of bias.

      Soliz raised this claim of ineffective-assistance-of-appellate-counsel

(IAAC) in his state habeas application. SHCR-01 at 61-64. The state court

denied the claim on the grounds that there was no evidence Detective Paine

was aware Ramos had entered into a plea agreement and any plea offer was


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not relevant because it was made almost two years after Ramos’s statement to

the police. SHCR-01 at 525-26. As a result, any testimony from Detective Paine

on the issue of Ramos’s bias would have been inadmissible under state law.

SHCR-01 at 525. For the same reasons, the state court concluded that Soliz’s

appellate counsel was not deficient and that Soliz was not prejudiced. SHCR-

01 at 753.

         First, Soliz’s claim fails because the state court’s conclusion that

appellate counsel was not deficient was based on its binding interpretation of

state law. Specifically, the state court held that testimony by Detective Paine

on the issue of Ramos’s bias would have been inadmissible under Texas Rules

of Evidence 601 and 806. SHCR-01 at 753. The state court’s determination of

state law in this regard is dispositive of Soliz’s claim of ineffective assistance.

Charles, 629 F.3d at 500-01. Consequently, Soliz’s IAAC claim necessarily

fails.

         Second, Soliz cites to no relevant clearly established federal law that

supports his claim. While he cites to Delaware v. Van Arsdall, 475 U.S. 673,

679 (1986), for the proposition that “[e]vidence that the declarant is facing

criminal charges is particularly probative of bias,” that opinion is inapposite.

Petition at 51-52. The Supreme Court in that case stated that the defendant

has the right to elicit through cross-examination a witness’s motivation for

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testifying. Van Arsdall, 475 U.S. at 679. The Court went on to hold, however,

that a trial court maintains wide latitude in placing reasonable limits on the

defendant’s cross-examination where the purported testimony would be

“marginally relevant.” Id. The Court’s opinion does not indicate that a trial

court must provide a party in a situation like this the opportunity to cross-

examine a witness on the issue of bias where the underlying basis for the

purported bias did not exist. Consequently, Soliz’s claim fails under AEDPA

and impermissibly calls for retroactive application of a new rule of

constitutional law. See Teague, 489 U.S. at 311.

      Further, Soliz was not prevented from questioning Detective Paine

regarding criminal charges Ramos faced. The jury was well aware of Ramos’s

involvement in several of the offenses and that Ramos was a suspect in those

offenses, including the murder of Nancy Weatherly. Rather, Soliz was not

allowed to cross-examine Detective Paine specifically regarding a plea offer

that was made to Ramos almost two years after he was interrogated. As the

state court found, the plea offer simply had no bearing on the credibility of

Ramos’s statement to police. Ramos did not testify. Had he testified, trial

counsel would have been permitted to cross-examine Ramos regarding the

existence at that time of a plea offer or plea agreement. But no such plea offer

or agreement existed at the time of Ramos’s June 30, 2010 interview with the

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police. And Detective Paine had no personal knowledge regarding any plea

offer that was made to Ramos. As a result, the trial court properly limited trial

counsels’ cross-examination of Detective Paine.

      Further, Soliz cannot show that he was prejudiced (i.e., that his

conviction would have been overturned) by appellate counsel’s failure to raise

the claim on direct appeal. As discussed above, the claim would have been

futile. Further, the purported claim would have been subject to harmless error

analysis. See Johnson v. State, 967 S.W.2d 410, 417 (Tex. Crim. App. 1998)

(citing Tex. R. App. P. 44.2(b)). And Ramos’s statements to Detective Paine

during the interrogation were harmless in light of the extensive evidence

implicating Soliz including his confession, Elizabeth Estrada’s testimony, and

the physical evidence placing him in Ms. Weatherly’s home.

      Soliz argues that Detective Paine’s testimony regarding Ramos’s

interview prejudiced him because Ramos’s comment that “it was wrong” and

“it didn’t have to end that way,” 41 RR 27, implied that it was Soliz who had

killed Nancy Weatherly. Petition at 52. Taken in isolation, however, Ramos’s

comment could just as easily be interpreted as implying that Ms. Weatherly

was shot by Ramos by accident during a burglary gone wrong. But, again, Soliz

admitted to shooting Ms. Weatherly.



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      Soliz also argues that he was prejudiced because he was prevented from

presenting “evidence that Ramos had arranged a plea deal with the State and

that his statements were therefore unreliable.” Petition at 52. But, again,

Ramos had not been given a plea offer at the time he was interviewed by

Detective Paine. 42 RR 7-10. The fact that Ramos was given a plea offer almost

two years after his interview with Detective Paine is not probative as to the

credibility of the statements Ramos made to Detective Paine.

      The state court determined that the trial court properly denied his

request to cross-examine Detective Paine on the issue of Ramos’s bias. SHCR-

01 at 753. Consequently, Soliz’s appellate counsel could not have been

ineffective for failing to raise a meritless claim. For the reasons discussed

above, the state court’s rejection of Soliz’s claim was reasonable. Therefore,

Soliz’s claim should be denied. Richter, 562 U.S. at 99-102.

      C.    Soliz’s appellate counsel was not ineffective for failing to
            argue that the trial court erred in denying Soliz’s objection
            to the admission of victim-impact testimony.

      Soliz argues that his appellate counsel was ineffective for failing to argue

on direct appeal that the trial court improperly overruled Soliz’s objection to




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the admission during the guilt/innocence phase of trial of victim-impact

testimony. 39 Petition at 81-89. The claim is without merit.

             1.     Factual backround

      During the guilt/innocence phase of trial, the State presented the

testimony of Mary Smith (an aunt of Nancy Weatherly’s daughter-in-law) and

Kila Davis (Nancy Weatherly’s daughter-in-law). 46 RR 6-16; 17-24. Mary

Smith testified that she saw Ms. Weatherly often, that Ms. Weatherly was a

private person, and that Ms. Weatherly lived close to her son. 46 RR 7.

      Ms. Smith received a phone call from her husband stating that there

were police officers at Ms. Weatherly’s home. 46 RR 9. She went to Ms.

Weatherly’s home but was not allowed inside even though she told the police

that she was the “nearest thing to family [Ms. Weatherly] has here right

now.” 40 46 RR 9. Ms. Smith’s husband called Ms. Weatherly’s son, who was on

a cruise ship, to inform him of Ms. Weatherly’s death. 46 RR 11. The police




39     Soliz does not claim that his appellate counsel was ineffective for failing to
argue that the trial court improperly overruled Soliz’s objection to the admission
during the guilt/innocence phase of trial of victim-character testimony. Petition at 81-
89. Further, such a claim, if raised, would be unexhausted because he did not raise it
in his state habeas application.

40    Trial counsel objected at that point on relevance grounds and asked for a
continuing objection. 46 RR 9. The trial court overruled the objection, but granted the
request for a continuing objection. 46 RR 9.
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later turned the house over to Ms. Smith and her husband. 46 RR 13. She and

her husband cleaned up where Ms. Weatherly’s body had laid. 46 RR 13.

      Ms. Smith testified that, based on her knowledge of Ms. Weatherly’s

habits and the state of Ms. Weatherly’s belongings in the kitchen, she was able

to tell that Ms. Weatherly had been eating cake and drinking coffee soon before

she was murdered. 46 RR 14. Ms. Smith also noticed that Ms. Weatherly’s two

televisions and her computer were missing and that Ms. Weatherly’s dentures

were in the bathroom. 46 RR 14-15. Ms. Smith testified that Ms. Weatherly

would never answer the door while wearing her pajamas and without her

dentures. 46 RR 15. Lastly, Ms. Smith testified that she had last talked to Ms.

Weatherly one week before she was murdered. 46 RR 16.

      Kila Davis testified that she was Ms. Weatherly’s daughter-in-law, she

had known Ms. Weatherly for thirty years, and Ms. Weatherly was her best

friend. 41 46 RR 17. Mrs. Davis met Ms. Weatherly’s son when she was in the

seventh grade. 46 RR 18. Mrs. Davis and her husband built a home, and Ms.

Weatherly moved next door to them. 46 RR 18. Mrs. Davis testified that Ms.

Weatherly did not own a gun and did not lock her doors or gate. 46 RR 20. Mrs.

Davis testified that there were several items missing from Ms. Weatherly’s


41     Trial counsel requested at that point a continuing objection on relevance
grounds. 46 RR 17. The trial court overruled the objected, but granted the request for
a continuing objection. 46 RR 17.
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home: two televisions, one computer, jewelry, cell phones, a truck, and a jar of

change. 46 RR 21. The last time she spoke to Ms. Weatherly was to give her

emergency contact information for when Mrs. Davis and her family were on

vacation, and they told each other “I love you.” 46 RR 22. Mrs. Davis then

testified that she was on a cruise with her husband and children when they got

an emergency phone call from her uncle. 46 RR 23. Mrs. Davis’s husband took

the phone call and she saw her husband with his head down on the table,

distraught, and bawling. 46 RR 24. Mrs. Davis also identified the cassette case

on which Soliz’s fingerprint had been found as belonging to Ms. Weatherly. 46

RR 25.

            2.    Appellate counsel was not ineffective for failing to
                  argue on direct appeal that the trial court improperly
                  allowed the admission of victim-impact evidence
                  during the guilt/innocence phase of trial.

      Soliz raised this IAAC claim during his state habeas proceedings. SHCR-

01 at 86-92. The state court rejected the claim, concluding that the complaint

had not been preserved for appeal. SHCR-01 at 757. Further, the state court

concluded that “the complained-of testimony did not constitute improper

victim-impact testimony evidence in that [it] did not speak of the effect that

Nancy Weatherly’s murder had, and would continue to have, on others.”

SHCR-01 at 757. Rather, the state court found Ms. Smith and Mrs. Davis’s


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testimony established their qualifications to testify by showing they were

acquainted with Ms. Weatherly, detailed the property that was stolen and

showed that Soliz’s entry into the home was without Ms. Weatherly’s consent.

SHCR-01 at 757-58.

      Soliz argues that error with regard to the admission of victim-impact

testimony was preserved for appeal. Petition at 87. But he does not

acknowledge that the state court concluded that such error was not preserved.

SHCR-01 at 757; SHCR-01 at 757 n.38 (citing Tex. R. App. P. 33.1 and Pena v.

State, 285 S.W.3d 459, 464 (Tex. Crim. App. 2009)). Nor does he attempt to

show that the state court’s conclusion was incorrect. 42 Consequently, he fails

to show that appellate counsel were deficient for failing to raise a futile

argument on appeal.

      Nonetheless, Soliz argues that Ms. Smith gave victim-impact testimony

when she testified regarding the “presumed impact on Weatherly’s family

when they heard the news” and “the impact on Smith herself including when



42     It should be noted that it has been held that objecting to testimony at trial on
the grounds the testimony is irrelevant does not preserve an appellate challenge on
the ground that the testimony constituted inadmissible victim-impact testimony.
Karnes v. State, 127 S.W.3d 184, 195 (Tex. App.-Fort Worth 2003, pet. ref’d); see Mays
v. State, 318 S.W.3d 368, 391-92 (Tex. Crim. App. 2010); Guevara v. State, 97 S.W.3d
579, 583 (Tex. Crim. App.) (holding that complaint regarding admission of victim-
impact testimony was not preserved because the objection at trial did not comport
with the complaint raised on appeal).
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she later cleaned up the crime scene.” Petition at 87-88. This testimony does

not constitute victim-impact testimony. See Mosley, 983 S.W.2d at 266 (“Victim

impact evidence is evidence of the effect the death of the complainant has had

on his or her family and friends.”) (Mansfield, J., concurring). None of the

complained-of testimony from Ms. Smith told the jury of the impact Ms.

Weatherly’s murder had on her. In particular, her recalling cleaning up Ms.

Weatherly’s home did not convey the impact Ms. Weatherly’s death had, or

would continue to have, on her or anyone else. Ms. Smith’s testimony was

relevant to inform the jury of the items Soliz had stolen from Ms. Weatherly’s

home and to demonstrate that Soliz had entered Ms. Weatherly’s home

forcefully and without her consent. Consequently, appellate counsel could not

have been ineffective for failing to raise this futile argument on appeal.

      Soliz also argues that Mrs. Davis gave victim-impact testimony when she

testified that Ms. Weatherly cared for her family and related the impact Ms.

Weatherly’s death had on her family. Petition at 88. The only testimony of Ms.

Davis that could be characterized as victim-impact testimony, however, is her

testimony that her husband was distraught and bawling when he was

informed of Ms. Weatherly’s death. 46 RR 24. Nonetheless, the admission of

victim-impact testimony is subject to harmless error review on appeal. Haley

v. State, 173 S.W.3d 510, 518-19 (Tex. Crim. App. 2005) (reviewing admission

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of victim-impact testimony for harm by considering the likelihood the jury’s

decision was adversely affected by the error in light of the evidence admitted

at trial, the nature of the evidence supporting the verdict, and the character of

the alleged error). As noted above, the evidence implicating Soliz in Ms.

Weatherly’s murder was overwhelming. For that reason, Soliz has not shown

that his appeal would have been successful if this issue had been raised.

Consequently, Soliz’s appellate counsel could not have been ineffective for

failing to raise a futile argument on appeal.

III.   Soliz has not Established Cause and Prejudice for the Default of
       His IATC Claim that Trial Counsel Were Ineffective for Opening
       the Door to the Admissibility of Soliz’s Videotaped Confession.

       Soliz argues that his state habeas counsel was ineffective for failing to

raise an IATC claim alleging that trial counsel were ineffective for opening the

door to the admissibility of Soliz’s videotaped interview with police. 43 Petition

at 26-30. He argues that the underlying IATC claim is defaulted because it was

not presented in his initial state habeas application, that the IATC claim is

substantial, and that his state habeas counsel’s failure to raise the claim

amounted to ineffective assistance. As a result, he argues, he has established


43     Soliz’s argument is not a claim for relief, but rather an effort to establish cause
and prejudice for the default of his underlying defaulted IATC claim. Martinez, 132
S. Ct. at 1319-20 (holding that its rule is “equitable,” not “constitutional,” and that a
claim of ineffective assistance of state habeas counsel is not a claim because it does
not provide “an independent basis for overturning his conviction”)
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cause and prejudice under Martinez for the default of the IATC claim. As

discussed below, Soliz’s argument fails because he has failed to show either

that his state habeas counsel was ineffective or that the underlying IATC claim

is substantial.

      A.    Standard of review under Martinez v. Ryan

      It is Soliz’s burden to establish cause and prejudice under Martinez for

the default of his IATC claim. 132 S. Ct. at 1318; McCleskey v. Zant, 499 U.S.

467, 494-95 (1991). In determining whether Soliz has met his burden under

Martinez, this Court must determine whether Soliz’s state habeas counsel was

ineffective by applying the strictures of Strickland and its progeny to counsel’s

performance during the initial state habeas proceedings. Martinez, 132 S. Ct.

at 1318. Consequently, Soliz must show “that [state habeas counsel] was

objectively unreasonable . . . in failing to” raise the particular claim he argues

should have been raised. Smith v. Robbins, 528 U.S. 259, 285 (2000).

      It is “possible to bring a Strickland claim based on counsel’s failure to

raise a particular claim, but it is difficult to demonstrate that counsel was

incompetent.” Id. at 288; see Jones v. Barnes, 463 U.S. 745, 751-53 (1983). For

a court “to second-guess reasonable professional judgments and impose on

appointed counsel a duty to raise every ‘colorable’ claim suggested by a client

would disserve the very goal of vigorous and effective advocacy that underlies
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Anders. Nothing in the Constitution or [the Court’s] interpretation of that

document requires such a standard.” Barnes, 463 U.S. at 754; see also Mayo v.

Lynaugh, 882 F.2d 134, 139 (5th Cir. 1989); Hooks v. Roberts, 480 F.2d 1196,

1198 (5th Cir. 1973). Appellate counsel’s deliberate choice to not raise a

particular claim does not constitute cause for the procedural default of that

claim. Smith v. Murray, 477 U.S. 527, 533-34 (1986). If this Court finds that

state habeas counsel was ineffective for failing to raise the underlying IATC

claim, the Court must determine whether the underlying claim is

“substantial,” i.e., “has some merit.” Martinez, 132 S. Ct. at 1318-19 (citing

Miller-El v. Cockrell, 537 U.S. 322, 327 (2003) (a petitioner makes a

“substantial showing of the denial of a constitutional right” by demonstrating

“that jurists of reason could . . . conclude the issues presented are adequate to

deserve encouragement to proceed further”)).

       Further, as discussed above, a petitioner’s claim that he was denied

constitutionally effective assistance of trial counsel requires him to prove both

that (1) counsel rendered deficient performance, and (2) counsel’s actions

resulted in actual prejudice. Strickland, 466 at 687-88, 690. Failure to prove

either deficient performance or prejudice will defeat an ineffective-assistance-

of-counsel claim, making it unnecessary to examine the other prong. Id. at

687.

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      If this Court finds that Soliz has established that state habeas counsel

was ineffective for failing to raise the underlying IATC claim and that the

IATC claim is substantial, the Court must then determine whether Soliz was

prejudiced by state habeas counsel’s failure to raise the claim, i.e., whether the

state habeas court would have granted Soliz relief on the underlying IATC

claim if it had been raised. See Strickland, 466 U.S. at 694; see also Sexton v.

Cozner, 679 F.3d 1150, 1159 (9th Cir. 2012) (“In applying this standard,

Martinez made clear that a reviewing court must determine whether the

petitioner’s attorney in the first collateral proceeding was ineffective under

Strickland, whether the petitioner’s claim of ineffective assistance of trial

counsel is substantial, and whether there is prejudice.”) (emphasis in original).

Finally, if this Court finds that Soliz was prejudiced, the Court will conduct a

merits review of the IATC claim. Martinez, 132 S. Ct. at 1320 (“A finding of

cause and prejudice . . . merely allows a federal court to consider the merits of

a claim that otherwise would have been procedurally defaulted.”).

      B.    Soliz has failed to show that state habeas counsel was
            ineffective.

      Soliz makes no attempt to demonstrate that state habeas counsel

performed deficiently. Petition at 26-30. For example, Soliz does not attempt

to rebut the presumption that state habeas counsel performed effectively by


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making a deliberate decision to weed-out the underlying IATC claim and focus

on other stronger claims. 44 See Robbins, 528 U.S. at 288-89; United States v.

Williamson, 183 F.3d 458, 462-63 (5th Cir. 1999) (stating that review of

appellate counsel’s performance is deferential and presumes that counsel’s

conduct fell “within the ride range of reasonable professional assistance”). As

a result, Soliz’s effort to establish cause and prejudice under Martinez fails

because Martinez requires a showing that state habeas counsel performed

deficiently.

      Further, state habeas counsel filed a 141-page application, raising

eighteen claims for relief including ten IATC claims and supported the claims

with several exhibits. SHCR-01 at 8-444. In light of the lengthy application

filed by state habeas counsel, Soliz fails to rebut the presumption that state

habeas counsel performed reasonably. Nonetheless, as discussed below the

underlying IATC claim is insubstantial and without merit.

      C.       Soliz has failed to show that the underlying IATC claim is
               substantial.

      Soliz’s underlying IATC claim is that his trial counsel were ineffective

for “opening the door” to the admission of his videotaped interview with police.


44     As noted below, Soliz’s argument requires him to overcome two presumptions
of reasonableness, i.e., that his state habeas counsel performed reasonably and that
trial counsel made the reasonable strategic decision to offer Soliz’s videotaped
interview into evidence.
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Petition at 26-30. But as discussed below, the IATC claim is insubstantial and,

for the same reason, Soliz cannot show that he was prejudiced by state habeas

counsel’s failure to raise an insubstantial claim.

      As discussed above, trial counsel filed a pre-trial motion to suppress

Soliz’s statements to police. 2 CR 264-67. The trial court held a two-day

hearing, after which it entered findings and denied the motion to suppress. 9

CR 1746-50. During the cross-examination of Detective Paine, trial counsel

offered into evidence Soliz’s videotaped interview with police. 41 RR 135; DX

8. At that time, the trial judge excused the jury and asked trial counsel whether

they indeed intended to offer the evidence. 41 RR 134-35. Trial counsel

confirmed that they so intended, and trial counsel then published the videotape

to the jury. 41 RR 138. After publishing the videotape to the jury, trial counsel

asked Detective Paine questions about his earlier assertion on direct

examination that Soliz was smarter than his cohort Ramos. 41 RR 100-01, 138-

39. Trial counsel asked Detective Paine whether “smart criminals” use drugs

and then commit crimes (as Soliz had admitted in the interview), engage in

high-speed car chases with police (as Soliz had admitted in the interview),

waive their rights and speak to the police (as Soliz did in the interview), or

implicate themselves on videotape (as Soliz did in the interview). 41 RR 138-

39. Trial counsel also asked Detective Paine whether smart criminals invoke

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their rights like Ramos did. 41 RR 139. Lastly, Detective Paine asked whether

smart criminals use “dumb criminals to do their dirty work.” 41 RR 140.

Thereafter, the State offered into evidence Soliz’s two written statements. 41

RR 148-49. Trial counsel stated that the defense has “[n]o additional

objections” to the admission of the written statements. 41 RR 150.

      During the state habeas proceedings, trial counsel, Michael Heiskell,

provided the court with an affidavit. SHCR-01 at 556-57. Mr. Heiskell

responded to Soliz’s claim that trial counsel were ineffective for failing to hire

a false confession expert to testify at the hearing on the motion to suppress.

SHCR-01 at 556-57. Mr. Heiskell explained that they did not hire a false

confession expert “because [they] felt it was totally unnecessary in light of the

totality of the circumstances surrounding the confession, and the corroborating

evidence that existed connecting Mr. Soliz to the crimes.” SHCR-01 at 556. As

the affidavit makes clear, trial counsel believed that Soliz’s statements were

admissible. Trial counsel also acknowledged that the evidence of Soliz’s guilt

was “overwhelming,” and they proceeded with a “strategy of focusing on the

equally compelling and overwhelming nature of mitigation.” SHCR-01 at 556.

And at the time trial counsel offered Soliz’s videotaped interview into evidence,

the trial court had denied the motion to suppress the statements. It is clear



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that trial counsel made the strategic decision to then use Soliz’s confessions in

order to support their case in mitigation.

      This strategy was borne out throughout the trial. Trial counsel

attempted to show that the effects of Soliz’s FASD, drug use, and chaotic

upbringing caused him to act irrationally and impulsively, that Ramos was the

leader in the commission of the robberies and murders, and that Soliz was the

follower. Indeed, trial counsel laid the groundwork for its mitigation case

during the guilt/innocence phase of trial. 38 RR 231-36 (trial counsel’s cross-

examination of Sammy Abu-Lughod emphasizing that Soliz’s robbery of Abu-

Lughod took place in daylight with witnesses nearby and that Soliz made a

“crazy” comment as he drove away in Abu-Lughod’s car); 39 RR 11 (trial

counsel’s cross-examination of Officer Jerry Cedillo asking whether the abuse

of drugs can lead an individual to commit crimes); 39 RR 85-95, 110-13, 119-

20 (trial counsel’s cross-examination of Officer Jesus Alaniz regarding the risk

factors that lead a young person to join a gang); 41 RR 89-90 (Detective Paine’s

testimony on cross-examination that Ramos invoked his right to counsel and

refused to sign a statement and that Ramos said that Soliz was “not all there

mentally”), 100 (Detective Paine’s testimony that criminals take advantage of

others to act on their behalf); 42 RR 32-38 (Detective Paine’s testimony on

cross-examination that Ramos gave the gun used in the shootings to Soliz and

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that Ramos was an active participant in the offenses); 45 RR 215 (trial counsel

stating during cross-examination of Detective John Lewallen that Soliz’s

breaking glass with his hand while breaking into a house was “not the

brightest thing to do”); 47 RR 56-62 (trial counsel’s closing argument that

Ramos was more intelligent than Soliz, and that the police talked Soliz into

confessing). Trial counsel used Soliz’s confession to bolster this strategy by

showing that Soliz was gullible and did things that were not “smart,” as

compared to Ramos. Such a strategy was entirely consistent with trial

counsels’ effort to focus on a compelling and overwhelming showing of

mitigation during the punishment phase of trial by showing the effects of

Soliz’s upbringing and FASD. Even if trial counsels’ strategy would likely not

result in a more favorable guilt/innocence verdict, the strategy was a plainly

reasonable one in attempting to secure a life sentence. In light of the

overwhelming evidence of Soliz’s guilt, Soliz fails to rebut the presumption that

trial counsels’ strategy was reasonable.

      Moreover, Soliz complains only that trial counsel waived any error in the

admission of the videotaped interview with police by offering that evidence.

Petition at 26-30. He does not allege that trial counsel were ineffective for

failing to object to the admission of Soliz’s two written statements. Petition at

26-30. Again, Soliz’s written confessions detail his involvement in several

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extraneous aggravated robberies and his murder of Ms. Weatherly. SX 2, 3. As

a result, Soliz cannot show that he was prejudiced by trial counsels’ offering

into evidence the videotape of the interview because Soliz’s statements in the

interview, SX 1-A, are cumulative of his two written statements. SX 2, 3.

      For the reasons discussed above, Soliz’s attempt to establish cause and

prejudice for the procedural default of the underlying IATC claim fails.

Therefore, the IATC claim should be dismissed as procedurally defaulted.

      D.     Alternatively, Soliz’s underlying IATC claim is meritless.

      For the same reasons discussed above, Soliz’s IATC claim is meritless.

Consequently, even if this Court were to review the merits of the IATC claim,

the claim would be subject to denial.

IV.   Soliz’s Claim that His Death Sentence Violates His Rights to Due
      Process and to Be Free from Cruel and Unusual Punishment
      because He Suffers from Fetal Alcohol Spectrum Disorder Is
      without Merit.

      Soliz argues that his death sentence violates his rights to due process

and to be free from cruel and unusual punishment because he suffers from

FASD. 45 Petition at 131-53, 192-94. He argues that individuals who suffer from

FASD suffer from similar deficits as the intellectually disabled and,



45    Notably, Soliz raised this claim in his petition for a writ of certiorari on direct
appeal. Soliz v. Texas, No. 14-6320 (2015). The Supreme Court denied the petition.
Id.
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consequently, the Supreme Court’s holding in Atkins v. Virginia, 46 should be

extended to such individuals from capital punishment. Petition at 131-53, 192-

94. The claim is without merit.

      A.    There is no consensus or emerging consensus in favor of
            prohibiting the execution of capital offenders with FASD,
            as no state legislature has enacted such a prohibition.

      The Court in Atkins, held that the Eighth Amendment prohibits the

execution of the intellectually disabled. 536 U.S. at 321. Individuals who are

not intellectually disabled, however, “are unprotected by the [Atkins]

exemption and will continue to face the threat of execution.” Id. at 320. Soliz

does not contend that he is intellectually disabled. Indeed, Soliz’s experts

acknowledged at trial that Soliz is not intellectually disabled because he has

an I.Q. of ninety, which is well above the threshold I.Q. score of seventy (or

seventy-five, accounting for the standard error of measurement). 55 RR 45-46;

see Hall v. Florida, 134 S. Ct. 1986, 1994-99 (2014). But Soliz argues that he

should be exempt from the death penalty on the basis of his diagnosis of PFAS.

Petition at 131-53, 192-94. He argues that individuals with FASD should be

exempt from execution because FASD causes cognitive and adaptive deficits

similar to those of an intellectually disabled individual and that the reasoning

underlying the Court’s Atkins decision mandates that individuals with FASD


46    536 U.S. 304 (2002).
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also be exempted from execution. Petition at 132-37. Soliz’s request to extend

the Atkins holding should be rejected.

      The Eighth Amendment draws its meaning from “the evolving standards

of decency that mark the progress of a maturing society.” Atkins, 536 U.S. at

311-12. In considering whether to impose a categorical bar to the death

penalty, the Court first considers “‘objective indicia of society’s standards, as

expressed in legislative enactments and state practice’ to determine whether

there is a national consensus against the sentencing practice at issue.” Graham

v. Florida, 560 U.S. 48, 61 (2010) (quoting Roper v. Simmons, 543 U.S. 551,

572 (2005)). “[T]he clearest and most reliable objective evidence of

contemporary values is the legislation enacted by the country’s legislatures.”

Atkins, 536 U.S. at 312 (quoting Penry v. Lynaugh, 492 U.S. 302, 331 (1989)).

      In Atkins, the Court revisited its earlier decision in Penry, in which the

Court had determined that there was no national consensus against executing

an intellectually disabled individual. 536 U.S. at 314. The Court noted in

Atkins, “[m]uch has changed since” Penry was decided. 536 U.S. at 314. Only

two state legislatures had enacted prohibitions against executing intellectually

disabled individuals at the time Penry was decided, but eighteen states had

banned such executions and similar legislation was pending in several other

states at the time the Court decided Atkins. Id. at 314-15. The Court noted that

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it was “not so much the number of these States that [was] significant, but the

consistency of the direction of change,” id. at 315, and further noted that its

conclusion was bolstered by the increasingly infrequent execution of such

individuals even in states without bans. Id. at 316.

      In Simmons, the Court likewise relied on a “national consensus” to

determine the scope of the categorical ban on the execution of a juvenile capital

offender. 543 U.S. at 574. The Court described the national consensus against

the death penalty for juveniles as “similar, and in some respects parallel” to

the national consensus relied upon in Atkins. Id. at 565. Specifically, eighteen

of the states that imposed the death penalty had prohibited the “juvenile death

penalty.” Id. The Court also noted that even in states without the prohibition,

only three had executed offenders in the previous ten years for crimes

committed as juveniles. Id. The Court summarized that

      the objective indicia of consensus in this case—the rejection of the
      juvenile death penalty in the majority of States; the infrequency
      of its use even where it remains on the books; and the consistency
      in the trend toward abolition of the practice—provide sufficient
      evidence that today our society views juveniles . . . as categorically
      less culpable than the average criminal.

Id. at 567 (internal quotation marks omitted).

      Hall v. Florida reaffirmed that Atkins “did not give the States unfettered

discretion to define the full scope of the constitutional protection.” 134 S. Ct. at


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1998. Hall made clear that the “national consensus” identified in Atkins

defined that scope. Thus, in assessing whether Florida’s strict cutoff of a

seventy I.Q. in identifying capital offenders with intellectual disability was

permissible, the Court once again looked to state legislatures to determine the

prevailing “national consensus.” Id. at 1996-98. Finding that only one other

state imposed a strict I.Q. cutoff, the Court concluded, “[t]he rejection of the

strict [seventy] cutoff in the vast majority of States and the ‘consistency in the

trend’ toward recognizing the [standard error of measurement] provide strong

evidence of consensus that our society does not regard this strict cutoff as

proper or humane.” Id. at 1998 (quoting Simmons, 543 US at 572).

      Thus, each of the Court’s decisions adopting a categorical ban on the

death penalty has done so based on a clearly identifiable “national consensus”

that executions of a person in that particular category should be prohibited.

Soliz does not even attempt to demonstrate that a national consensus currently

exists against imposing the death penalty on individuals with FASD. Indeed,

no legislature has prohibited the execution of capital offenders with FASD.

Accordingly, it has been held that the Atkins exemption does not extend to

individuals with FASD. Faulkner v. State, 2014 WL 4267460, at *83-85 (Tenn.

Crim. App. 2014); Trevino v. Thaler, 678 F. Supp. 2d 445, 479-80 (W.D. Tex.

2009), vacated and remanded on other grounds, 133 S. Ct. 1911 (2013).

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      Notably, courts have repeatedly refused to extend the Atkins holding to

the mentally ill based on the assertion that they suffer from similar

impairments as the intellectually disabled. Ward v. Stephens, 777 F.3d 250,

269 (5th Cir. 2015); Mays v. Stephens, 757 F.3d 211, 219 (5th Cir. 2014);

Franklin v. Bradshaw, 695 F.3d 439, 455 (6th Cir. 2012); People v. Boyce, 330

P.3d 812, 849-53 (Cal. 2014) (“[T]here is no objective evidence that a national

consensus has developed against executing persons with intellectual

impairment short of intellectual disability or insanity.”) (emphasis in original);

State v. Mammone, 13 N.E.3d 1051, 1089-90 (Ohio 2014) (noting that no court

“has ever recognized the seriously mentally ill as a category of offenders who

cannot be constitutionally executed”); State v. Dunlap, 313 P.3d 1, 35-36 (Idaho

2013) (collecting cases); Malone v. State, 293 P.3d 198, 216 and n.10 (Okla.

Crim. App. 2013); id. at 216 n.10 (collecting cases); Commonwealth v.

Robinson, 82 A.3d 998, 1019-22 (Pa. 2013); Carroll v. State, 114 So.3d 883, 886-

88 (Fla. 2013); Schoenwetter v. State, 46 So.3d 535, 562-63 (Fla. 2010) (refusing

to extend Atkins to capital offender with Asperger’s Syndrome, ADHD, or

frontal lobe damage); Mays v. State, 318 S.W.3d 368, 379-80 (Tex. Crim. App.

2010); State v. Irick, 320 S.W.3d 284, 297-98 (Tenn. 2010); Johnston v. State,

27 So.3d 11, 26-27 (Fla. 2010); Commonwealth v. Baumhammers, 960 A.2d 59,



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96-97 (Pa. 2008); 47 Lawrence v. State, 969 So.2d 294, 300 n.9 (Fla. 2007); State

v. Hancock, 840 N.E.2d 1032, 1059-60 (Ohio 2006); Matheney v. State, 833

N.E.2d 454, 456-58 (Ind. 2005); Lewis v. State, 620 S.E.2d 778, 786 (Ga. 2005);

Battaglia v. State, 2005 WL 1208949, at *10 (Tex. Crim. App. 2005) (refusing

to extend Atkins to capital offender with bipolar disorder). Consequently, Soliz

has not demonstrated that a national consensus exists in favor of prohibiting

the execution of individuals with FASD and his Eighth Amendment claim

necessarily fails.

      To be sure, the Court in Atkins discussed the “reduced capacity” of

intellectually disabled individuals as a “justification” for the categorical ban on

executing such individuals. Atkins, 536 US at 320. But the Court did so in the

context of providing “reasons consistent with the legislative consensus that the

mentally retarded should be categorically excluded from execution,” and in the

context of making an “independent evaluation” of the issue. Id. at 318, 320.

Atkins does not suggest that in the absence of a national consensus, the



47     The concurring opinion in Baumhammers noted that only one state,
Connecticut, had implemented legislation prohibiting the execution of a mentally ill
capital offender. 960 A.2d at 105 n.4 (Todd, J. concurring). That legislation prohibited
the execution of an offender whose “mental capacity was significantly impaired” or
“ability to conform [his] conduct to the requirements of the law was significantly
impaired but not so impaired . . . as to constitute a defense to prosecution.” Conn.
Gen. Stat. Ann. § 53a-46a(h) (2012). Connecticut subsequently repealed the death
penalty. See State v. Roszkowski, 2013 WL 5614585, at *7 (Conn. Super. Ct. 2013).
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reduced capacity of a group of individuals who are not intellectually disabled

provides grounds for a new categorical ban on their execution. Indeed, the

Court undertakes such an independent evaluation only after finding that a

consensus exists. Id. at 313 (“[I]n cases involving a consensus, our own

judgment is ‘brought to bear’ by asking whether there is reason to disagree

with the judgment reached by the citizenry and its legislators.”) (quoting Coker

v. Georgia, 433 US 584, 597 (1977)) (emphasis added; internal citation

omitted). Nonetheless, as discussed below, Soliz has failed entirely to

demonstrate that individuals with FASD should be categorically exempt from

the death penalty.

      No national consensus exists against executing an individual with

FASD. Consequently, the Eighth Amendment does not prohibit the execution

of individuals with FASD and the issue is not worthy of the Court’s attention.

      B.    Soliz has failed to demonstrate that the penological
            purposes of the death penalty are not served by permitting
            the execution of individuals with FASD.

      Soliz asserts that his FASD renders him unable to act with the level of

moral culpability that characterizes the most serious adult criminal conduct.

Petition at 132-36. Accordingly, Soliz argues, his impairments (e.g.,

impulsivity, inability to plan or learn from mistakes) caused by FASD reduce



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his moral culpability and reduce the deterrent effect of the death penalty.

Petition at 132-37, 192-94. Soliz is incorrect.

      First, it should be noted again that Soliz does not suffer from FAS. 53

RR 214; 55 RR 36. Soliz’s experts, Drs. Adler, Connor, and Brown, testified

regarding FASD. The experts testified that Soliz’s mother frequently drank

alcohol and sniffed paint during her pregnancy with Soliz. See, e.g., 53 RR 88-

90, 104. They testified that her ingestion of those substances during pregnancy

adversely affected the development of Soliz’s brain. See, e.g., 53 RR 54. Dr.

Adler described the spectrum of FASD, which includes the following categories:

(1) FAS with confirmed maternal exposure; (2) FAS without confirmed

maternal exposure; (3) PFAS; (4) ARND; and (5) ARBD. 53 RR 59-61, 70-71. In

order to diagnose an individual with FAS, the individual must possess, inter

alia, three characteristic facial abnormalities: (1) a smooth philtrum; (2) a flat

upper lip; and (3) a palpebral fissure that is shortened horizontally by two or

more standard deviations from the norm. 53 RR 46, 61, 142, 144-45. Soliz

lacked those facial abnormalities and, consequently, could not be diagnosed

with FAS. See, e.g., 53 RR 109-10, 145, 148. But Soliz’s experts diagnosed him

with PFAS due to his deficits in cognitive and executive functioning and

prenatal exposure to alcohol. See, e.g., 54 RR 69. Soliz’s experts acknowledged,

however, that the international scientific community has not reached a

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consensus “regarding evidence-based diagnostic criteria for any prenatal

alcohol related condition other than FAS,” and that “the only diagnostic

category with scientific evidence to support clinical criteria is FAS.” 53 RR 163;

see 53 RR 159-61; 55 RR 39.

      Therefore, in light of the absence of a scientific consensus as to the

diagnostic criteria of the different conditions within the FASD spectrum,

Soliz’s request to impose a blanket and categorical prohibition on the execution

of individuals with FASD is entirely overbroad. Soliz essentially asks the Court

to “establish a new, ill-defined category of murderers who would receive a

blanket exemption from capital punishment without regard to the

individualized balance between aggravation and mitigation in a specific case.”

Hancock, 840 N.E.2d at 1059-60. It would be seemingly impossible to say that

individuals with FASD are necessarily and categorically less morally culpable

without even having agreed-upon criteria with which to diagnose those

individuals. The inability of scientists to delineate, based upon scientific

criteria, between the different diagnoses under FASD is an important reason

to reject Soliz’s request for a blanket and categorical prohibition of the

execution of individuals with FASD.

      Moreover, Dr. Adler testified that a diagnosis of ARBD, one of the

diagnoses within the spectrum of FASD, may be made where the individual

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was exposed in utero to alcohol but does not suffer from neurological and

behavioral impairment, although the individual may suffer from physical

impairments caused by the prenatal exposure to alcohol. 53 RR 70-71. Soliz’s

request that the Court prohibit the execution of individuals who suffer from

FASD is, therefore, entirely overbroad where such a prohibition would exempt

from the death penalty individuals who do not have “reduced capacity.”

      Nonetheless, Soliz has not shown that the penological goals of

retribution and deterrence are not furthered by permitting the execution of

individuals with FASD. The Court stated in Atkins that intellectually disabled

individuals   “have   diminished   capacities   to    understand   and   process

information, to communicate, to abstract from mistakes and learn from

experience, to engage in logical reasoning, to control impulses, and to

understand the reactions of others.” 536 U.S. at 318. Those deficiencies

“diminish [the intellectually disabled’s] personal culpability” such that their

execution does not “measurably contribute” to either penological goal of the

death penalty, retribution or deterrence. Id. For example, the Court stated that

the execution of the intellectually disabled would not serve as a deterrent

because intellectually disabled individuals are, due to their diminished ability

to engage in logical reasoning or control impulses, unable to premeditate and

deliberate prior to committing a murder by controlling their conduct based on

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the possibility of receiving the death penalty. Id. at 320. Moreover, the Court

stated that the intellectually disabled’s “reduced capacity” creates a risk that

those individuals will falsely confess, fail to make a persuasive showing in

mitigation, or be able to assist their counsel. Id. at 320-21.

      According to Soliz’s witnesses, he was, unlike intellectually disabled

individuals, able to conform his conduct despite his alleged PFAS. 55 RR 25-

26; see Atkins, 536 U.S. at 320. Soliz’s PFAS also did not prevent him from

knowing right from wrong. 51 RR 154; 52 RR 44-45, 52; 55 RR 229, 279.

Moreover, Soliz has not shown that his PFAS caused him to commit this capital

murder or to falsely confess to it, that he was unable to give meaningful

assistance to his counsel, or that his PFAS was a “double-edged sword.” Id.

320-21; see Boyce, 330 P.3d at 851. Indeed, the substantial amount of evidence

presented by the defense during both phases of trial belies any suggestion that

Soliz was unable to adequately assist his counsel in presenting his case.

Further, unlike intellectually disabled individuals, who the Court noted in

Atkins are not “more likely than others to engage in criminal conduct than

others,” Atkins, 536 U.S. at 318, Soliz’s experts testified that over half, “about

sixty percent,” of individuals with FASD have “trouble with the law.” 53 RR72;

54 RR 78, 83-84.



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      Moreover, the evidence presented at trial showed that Soliz was not a

follower in this crime and his crime spree showed his ability to plan and

premeditate. Detective Paine testified that in his opinion, Soliz was more

sophisticated, calculated, and dangerous than Ramos. 41 RR 100-01. Detective

Paine testified that, in his sixteen years as a police officer, Soliz was the most

dangerous person with whom he had come into contact. Id. at 101. Prior to the

crime spree, Soliz told Ramon Morales, to whom Soliz sold guns he had stolen,

that he would not sell Morales some of the guns he had because he had “plans

for them.” Soliz, 432 S.W.3d at 897. Notably, Soliz’s cohort, Ramos, did not

participate in all of Soliz’s crimes. 41 RR 48. After committing the instant

capital murder, Soliz planned to obtain more ammunition “so that he could kill

a girl who had seen him shoot [Luis] Luna because [Soliz] had heard that she

had talked to a detective.” Soliz v. State, 432 S.W.3d at 902. Further, Soliz

targeted Ruben Martinez because he believed he would have a significant

amount of money, and he then lay-in-wait behind a dumpster to rob Ruben.

This evidence, and the evidence that Soliz planned and intended to silence a

witness to one of his crimes entirely contradicts the suggestion that Soliz’s

PFAS prevented him from being able to plan or premeditate such that he is

less morally culpable than other murderers.



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      Soliz presented extensive amounts of testimony and documentary

evidence of FASD and his upbringing. That evidence was fully before the jury,

and the jury properly considered it when it answered the special issues. The

jury is the proper arbiter in a case like this to weigh the evidence and make

the determination of whether the death penalty is warranted. Soliz has failed

to show that the penological purposes served by the death penalty do not apply

to him or generally to individuals with FASD. For these reasons, Soliz fails to

justify a blanket and categorical ban on executions of individuals with FASD.

And because the Supreme Court has not extended Atkins to exempt individuals

suffering from FASD from capital punishment, the state court’s rejection of

Soliz’s claim was reasonable. Consequently, his claim should be denied.

V.    Soliz’s Challenges to the Texas Death Penalty Scheme Are
      without Merit.

      Soliz makes several arguments challenging the constitutionality of the

Texas death penalty scheme. Specifically, he argues that the trial court erred

in (1) denying his motion to declare the “10-12” rule unconstitutional, (2)

providing the jury during the punishment phase of trial with an instruction

that restricted the type of evidence the jury could consider mitigating, and (3)

providing the jury during the punishment phase of trial with a future

dangerousness instruction that is unconstitutionally vague. Petition at 153-71,


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177-92. He also argues that the death penalty is unconstitutional because it is

arbitrarily administered. Petition at 171-77. Soliz’s claims are without merit.

      A.    Soliz’s claim that the “10-12” rule is unconstitutional is
            without merit.

      Soliz argues that the “10-12” rule prevents jurors from considering and

giving effect to mitigating evidence. 48 Petition at 154. The claim is foreclosed

by precedent and without merit.

      Under the so-called “10-12” Rule, juror unanimity is required during the

punishment phase to find that the defendant poses a future danger. See Article

37.071, § 2(d). To answer “no” to the future dangerousness issue, at least ten

jurors must agree. See Article 37.071, § 2(b)(1), (d)(2). Next, when the jurors

are asked whether they find mitigation sufficient to assess a punishment other

than death, unanimity is required for a “no” answer and a vote of ten is

required for a “yes” answer. Article 37.071, § 2(e)(1), (f). If, however, the jurors

are not unanimous in voting “yes” on future danger and are not unanimous in

voting “no” on mitigation, the trial court, regardless of whether ten jurors agree

to vote “no” on future danger and “yes” on mitigation, will sentence the

defendant to life in prison. Article 37.071, § 2(g). Neither the court nor the




48    Soliz notes that he does not argue that the jury must be instructed of the
consequences of a single holdout juror. Petition at 155.
                                        166
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attorneys may tell the jurors the legal consequence of their failure to achieve

unanimity leading to a death sentence. Article 37.071, § 2(a)(1).

      Soliz argues that the Texas system violates those principles set out in

Mills v. Maryland, 49 and re-emphasized in McKoy v. North Carolina. 50 But the

principles set out in Mills are inapposite. There, the Maryland statute had

been written such that an individual would be sentenced to death unless the

jurors unanimously agreed which mitigating factor justified a life sentence.

486 U.S. at 371. Hence, even if all jurors agreed that the individual should

receive a life sentence, but disagreed about which specific mitigating factor was

sufficient, the individual would be sentenced to death. Id. The Supreme Court

held that the system violated the Eighth Amendment. Id. at 375.

      In McKoy, the Supreme Court reviewed a similar North Carolina statute.

494 U.S. 433. Again, before the jurors could give effect to the defendant’s

mitigating evidence, they had to agree unanimously about which mitigating

factor had been proven. See id. at 439. Hence, a single holdout juror would lead

to a death sentence. See id.

      Under the Texas system, the jurors need not agree about any specific

mitigating factor. Before a defendant receives a death sentence, the jurors


49    486 U.S. 367 (1988).

50    494 U.S. 433 (1990).
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must be unanimous that he poses a future danger and must be unanimous that

there is insufficient mitigation. Any lack of unanimity—any juror holdout—

will lead to a life sentence. The Texas system, therefore, does not violate those

principles set out in Mills and McKoy.

      The Fifth Circuit has consistently determined that the “10-12” Rule does

not violate the Eighth Amendment or the Fourteenth Amendment. Reed v.

Stephens, 739 F.3d 753, 779 (5th Cir. 2014); Sprouse v. Stephens, 748 F.3d 609,

623 (5th Cir. 2014); Blue v. Thaler, 665 F.3d 647, 669-70 (5th Cir. 2011); Druery

v. Thaler, 647 F.3d 535, 544 (5th Cir. 2011) (rejecting petitioner’s argument

that Caldwell v. Mississippi, 472 U.S. 320 (1985) provided a basis upon which

to challenge the 10-12 rule); Hughes v. Dretke, 412 F.3d 582, 594 (5th Cir.

2005); Miller v. Johnson, 200 F.3d 274, 288-89 (2000); Parr v. Thaler, 481 F.

App’x 872, 878-79 (5th Cir. 2012) (unpublished). Soliz has not shown that the

state court’s resolution of this issue involved an unreasonable application of

Supreme Court precedent, i.e., Mills, McKoy, and Jones. See § 2254(d). Any

attempt to extend the holding of Mills, McKoy, or Jones to the Texas system is

barred by the rules against retroactive application of a new constitutional rule

in habeas proceedings. See Teague, 489 U.S. at 311. Consequently, Soliz’s claim

must be denied.



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      Relatedly, Soliz argues that opinions of the Sixth and Seventh Circuits

“show that clearly established federal law requires that capital jurors be made

aware of their individual power to prevent the death penalty by giving effect

to mitigating circumstances absent an agreement of the other jurors regarding

the presence of those mitigating circumstances. Petition at 161-64 (citing Davis

v. Mitchell, 318 F.3d 682, 690 (6th Cir. 2003); Kubat v. Thieret, 867 F.2d 351,

369 (7th Cir. 1989)) (internal quotation marks omitted). But as the Supreme

Court has stated, “AEDPA permits habeas relief only if a state court’s decision

is ‘contrary to, or involved an unreasonable application of, clearly established

Federal law’ as determined by this Court, not by the courts of appeals.” Lopez

v. Smith, 135 S. Ct. 1, 4 (2014) (quoting 28 U.S.C. § 2254(d)(1)) (emphasis

added). Consequently, Soliz’s claim fails to meet the standard of AEDPA

because he does not point to clearly established law from the Supreme Court

that supports his claim. Further, this Court in Druery explicitly rejected the

extension of Kubat. Druery, 647 F.3d at 543. This Court in Allen v. Stephens,

805 F.3d 617, 632 n.3 (5th Cir. 2015), also rejectedthe argument that Davis

and Kubat call into question this Court’s jurisprudence. Therefore, the claim

should be denied.

      Finally, while Soliz “concedes that this claim has been consistently

rejected” by the Fifth Circuit because it is both meritless and barred by Teague,

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he argues that the court’s precedent has not addressed whether the claim was

affected by the 1991 change in law in light of Penry v. Lynaugh, 492 U.S. 302

(1989). Petition at 165-71. But the Fifth Circuit has also rejected this

argument. Davila v. Davis, --- F. App’x ---, 2016 WL 3171870, at *7-8 (5th Cir.

2016) (citing Allen, 805 F.3d at 624, 631-33). As noted in Allen, the Fifth Circuit

has rejected this very claim in numerous cases involving capital murders

committed after 1991. 805 F.3d at 632-33. For example, the Fifth Circuit has

rejected the Mills argument in Reed, Parr, Druery, and Hughes, cited above.

      Mills continues to have no application to states like Texas that do not

require the jury to make threshold factual determinations that limit the

mitigating evidence available to be weighed by the jury on the ultimate

sentencing issues. Mills found Eighth Amendment error because jury-

unanimity instructions created a “substantial probability that individual

jurors . . . may well have thought they were precluded from considering any

mitigating evidence unless all 12 jurors agreed on the existence of a particular

such circumstance.” Mills, 486 U.S. at 384. But Texas does not require jurors

to agree on what evidence they deem mitigating before they can consider that

factor in the ultimate sentencing issues. As the Fifth Circuit has concluded,

the Texas system “is completely different from that in Mills.” Jacobs, 31 F.3d

at 1328. “Under the Texas system, all jurors can take into account any

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mitigating circumstance. One juror cannot preclude the entire jury from

considering a mitigating circumstance.” Id. at 1329.

      This holding is no less true under the post-1991 statute, which created

the mitigation special issue in response to the Penry decision that jurors may

have been precluded from considering some evidence as mitigating under the

former statute. The current mitigation special issue was created to solve this

problem. See Blue, 665 F.3d at 665. Therefore, Soliz’s attempt to distinguish

his case from the Fifth Circuit’s precedent fails.

      Soliz argued on direct appeal and during his state habeas proceedings

that his constitutional rights were violated because the 10-12 rule created

confusion among the jurors regarding the effect of their vote. Brief at 77-83;

SHCR-01 at 136-42. The claim was rejected in both instances. Soliz v. State,

432 S.W.3d at 904; SHCR-01 at 766. For the reasons discussed above, the state

court’s rejection of this claim was reasonable and Soliz’s claim improperly calls

for application of a new rule of constitutional law in violation of Teague.

Therefore, the claim should be denied.

      B.    The punishment phase jury instructions did not restrict
            the type of evidence the jury could consider mitigating.

      Soliz next claims that the trial court’s instruction to the jury was

unconstitutional because it limited the definition of mitigating evidence to


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evidence that made Soliz less morally blameworthy. Petition at 177-86. He

argues that a jury must also be permitted to consider a defendant’s background

and character as mitigating evidence. Petition at 184. Soliz’s claim is without

merit.

      Soliz argues that the Supreme Court held in Skipper v. South Carolina, 51

that mitigating evidence includes any mitigating evidence to a defendant’s

character and background that militates in favor of a life sentence. Petition at

184. But as the Fifth Circuit has recognized, “nothing in Skipper lends any

support to . . . the broader contention that it is unconstitutional to define

mitigating evidence as evidence that reduces moral blameworthiness.” Blue,

665 F.3d at 667; see Sprouse, 748 F.3d at 622; Beazley, 242 F.d at 260 (“[O]ur

reading of the statute leads us to conclude that the amended statute does not

unconstitutionally preclude[ ] [the jury] from considering, as a mitigating

factor, any aspect of a defendant’s character or record and any circumstances

of the offense that the defendant proffers as a basis for a sentence less than

death.”). Soliz does not identify any change in law pertinent to this claim.

      Soliz raised this claim on direct appeal and during his state habeas

proceedings. Brief at 75-76; SHCR-01 at 152-57. The claim was rejected in both

instances. Soliz v. State, 432 S.W.3d at 904; SHCR-01 at 768. For the reasons


51    476 U.S. 1 (1986).
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discussed above, the state court’s rejection of this claim was reasonable and

the claim is foreclosed by controlling precedent. Lastly, Soliz’s claim

impermissibly calls for application of a new rule on collateral review, which is

barred by the prohibition against retroactivity. See Teague, 489 U.S. at 311.

Therefore, the claim should be denied.

      C.    The definitions of the terms in the future dangerousness
            special issue provided to Soliz’s jury were constitutionally
            adequate.

      Soliz argues that “[t]he future dangerousness special issue is

unconstitutionally vague, fails to narrow the class of death-eligible defendants,

leads to the arbitrary and capricious imposition of the death penalty, and limits

the jury’s ability to give full consideration to evidence that may serve as a basis

for a sentence less than death.” Petition at 188. Soliz seems to complain

specifically regarding the lack of a statutory definition of the terms

“probability” and “criminal acts of violence.” Petition at 190. The claim is

without merit.

      The Fifth Circuit has held that the terms used in the future

dangerousness instruction are permissible because they “have a plain meaning

of sufficient content that the discretion left to the jury [is] no more than that

inherent in the jury system itself.” See, e.g., Paredes v. Quarterman, 574 F.3d

281, 294 (5th Cir. 2009). The Fifth Circuit has specifically rejected challenges

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with regard to the instructions’ failure to define the terms complained of by

Soliz. Blue, 665 F.3d at 665-68; Paredes, 574 F.3d at 294 (holding that the lack

of a definition for the terms criminal acts of violence and continuing threat to

society did not render the future dangerousness and mitigation instructions

constitutionally infirm); Scheanette v. Quarterman, 482 F.3d 815, 827-28 (5th

Cir. 2007); Hughes v. Johnson, 191 F.3d 607, 615-16 (5th Cir. 1999) (holding

that the lack of a definition for the term probability in future dangerousness

instruction did not render the instruction constitutionally infirm); Woods v.

Johnson, 75 F.3d 1017, 1033-34 (5th Cir. 1996) (collecting cases).

      Terms that are reasonably within the common understanding of juries,

and that are not technical or ambiguous, need not be defined in the trial court’s

charge. United States v. Anderton, 629 F.2d 1044, 1048–49 (5th Cir. 1980).

“Where terms used are words simple in themselves, and are used in their

ordinary meaning, jurors are supposed to know such common meaning and

terms and under such circumstances such common words are not necessarily

to be defined in the charge to the jury.” Druery v. State, 225 S.W.3d 491, 509

(Tex. Crim. App. 2007); see Asgrow Seed Co. v. Winterboer, 513 U.S. 179, 187

(1995) (“When terms used in a statute are undefined, we give them their

ordinary meaning.”); Castro v. Collecto, Inc., 634 F.3d 779, 786 (5th Cir. 2011)

(same); TGS-NOPEC Geophysical Co. v. Combs, 340 S.W.3d 432, 439 (Tex.

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2011) (“Undefined terms in a statute are typically given their ordinary

meaning . . . .”). A reviewing court must presume that the jurors understood

the terms at issue in the terms’ ordinary meaning. Soliz cites no constitutional

authority that would have required the trial court to give any express

definition to the terms of which he complains.

      Soliz fails to cite Supreme Court precedent suggesting that the

Constitution requires that Texas define the terms at issue expressly. Because

the lack of detailed precedent gave the state court wide latitude applying

constitutional principles, see Alvarado, 541 U.S. at 664, Soliz fails to show that

the state court applied clearly established federal law unreasonably. See §

2254(d). Further, Soliz’s claim amounts to a request for a new rule and would

be barred by the rules against retroactivity. Kerr v. Thaler, 384 F. App’x 400,

404 (5th Cir. 2010) (unpublished) (citing Teague, 489 U.S. at 310). Therefore,

Soliz’s claim should be denied.

      D.    Soliz’s claim that his death sentence is unconstitutional
            because capital punishment is arbitrarily administered is
            without merit.

      Soliz next argues (without evidentiary support) that his death sentence

is unconstitutional because his sentence was imposed based on Texas’s

arbitrary system of administering capital punishment. Petition at 171-77.

Specifically, Soliz argues that the death penalty in Texas is sought and

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imposed more often in large counties that have greater funding and, therefore,

greater ability to devote resources to pursuing the death penalty in a capital

case. Petition at 175-77. The claim is without merit.

      The Fifth Circuit has previously rejected the claim that the Constitution

prohibits imposition of the death penalty because it is imposed disparately

depending on the county in which the capital murder was committed. Allen,

805 F.3d at 628-31. The Fifth Circuit in Allen held that the claim was without

merit because “no Supreme Court case has held that the Constitution prohibits

geographically disparate application of the death penalty due to varying

resources across jurisdictions.” Id. at 629. Indeed, the Supreme Court has

expressly acknowledged prosecutorial discretion and varying law-enforcement

capabilities and held that capital punishment is nonetheless permissible. Id.

at 631 (citing McCleskey v. Kemp, 481 U.S. 279, 307 n.28 (1987)).

      Additionally, the Supreme Court has also held that “so long as the

prosecutor has probable cause to believe that the accused committed an offense

defined by statute, the decision, whether or not to prosecute, and what charge

to file or bring before a grand jury, generally rests entirely in his discretion.”

Bordenkircher v. Hayes, 434 U.S. 357, 364 (1978). So long as the crime fits

within a constitutionally valid definition of a chargeable offense, “’the

conscious exercise of some selectivity in enforcement is not in itself a federal

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constitutional violation’ so long as ‘the selection was [not] deliberately based

upon an unjustifiable standard such as race, religion, or other arbitrary

classification.’” Hayes, 434 U.S. at 364 (citing Oyler v. Boles, 368 U.S. 448, 456

(1962)). Prosecutorial discretion is essential to the criminal justice process. See

McCleskey, 481 U.S. at 297.

      The decision to seek the death penalty ultimately boils down to

prosecutor discretion, based upon an examination of all the facts. In Jurek v.

Texas, the Supreme Court rejected an argument alleging “that arbitrariness

still pervades the entire criminal justice system of Texas from the prosecutor’s

decision whether to charge a capital offense in the first place and then whether

to engage in plea bargaining, through the jury’s consideration of lesser

included offenses, to the Governor’s ultimate power to commute death

sentences” finding that “[t]his contention fundamentally misinterprets the

Furman 52 decision.” In Gregg v. Georgia, the Supreme Court noted:

      The existence of these discretionary stages is not determinative of
      the issues before us. At each of these stages an actor in the criminal
      justice system makes a decision which may remove a defendant
      from consideration as a candidate for the death penalty. Furman,
      in contrast, dealt with the decision to impose the death sentence
      on a specific individual who had been convicted of a capital offense.
      Nothing in any of our cases suggests that the decision to afford an
      individual defendant mercy violates the Constitution.



52    Furman v. Georgia, 408 U.S. 238 (1972).
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428 U.S. 153, 199 (1976). The Supreme Court went on to say that “Furman

held only that, in order to minimize the risk that the death penalty would be

imposed on a capriciously selected group of offenders, the decision to impose it

had to be guided by standards so that the sentencing authority would focus on

the particularized circumstances of the crime and the defendant.” Id. at 199.

In a footnote, the court explained that,

      [i]n order to repair the alleged defects pointed to by [Gregg], it
      would be necessary to require that prosecuting authorities charge
      a capital offense whenever arguably there had been a capital
      murder and that they refuse to plea bargain with the defendant. If
      a jury refused to convict even though the evidence supported the
      charge, its verdict would have to be reversed and a verdict of guilty
      entered or a new trial ordered, since the discretionary act of jury
      nullification would not be permitted. Finally, acts of executive
      clemency would have to be prohibited.

Id. at 199 n.50. The Court rejected such a system as it “would have the vices of

the mandatory death penalty statutes” held unconstitutional in Woodson v.

North Carolina 53 and Roberts v. Louisiana. 54 Id.

      The Supreme Court also acknowledged the concerns of Furman that the

imposition of the death penalty not be “arbitrary or capricious” and said that

“a carefully drafted statute that ensures that the sentencing authority is given

adequate information and guidance” will alleviate such. Gregg, 428 U.S. at 195.


53    428 U.S. 280 (1976).

54    428 U.S. 325 (1976).
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The Furman concerns were “best met by a system that provides for a bifurcated

proceeding at which the sentencing authority is apprised of the information

relevant to the imposition of sentence and provided with standards to guide its

use of the information.” Id. Soliz received a trial that comported with these

requirements. Consequently, Soliz’s claim fails because he cannot show, in

light of the Supreme Court precedent discussed above, that the state court

unreasonably rejected the claim. Allen, 805 F.3d at 631.

      Soliz does not dispute that the prosecutor has discretion to seek or not

seek the death penalty. He argues instead that the inclusion of financial

considerations in the prosecutor’s discretionary determination impermissibly

injects arbitrariness into the Texas capital sentencing scheme. Petition at 171-

77. Soliz suggests the defendants are treated differently based “solely on the

jurisdiction” in which they are prosecuted. Petition at 177. But Soliz fails to

prove disparate treatment or that the financial status of Johnson County had

any impact on the determination whether to seek the death penalty. The fact

remains, Soliz committed an act for which the United States Constitution and

Texas laws permit the imposition of the death penalty. McCleskey, 481 U.S. at

297. And Soliz chose to commit this crime in Johnson County. The decision to

seek the death penalty was clearly within the prosecutor’s discretion, and Soliz

fails to demonstrate that budgetary concerns played any part, or that a

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prosecutor would not have sought the death penalty if Soliz had only

committed this callous murder of Ms. Weatherly (Soliz’s second murder in one

day and only one of about a dozen burglaries, aggravated robberies or shootings

Soliz committed in the week preceding Ms. Weatherly’s murder) in a different

county.

      Finally, Soliz presents no evidence that the prosecutors in his case based

their decision to seek the death penalty was based on anything other than the

gravity of Soliz’s crime and his demonstrated penchant for violence that was

on display during his crime spree. Soliz also does not even acknowledge that

he was prosecuted in rural Johnson County, Texas. 55 While Soliz complains

that large counties like Harris County, Texas are more likely to seek the death

penalty because they have greater funding and resources, he does not explain

how his death sentence could have been arbitrarily sought in a county with

more limited resources.

      The state court rejected this claim when it was raised in Soliz’s state

habeas proceedings. SHCR-01 at 767. For the reasons discussed above, Soliz

has failed to show that the state court’s rejection of the claim was


55     By way of comparison, according to the 2010 United States census, Johnson
County,       Texas         was        home        to      150,934        people.
http://www.census.gov/quickfacts/table/POP010210/48251. According to the same
census,   Harris    County,   Texas     was    home   to   308,745,538    people.
http://www.census.gov/quickfacts/table/POP010210/48251.
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unreasonable. Therefore, the claim should be denied. Richter, 562 U.S. at 99-

102.

VI.    Soliz’s Claim that His Constitutional Rights Were Violated by the
       Admission of His Confession Is Procedurally Defaulted and
       without Merit.

       Lastly, Soliz argues that his constitutional rights were violated by the

admission of his videotaped interview with police. 56 Petition at 194-200.

Specifically, Soliz argues that the videotape of the interview was inadmissible

because he did not state on the videotape that he waived his rights and because

the confession was obtained after he invoked his right to remain silent. Petition

at 198-99. The claim is procedurally defaulted and without merit.

       A.    The claim is procedurally defaulted.

       Soliz argued on direct appeal that the trial court improperly denied his

motion to suppress his videotaped and written confessions. Brief at 32-43.

Specifically, Soliz argued that the admission of his confessions violated his

constitutional rights because they were involuntary (because he did not state

on the videotaped interview that he waived his rights) and because the



56     Trial counsel introduced into evidence a videotape of Soliz’s interview with
police. 41 RR 135; DX 8. Afterwards, the State introduced into evidence Soliz’s first
written confession and Soliz’s second written confession onto which Soliz handwrote
“[i]t was me that shot that wom[a]n.” 41 RR 148-49; SX 2, 3. Trial counsel did not
object to the admission of Soliz’s written confessions. 41 RR 150. Soliz only complains
regarding the admission of the videotaped interview. Petition at 198-200.
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confessions were obtained after he invoked his right to remain silent. Brief at

41-42. The CCA rejected the argument because Soliz waived any error in the

admission of the videotaped confession by offering into evidence the videotaped

interview during his cross-examination of Detective Paine. 57 Soliz v. State, 432

S.W.3d at 902-03; 41 RR 135; DX 8. The CCA also held that, because Soliz

waived error with regard to the videotaped statement, the admission of the

written statements did not constitute reversible error. Soliz v. State, 432

S.W.3d at 903; SX 2, 3. Consequently, Soliz’s claim is now procedurally

defaulted. 58 See Allen, 805 F.3d at 635-36 (holding that rejection of claim based

on the contemporaneous objection rule is an independent and adequate state-

law procedural ground sufficient to bar federal habeas review of federal

claims); Hughes v. Johnson, 191 F.3d 607, 614 (5th Cir. 1999); Amos v. Scott,

61 F.3d 333, 337-43 (5th Cir. 1995). Soliz does not attempt to show cause or




57    Soliz did not claim in his state habeas application that the trial court
improperly denied his motion to suppress his confession or that the admission of his
confession violated his constitutional rights. See generally SHCR-01.

58     Soliz argues that he has established cause and prejudice for the default of his
related IATC claim that his trial counsel were ineffective for opening the door to the
admissibility of Soliz’s confessions. Petition at 26-30 (citing Martinez v. Ryan, 132 S.
Ct. 1309 (2012)). The Martinez exception to a procedural default applies only to IATC
claims. Reed, 739 F.3d at 778 n.16. Consequently, the exception does not apply to
Soliz’s independent claim that his constitutional rights were violated by the
admission of his confession. Id. Further, as discussed above, Soliz has failed to show
cause and prejudice for the default of his IATC claim.
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prejudice for the default. The claim is, therefore, procedurally defaulted. See

Frazier v. Dretke, 145 F. App’x 866, 872 (5th Cir. 2005) (unpublished) (holding

that claim rejected by the state court based on the contemporaneous objection

rule was procedurally defaulted in federal court where petitioner failed to

demonstrate cause and prejudice from the default).

      While the CCA did not cite the contemporaneous objection rule in

holding that Soliz had waived error with regard to the admission of his

confession, the basis of the waiver of error and the consequent default in this

case is the same. See Frazier, 145 F. App’x at 870 (stating that under the

contemporaneous objection rule, “a petitioner is deemed to have waived any

error by failing to raise an objection”). The Fifth Circuit has held that Texas’s

contemporaneous objection rule serves the “important state interest” of “giving

trial courts the chance to correct their own errors.” Allen, 805 F.3d at 635

(citing Osborne v. Ohio, 495 U.S. 103 (1990)). The CCA in this case rejected

Soliz’s complaint regarding the admission of his confession for the same reason:

his offering the videotaped confession into evidence waived any error and

precluded the state courts from reviewing whether the admission of the

confession was proper. The CCA’s rejection of the claim clearly and expressly

relied on Texas’s procedural bar and did not rest upon federal law. Amos, 61

F.3d at 338 (“Procedural default does not bar federal court review of a federal

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claim raised in a habeas petition unless the last state court rendering a

judgment in the case has ‘clearly and expressly’ indicated that its judgment is

independent of federal law, e.g., rests on a state procedural bar.”). Therefore,

Soliz’s claim is procedurally defaulted. Nonetheless, as discussed below, the

claim is without merit.

      B.    Soliz’s claim is without merit.

      Soliz argues that the videotape of his interview with police was

inadmissible because the interview was not voluntary and because the

interview continued after he invoked his right to remain silent. Petition at 198-

200. Neither challenge to the admissibility of Soliz’s confession has merit.

            1. Soliz’s confession was voluntary.

      Soliz first complains that his interview with the police was involuntary

because he did not state on the videotaped interview that he waived his

Miranda rights. Petition at 198. The claim is without merit.

      An accused is deprived of due process if his conviction rests wholly or

partially on an involuntary confession. Sims v. Georgia, 385 U.S. 538 (1967);

Williams v. Maggio, 727 F.2d 1387, 1389 (5th Cir. 1984). For the confession to

be involuntary there must be coercion by government agents. Colorado v.

Connelly, 479 U.S. 157, 163-64 (1986); Self v. Collins, 973 F.2d 1198, 1205 (5th

Cir. 1992). A habeas petitioner has the burden of proving facts that would lead

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the court to conclude that the confession was not voluntary. Uresti v. Lynaugh,

821 F.2d 1099, 1103 (5th Cir. 1987). The voluntariness of a confession is a

mixed question of law and fact. State court factual findings upon which a

finding of voluntariness is based are entitled to a presumption of correctness.

However, the ultimate question of whether, under the totality of the

circumstances, the challenged confession was obtained in a manner compatible

with the requirements of the Constitution is a matter for independent federal

determination. Evans v. McCotter, 790 F.2d 1232, 1235 n.1 (5th Cir. 1986).

       “Even absent the accused’s invocation of the right to remain silent, the

accused’s statement during a custodial interrogation is inadmissible at trial

unless the prosecution can establish that the accused ‘in fact knowingly and

voluntarily waived [Miranda] rights’ when making the statement.” Berghuis

v. Thompkins, 560 U.S. 370, 382 (2010). The “waiver must be ‘voluntary in the

sense that it was the product of a free and deliberate choice rather than

intimidation, coercion, or deception” and must be made with full awareness of

the nature of the right being waived and the consequences of the wavier. Id. at

382-83. Such a waiver can be established “even absent formal or express

statements of waiver.” Id. at 383. Therefore, an implicit waiver of the right to

remain silent is sufficient to render a suspect’s statement admissible. Id. at

384.

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      Prior to trial, Soliz filed a motion for a hearing on the admissibility of his

statements he had made to the police. 2 CR 264-67. The trial court held a

hearing over two days on Soliz’s motion to suppress. See generally 5 RR; 6 RR.

Following the hearing, the trial court entered findings of fact and conclusions

of law holding that Soliz’s videotaped statement was admissible. 9 CR 1746-

48. The trial court specifically found that Soliz was properly warned prior to

giving the statement and that he voluntarily waived his rights. 9 CR 1747. The

trial court also entered findings of fact and conclusions of law holding that

Soliz’s two written statements were admissible. 9 CR 1749-50.

      Soliz argues that he did not waive his rights prior to his interview with

police. Petition at 198. He argues that, as a result, the admission of the

videotape of his interview with police officers violated Miranda. Petition at

198. Soliz is incorrect. At the outset of Soliz’s interview with police, the officers

provided the appropriate warnings. SX 1-A at 1. Soliz was advised of his right

to remain silent, his right to counsel, and his right to terminate the interview

at any time. SX 1-A at 1; 5 RR 65-66, 183. The officers asked Soliz if he

understood his rights. SX 1-A at 1. Soliz responded, “[y]es, sir.” SX 1-A at 1.

The officers then asked Soliz if he was “willing to talk to [them].” SX 1-A at 2.

Soliz responded, “[a]lright.” SX 1-A at 2. Soliz proceeded to engage the officers

in a lengthy interview. See generally, SX 1-A. Consequently, Soliz’s claim is

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refuted by the record. Soliz affirmatively waived his rights prior to being

interviewed. SX 1-A at 2; Thompkins, 560 U.S. at 383 (“The course of decisions

since Miranda, informed by the application of Miranda warnings in the whole

course of law enforcement, demonstrates that waivers can be established even

absent formal or express statements of waiver that would be expected in, say,

a judicial hearing to determine if a guilty plea has been properly entered.”).

      Soliz provides no other basis on which this Court could conclude his

videotaped confession was involuntary, such as coercion or threats. Therefore,

the claim is without merit. 59 Thompkins, 560 U.S. at 388-89 (holding “a suspect

who has received and understood the Miranda warnings, and has not invoked

his Miranda rights, waives the right to remain silent by making an uncoerced

statement to the police”); Miranda, 384 U.S. at 444.

             2.    Soliz did not invoke his right to remain silent.

      Soliz also challenges the admissibility of his videotaped interview with

police on the ground that the interview continued after he invoked his right to

remain silent. Petition at 198-99. This claim is also without merit.


59     The Supreme Court in Thompkins held that a suspect may even waive his right
to remain silent where he does not explicitly waive his rights but then, through his
“course of conduct,” indicates he understood and waived his right to remain silent.
560 U.S. at 384-86 (holding that an individual can waive his rights by his silence
coupled with a course of conduct indicating waiver) (citing North Carolina v. Butler,
441 U.S. 369, 373 (1979)). Notably, Soliz does not assert that he did not understand
his rights. Petition at 198-200.
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      An individual subjected to custodial investigation has the right to remain

silent. Miranda, 384 U.S. at 444. The right to remain silent, however, must be

invoked “unambiguously.” Thompkins, 560 U.S. at 381. The Court in

Thompkins stated that, in the context of invoking the right to counsel, a

statement that is ambiguous or equivocal does not require officers to cease

questioning and “there is no principled reason to adopt different standards for

determining when an accused has invoked the Miranda right to remain silent

and the Miranda right to counsel.” Id. The Court also stated that there are

practical reasons for not requiring the cessation of questioning upon an

ambiguous invocation of the Miranda rights. Id. For example, the Court stated

that police would be required to cease an interrogation even if the suspect’s

intent was “unclear” and nonetheless “face the consequence of suppression ‘if

they guess wrong.’” Id. at 382 (quoting Davis v. United States, 512 U.S. 452,

461 (1994)). Suppression in such a case would significantly burden “society’s

interest in prosecuting criminal activity.” Id.

      Here, Soliz did not invoke his right to remain silent. At most Soliz made

an ambiguous statement that he wished to terminate the interview. SX 1-A at

14 (“I wish I could get up and leave . . . but I can’t . . . guys got me shackled

here.”). But the context of Soliz’s remark indicates that he did not intend to

invoke his right to remain silent. Immediately prior to that remark, a police

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officer stated he would leave the interview because he would not “waste time”

with people who do not have remorse. SX 1-A at 14. After Soliz remarked “I

wish I could get up and leave,” the officer stated “I said I.” SX 1-A at 14. Soliz

stated, “[o]h.” SX 1-A at 15. The officer continued, “[I] am gonna get up and

leave . . . because I don’t waste time on people that don’t feel sorry . . . so . . .

we’ll start with . . . the house on Pearl.” SX 1-A at 15. As the exchange indicates,

Soliz’s remark reflected a misunderstanding of the officer’s statement that the

officer would leave the interview. See Barnes v. Johnson, 160 F.3d 218, 224-25

(5th Cir. 1998) (holding that suspect’s right to silence was not violated where

police officer attempted to clarify with “a few explanatory, noncoercive

questions” whether the suspect wished to invoke the right and the suspect

chose to keep talking with the officer).

      But even reading Soliz’s remark in isolation, the remark that he wished

he “could get up and leave” was insufficient to invoke his right to remain silent.

See Davis, 512 U.S. at 462 (holding that suspect’s statement “[m]aybe I should

talk to a lawyer” was insufficient to invoke the right to counsel); Hopper v.

Dretke, 106 F. App’x 221, 231-32 (5th Cir. 2004) (unpublished) (holding that

suspect’s asking “[c]an I go back and think about it” was an ambiguous

statement that did not require cessation of questioning); Burket v. Angelone,

208 F.3d 172, 200 (4th Cir. 2000) (holding that suspect’s statements “I just

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don’t think I should say anything” and “I need somebody that I can talk to”

were insufficient to invoke the right to remain silent); Caldwell v. Bell, 9 F.

App’x 472, 480 (6th Cir. 2001) (unpublished) (holding that suspect’s stating he

would “rather not” speak to the police was ambiguous). Soliz’s remark was not

sufficiently clear “that a reasonable police officer in the circumstances would

understand the statement to be” an invocation of the right to remain silent.

Davis, 512 U.S. at 459. Consequently, this claim is without merit.

      Further, the Supreme Court has stated that police are not required to

ask questions to clarify whether the suspect wants to invoke his Miranda

rights. Thompkins, 560 U.S. at 381. But the police officer here clarified Soliz’s

remark by explaining the officer was referring to himself leaving the interview

if Soliz was not remorseful. SX 1-A at 14-15. And as the Fifth Circuit has held,

a police officer does not violate a suspect’s right to remain silent by attempting

to clarify whether the suspect wishes to remain silent and where the suspect

continues speaking. Barnes, 160 F.3d at 224-25. Even if Soliz’s remark was

sufficient to invoke his right to remain silent, he subsequently waived the right

by continuing uninterrupted to speak with the police officers. Johnson v.

Stephens, 617 F. App’x 293, 300-301 (5th Cir. 2015) (unpublished) (holding that

state court’s rejection of Miranda claim was reasonable where defendant

unambiguously invoked his right to counsel but waived the right by

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immediately reinitiating contact with the police officers and continuing to

speak with the officers).

      For these reasons, Soliz did not invoke his right to remain silent.

Consequently, Soliz’s claim is without merit.

      C.    Even if the admission of Soliz’s videotaped statement was
            error, the error was harmless.

      As noted above, Soliz complains only of the admission into evidence of

his videotaped interview with police. Petition at 194-200. The allegedly

improper admission of a statement in violation of Miranda is subject to

harmless-error analysis. See Arizona v. Fulminante, 499 U.S. 279, 309 (1991);

United States v. Salinas, 543 F. App’x 458, 465 (5th Cir. 2013) (unpublished)

(reviewing for harmless error the admission of statements allegedly obtained

in violation of Miranda); Barnes, 160 F.3d at 225 n.3. Even assuming the

admission of the videotape of Soliz’s interview with police was error, the error

was harmless.

      Soliz does not claim that his two written statements were inadmissible.

Petition at 194-200. In Soliz’s first written statement, he admitted murdering

Ruben Martinez, stealing Abu-Lughod’s Dodge Stratus and wallet at gunpoint,

stealing Jorge Contreras’s truck and wallet at gunpoint, committing an

aggravated assault, robbing Justin Morris at gunpoint and later attempting to


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use Mr. Morris’s debit card, robbing four individuals outside of a bar at

gunpoint, and robbing Kenny Dodgin at gunpoint. SX 2. In Soliz’s second

written statement, he admitted murdering Ms. Weatherly. SX 3. Soliz cannot

show harm in the admission of the videotaped interview with police where he

does not complain regarding the admission of the two written statements in

which he admitted committing the extraneous offenses and murdering Ms.

Weatherly.

      Similarly, Soliz cannot show harm because the State presented extensive

evidence implicating him in the murder of Ms. Weatherly. 60 As discussed bove,

physical evidence placed Soliz inside Ms. Weatherly’s home. 43 RR 120 (police

officer’s testimony that he collected fingerprint from cassette tape case found

in Ms. Weatherly’s home); 44 RR 126 (medical examiner’s testimony that

Soliz’s fingerprint was found on the cassette tape case). The gun that was used

to kill Ms. Weatherly was found inside the stolen car in which Soliz fled from

police prior to his arrest. 42 RR 121; 45 RR 150. Gunshot residue was found on

Soliz’s hands and clothing as well as inside the stolen car Soliz was driving

when he fled from police and on the blue bandana recovered from inside that

car. 45 RR 73-88. Elizabeth Estrada testified that Soliz had admitted to her



60     Importantly, Soliz was charged with Ms. Weatherly’s murder both as a
principal and a party. 11 CR 2061-64.
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that he killed Ms. Weatherly. 44 RR 190, 195-97. Soliz’s videotaped interview

with the police was cumulative of the extensive evidence showing he murdered

Ms. Weatherly. Consequently, any error in the admission of the videotaped

interview was harmless. Salinas, 543 F. App’x at 465 (“The statements that

Salinas asserts were obtained in violation of Miranda were cumulative and

their admission, if in error, was harmless.”). Therefore, this claim should be

denied.

                                CONCLUSION

      For the foregoing reasons, the Director respectfully requests that this

Court deny Soliz’s petition and deny a certificate of appealability on all claims.

                                     Respectfully submitted,

                                     KEN PAXTON
                                     Attorney General of Texas

                                     JEFFREY C. MATEER
                                     First Assistant Attorney General

                                     ADRIENNE MCFARLAND
                                     Deputy Attorney General
                                     for Criminal Justice

                                     EDWARD L. MARSHALL
                                     Chief, Criminal Appeals Division

                                     s/ Jay Clendenin
                                     JAY CLENDENIN*
*Lead Counsel for                    State Bar No. 24059589
Respondent                           Assistant Attorney General

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                                     P.O. Box 12548, Capitol Station
                                     Austin, Texas 78711
                                     Telephone: (512) 936-1400
                                     Facsimile: (512) 936-1280
                                     email: jay.clendenin@texas
                                     attorneygeneral.gov

                                     Attorneys for Respondent

                       CERTIFICATE OF SERVICE

      I do hereby certify that on August 17, 2016, I electronically filed the

foregoing pleading with the Clerk of the Court for the U.S. District Court,

Northern District of Texas, using the electronic case-filing system of the Court.

The electronic case-filing system sent a “Notice of Filing” to the following

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Seth Kretzer
Law Office of Seth Kretzer
The Lyric Center
440 Louisiana Street, Suite 200
Houston, Texas 77002
seth@kretzerfirm.com

Carlo D’Angelo
100 East Ferguson, Suite 1210
Tyler, Texas 75702
carlo@dangelolegal.com
                                     s/ Jay Clendenin
                                     JAY CLENDENIN
                                     Assistant Attorney General



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